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             EXHIBIT 2
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                          UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS                      MDLNo. 2741
LIABILITY LITIGATION
                                             Case No. 16-md-02741-VC

This document relates to:
Hardeman v. Monsanto (3:16-cv-525),
Stevick v. Monsanto (3:16-cv-2341), and
Gebeyehou v. Monsanto (3:16-cv-5813)




                              EXPERT REPORT OF

                          DR. WILLIAM R. SAWYER
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                            Toxicology Consultants & Assessment Specialists, llc

         TCAS                                           ;                                        I)



           Toxic Exposures • Environmenlal Testing • Risk Assessment • Forensic Toxicology • Causation Evaluation




November 20, 2018

Brian K. Brake, Esq.
The Miller Firm, LLC
108 Railroad Avenue
Orange, VA 22960


Re: Elaine and Christopher Stevick v. Monsanto Co.
Dear Attorney Brake:

Per your request, I have reviewed the documents noted below. Based upon the
information provided and application of generally-accepted toxicological methodology
and referenced sources as cited herein, I have stated my opinions in this matter.
   •   Complaint of Elaine and Christopher Stevick v. Monsanto Co.
   •   MDL No. 2741 Plaintiff Fact Sheets from Elaine and Christopher Stevick
   •   Monsanto Company’s Initial Disclosures
   •   Medical records for Elaine Stevick from Kaiser Foundation Hospitals
   •   Photographs from Elaine and Christopher Stevick
   •   Deposition of Elaine Stevick dated November 9, 2018
   •   Christopher Stevick's Responses to Monsanto’s First Set of Interrogatories
   •   Elaine Stevick's Responses to Monsanto's First Set of Interrogatories

   •   Numerous peer-reviewed studies as referenced and footnoted below

   •   Monsanto Company documents as referenced and footnoted below
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Part A: Medical History and Exposure Review

General Information

Elaine Marie Stevick is a white female born on                 |, (current age     in
                       She moved to                        in 1978 and continues to live
there as of this date. She began work as a speech pathologist in 1981. As part of this
employment, she worked in hospitals and clinics as well as school settings1 with severely
autistic children. However, due to her illness, in December, 2014, she retired from her
job. She is married to Christopher Stevick and the couple have three adult children.

Health Factors

Mrs. Stevick has a history of




                    nr.                                                                                  I

On December 25, 2014, Mrs. Stevick was admitted to the Kaiser Foundation Hospital for
hydrocephalus and a posterior fossa mass.3 She underwent an uncomplicated sub-
occipital craniotomy for resection. The diagnosis was non-Hodgkins lymphoma (NHL);
specifically, aggressive B-cell lymphoma with a Ki67 of 95% and FISH negative for the
CL6 and MYC oncogene rearrangement and negative for the t (14, 18) translocation.4

Family History




1 She further notes that she has worked in farming/agricultural places. (Stevick-Roundup MDL No. 2741
  Plaintiff Fact Sheet, page 3.)
2 Medical record of The Permanente Medical Group, Kaiser Foundation Hospitals, Bates No. ES-01-
  000001.
3 When a tumor grows in the area of the posterior fossa, blockage of cerebral spinal fluid flow causes
  increased pressure on the brain and spinal cord with various serious consequences.
4 Medical record of The Permanente Medical Group, Kaiser Foundation Hospitals, Bates No. ES-01-
  000002.

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Alcohol, Tobacco and Employment History

Medical records indicate that Mrs. Stevick is a never smoker and rarely consumes
alcohol. No illicit drug use.
                                                 Table 1
                                          Employment History

               Time period               Employer                      Occupation

                  1981-           Speech Pathology          Speech pathologist/learning
                 12/24/14         Services of Marin-        disability specialist working with
                                  Sonoma, Inc.              severely autistic children;
                                                            owner/director of company.5




Clinical Notes

Mrs. Stevick was transported to the ED on the morning of December 24, 2014, by her
husband. She described weakness and dizziness for months with the symptoms
worsening over the past week. On this morning, she was unable to write and had gait
problems. Per her family at this time, her symptoms had started about "three years ago
post mech fall with head trauma.6 At that point, workup including an MRI was negative.”
Since that time, her co-workers had noted a slow cognitive decline with occasional
memory lapses. She had been treated with Lexapro by her psychologist but this did not
alleviate symptoms.

An MRI on December 24, 2014, revealed a "right cerebellar 3.4 cm probably
intraparenchymal mass with edema producing obstructive hydrocephalus and increasing
right cerebellar ectopia.” Per the report, "Given the presence of an additional left basal


5 Mrs. Stevick never used Roundup during her employment. However, per her deposition, (pg. 37), she
  was exposed to it when she worked at hospitals and schools that might have used Roundup on their
  grounds.


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ganglia and possibly a left posterior frontal lesion, this is suspicious for malignancy such
as metastatic disease. Predominantly right frontal deep white matter signal abnormality
with probably hemosiderin deposition most compatible with the sequela of prior
hemorrhagic ischemia.1'

The final pathologic diagnosis for the findings on the MRI was a cerebellar tumor
consistent with aggressive B-cell lymphoma (Non-Hodgkin’s lymphoma).7 Over the
course of her treatment for this condition, Mrs. Stevick presented before many physicians.
Key physicians are noted in Table 2.
                                                Table 2
                             Summary of Physicians & Specialists

                        Provider                       Specialty

                        Cappelen, Christopher          Radiologist

                        Gast, Michelle                 Physical Therapy

                        Gonzalez, Roberto              Primary care physician
                                                       (PCP)

                        Huang, David                   Psychologist

                        Kim, Jerome                    Primary Oncologist

                        Reddy, Adhikari                Neurosurgeon

                        Spivak, Helene                 Gynecologist

                        Sedrak, Mark                   Surgeon

                        Westwater, Ann                 Psychologist, trainee




Chronological Medical Records

Table 3 provides a chronological list of Mrs. Stevick’s medical records through the present
time.




7 Mrs. Stevick has never been diagnosed with any other cancers.

                                                   3
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                                             Table 3
                                Chronological Medical Records

   Date       Physician          Symptoms/Procedure                      Findings/Diagnosis




                                                                 PI
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8 Medical record of The Permanente Medical Group, Kaiser Foundation Hospitals, Bates No. ES-06-

 000265.

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   Date       Physician          Symptoms/Procedure                Findings/Diagnosis




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9 Id., Bates No. ES-01-000209.

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   Date       Physician            Symptoms/Procedure                         Findings/Diagnosis

 12/25/14   Kaiser           Transferred to this hospital for       Clinical chemistry within normal limits
            Hospital at      brain biopsy. Patient admitted         with exception of AST (low at 12;
            Redwood          with hydrocephalus and a               reference range 14-36 u/l), neutrophils
            City, Adhikari   posterior fossa mass; a second         % (high at 90; reference range 41-81%),
            Reddy, MD        lesion in the left internal capsule.   lymphocytes % (low at 8: reference
                                                                    range 13-46%), monos % (low at 2:
                                                                    reference range 4-12%) and neutrophils
                                                                    auto count (high at 9; reference range
                                                                    2.1-7.7 K/ul).

 12/27/14   Same as                                                 Improved after starting Decadron
            above

 12/28/14   Same as          Sudden seizure while in hospital       No radical changes since last MRI
            above            promoting repeat MRI of head

 12/29/14   Same as          Underwent uncomplicated sub-           Resected tissue sent to pathology for
            above            occipital craniotomy for resection     testing
                             by Dr. Mark Sedrak

 12/31/14   Same as          Discharged from hospital.              Discharge medications include
            above                                                   dexamethasone, 2 mg tablet
                                                                    (Decadron), Colace and Norco for pain.

 1/2/15                      Final pathologic diagnosis             Cerebellar tumor consistent with
                                                                    aggressive B-cell lymphoma10

 1/12/15    Jerome Kim,      Follow-up after brain surgery          No worsening symptoms, no dizziness or
            MD               Bone marrow biopsy is negative         nausea, improving activities of daily
                             for malignant cells.11                 living. Using cane to ambulate. Offered
                             Cancer chromosome analysis -           opportunity to participate in national
                             normal female karyotype.12             clinical trial, RTOG 1114.13
                                                                    Chromosome studies are negative for
                                                                    BCL6, MVC translocations; not
                                                                    consistent with double hit lymphoma or
                                                                    Burkitt's lymphoma.14




10 Id., Bates No. ES-01-000693 notes that this primary CNS lymphoma is “relatively uncommon."
11 Id., Bates No. ES-01-000562.
12 Id., Bates No. ES-01-000567.
13 Aggressive chemotherapy is given in both comparator arms but are randomized to receiving or not
   receiving low dose whole brain radiation therapy. (Id., Bates No. ES-01-000552)
14 Medical record of The Permanente Medical Group, Kaiser Foundation Hospitals, Bates No. ES-01-
  000647.

                                                     6
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   Date       Physician           Symptoms/Procedure                       Findings/Diagnosis

 1/13/15     Same as        Cerebrospinal fluid (CSF) is        Ophthalmology exam is also normal.
             above          negative for malignancy

 1/16/15     Same as        Mrs. Stevick decides to
             above          participate in clinical trial.

 1/23/15                     Port placement and MRI of head     MRI revealed interval development of
                                                                tumor at the post-excision site as well as
                                                                interval growth of prior lesion and new
                                                                sub-centimeter multiple lesions. Patient
                                                                reports feeling stronger with no new
                                                                symptoms. Expedite therapy ASAP.15

 1/27/15                     Begins Rituximab 800 mg            Enrolled in trial and assigned to Arm A
                             (chemotherapy drug)                (Chemotherapy only)

 1/28/15     Christopher     Begins vincristine 1.4 mg/m2 and   Tolerating chemotherapy well
             Cappelen,       methotrexate 3.5 g/m2.
             MD

 3/6/15      Michelle        Physical therapy initiated         Legs feel like ''lead." Requested PT for
             Gast, PT                                           strength and endurance

 5/31/15                     MRI Lumbar spine                   "'Numerous enhancing lesions of the
                                                                vertebrae as above compatible osseous
                                                                metastatic disease."16 However,
                                                                "consensus of the radiologists was that
                                                                the imaging of the spine was artifact,
                                                                less likely a real finding."17

 6/1/15                      Chest and abdomen/Pelvis CT        Trace bilateral pleural effusions.
                                                                Remainder of exam not significantly
                                                                changed since 12/24/14 study.

 7/15/15                     Repeat MRI Lumbar spine            No evidence of metastatic disease.

 Thru July                   Chemotherapy continues             Minor neurologic symptoms; tolerated
 2015                                                           well.

 9/30/15                     Removal of port




15 Id., Bates No. ES-01-000739.
16 Id., Bates No. ES-01-003129.
17 Id., Bates No. ES-01-003250.

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   Date       Physician             Symptoms/Procedure                             Findings/Diagnosis

 1/19/16    Jerome Kim,                                                 Follow up surveillance which will include
            MD                                                          history, physical and imaging with MRI
                                                                        every 2 months for 2 years; then every 6
                                                                        months until 5 years of surveillance.

 9/13/16                       MRI of brain                             Stable post-surgical changes, no new
                                                                        enhancing lesion.

 1/17/17    Same as            Follow-up visit for primary CNS          No neurologic abnormalities, reports
            above              lymphoma                                 feeling well; fully active at home without
                                                                        assistance. MRI stable.




                                                     Table 4
                          Clinical Hematology Analyses After Diagnosis


                  Result Name
                                        12/26/1418
                                         (Diagnosis
                                         12/25/12)          1/23/1519      Reference Range

                 WBC                      21.8 (H)             7.0          3.556-12.5 K/uL

                 RBC                          4.17             4.41          3.6-5.10 M/uL

                 Hemoglobin                   12.0             12.5          11.0-15.0 g/dL

                 Hematocrit                   35.7             38.2           34.0-46.0 %

                 MCV                           86               87             80-100 fL

                 Platelet Count               312              337           140-400 K/uL

                 RDW                          13.6             13,4           12.0-16.5%

                 Neutrophils                   93               56              41-81%

                 Lymphocytes                   4                24               13-46%

                 Monocytes                     3                12               4-12%

                 Eosinophils                   0               7(H)               0-4%

                 Basophils                     0                0                 0-1%



18 Id., Bates No. ES-01-000379.
10 Id., Bates No. ES-01-000719-720.

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General Information Regarding Use of Roundup

For approximately 25 years, Mrs. Stevick used Roundup weekly around her home.
Initially (June of 1989 through approximately 2006), she used Roundup in a concentrated
form which required dilution with water; however, her husband carried out the majority of
the mixing of the Roundup with water per the directions on the bottle. Mrs. Stevick would
then apply the pesticide around her residential yard using a hand sprayer. Later
(approximately 2006 through 2014), Mrs. Stevick used the ready-to-use version of the
pesticide.

After being diagnosed with NHL, Mrs. Stevick no longer used the product as she was
physically unable to do so. She later discovered that there could be a connection between
glyphosate and this disease.

Phone Interview with Elaine Stevick, October 18, 2018

Mrs. Stevick was interviewed on October 18, 2018, via telephone, by Dr. Sawyer. At this
time, she provided further details regarding her exposure to Roundup:

•   She has been applying Roundup Weed and Grass Killer on her property for 25 years
    (6/89-12/14). However, she stopped using it in December 2014 when she was
    diagnosed with NHL (aggressive B cell lymphoma).

•   Her medical symptoms began in 2013; specifically, with a noticeable change in
    behavior. But it wasn’t until December 2014 when she received her diagnosis. She
    is currently in remission but presents for testing every six months.

«   She described Petaluma, California, where she resides, as “rainy" as it is in the
    northern part of California. The rain causes “lots of weeds” to grow. There is also
    often a fog layer around her home. The average temperature when she sprayed
    Roundup ranged between 57 and 82 degrees Fahrenheit.

•   Mrs. Stevick typically sprayed Roundup from March through December each year for
    approximately 1 hour on the weekends per month. (Thus, dose based on one hour
    per month for 10 months/year for 25.5 years.) She sprayed her driveway, walkway
    (grass growing up through the pea gravel), patio and flower gardens. She also
    sprayed weeds on the steps leading up to her home.

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•   Her property is approximately 7,500 square feet. This includes a driveway (12 feet x
    75 feet, made of pea gravel with some sand), a 20 feet x 30 feet mulched area beyond
    the lawn and two rose gardens (2 feet x 50 feet). These areas constitute the portion
    of the property sprayed with Roundup which is approximately one-half of her property
    (3,750 square feet). However, at her November 9, 2018, deposition, it was
    determined that her property was actually only 5,300 square feet.

•   Mrs. Stevick also maintained two raised beds where she grew vegetables; namely
    lettuce, cucumbers, corn, tomatoes and squash. The raised beds were 4 feet x 6 feet
    with wood sides and were six inches higher than the surrounding ground. She sprayed
    Roundup at the base of these raised beds and agrees that there was possibly some
    overspray (caused by wind) which settled on the vegetables. However, she did not
    directly spray the vegetables.

•   She stated that her husband did the majority of the mixing of the concentrated
    Roundup but she probably performed 10% of the mixing. Her husband would follow
    the directions on the bottle of concentrate; i.e., six fluid ounces of concentrate to one
    gallon of water.

•   Her sprayer leaked at the handle resulting in the Roundup leaking on her hand
    (typically her right, dominant hand). Sometimes she would switch hands if she was
    tired and hold the sprayer with her left hand causing this hand to get wet as well.

•   The tip on her sprayer could be rotated and adjusted to spray in a pinpoint manner or
    spray manner. She doesn’t recall the tip plugging at any time, but she would need to
    touch the tip in order to adjust it to the setting she wanted to use. She would use the
    pinpoint function when spraying closer to the plants (25% of the time).

Deposition of Elaine Stevick dated November 9, 2018

Mrs. Stevick resides at                                           She and her husband,
Christopher, purchased this home in March of 1989. The house needed restoration20 and
it was over two months after the purchase of the property before they could move into it.
She testified that her husband, as a contractor, did most of the work while she helped.
This included demolishing lath and plaster walls, scrapping paint21 and sanding floors.


20 Home built in the 1800s.
21 This paint was not tested for lead.

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However, Mrs. Stevick spent more time on the overgrown yard.22 "It was weeds, front
and back, the entire property. There was a driveway, a pea gravel driveway, but there
was no pathway. There was no back porch area. It was just a mass of weeds and what
turned out to be wild onions. ”23

Mrs. Stevick hired a landscape gardener to give her advice on how to plan the garden
and clean up the yard. “That was my big introduction to Roundup. Because I was
instructed by the gardener to water the garden area to make the weeds grow more and
then use - once the weeds had really produced - to use Roundup on the entire property.
And then when that was done and the weeds had died, we still had the remaining onion
bulbs. So we had a gentleman come and handpick the entire - he sat on the ground and
for days handpicked onions.”24 Grass was planted and stone pathways were added after
this was completed. It was Mrs. Stevick's testimony that after this, “I started using it
{Roundup} more intensely - very intensely. ”25

Application of Roundup for these initial weeds was from the concentrated version of the
product and her husband would dilute the concentrate with water according to the
instructions. She would then spray "for probably about an hour at a time” noting that she
would spray the weeds until they looked wet, but not drenched.26 She further states that
“I probably obviously sprayed more often that time when I was killing a larger area of
ground - probably two applications” for that initial killing of weeds in the yard over a period
of two to three months.27 (Thus, one gallon of diluted Roundup was sprayed by Mrs.
Stevick one to two times a month for one hour each time over a two to three month period
in 1989. However, she does concede that because she was walking around and doing
other things while she was spraying, actual spraying time was "a little less” than an hour.28

She also stated that she used a three gallon size sprayer, but it would only be filled with
approximately one gallon of diluted Roundup as she couldn’t lift more than that. The


22 No one helped her with the gardening because Roundup "was so efficient.'1 Deposition of Elaine
   Stevick, page 136. Further on page 138, she states that "I used it so much because I loved that it was
   so efficient.”
23 Deposition of Elaine Stevick, page 92.
24 Id., page 93. This occurred sometime after March of 1989.
26 Id., page 98.
26 Id., page 322.
27 Id., page 102.
28 Id., page 102-103.

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sprayer had to be pumped and Roundup would be sprayed through a wand attached to
the sprayer. When spraying around her roses or other desirable plants, she would set the
wand on the stream sitting. She was very careful to not get Roundup on areas where she
                                                                            ”29
didn’t want it to go because "it’s a tight space and it’s a powerful thing.

After this initial period, she used Roundup less, spraying approximately one gallon of
diluted concentrate only once per month for ten months of the year. She used it to kill
weeds in the walkways, near her roses, her vegetable beds30 and on the public sidewalk
as well as on the gravel driveway. She testified that the driveway constituted a substantial
part of the application of Roundup at this time.31 She occasionally got the Roundup on
herself when a breeze would come up and blow Roundup back on her hands. "When
                                                           ”32 She described this as a fine
you’re using it, the wind blows and you would get wet,
mist. However, she would not immediately wash her hands but would wait until she was
done spraying (within an hour). Although she washed her hands after spraying Roundup,
she did not shower until later in the day (approximately 10 pm) before retiring for the night.

She also recalls getting drift on her legs although she rarely wore shorts. "Most of the
time, I would wear long jeans but I can remember it landing on my leg when I was wearing
shorts at least once or twice.”33 She also recalled that she wore long-sleeve shirts most
of the time while spraying but did not utilize a mask. She rarely wore gloves (less than
5% of the time) because they were too thick to manipulate the sprayer.

Mrs. Stevick estimated that she would spray Roundup, on average, once a month based
on when her schedule allowed and when the weeds were growing. She and her husband
“tended to use the concentrate because it was less expensive than buying the ready to
use and we were raising a young family. I would say 90 percent of the time Chris mixed
it. I can barely remember doing it.”34 However, she estimated that she performed the
mixing of the concentrate six to ten times over a period of 25 years. She was very careful


29 Id., page 118.
30 Id., page 106-107. Vegetable bed area was also noted to be a large area - “I would say a couple (two)
   of car lengths because there’s an area behind the garage that’s also exposed where blackberry bushes
   and things like that would grow as well. And I’d spray those as well sometimes.”
31 Id., page 105. Per Mrs. Stevick, the driveway was at least the length of three cars and about the width
  of one car.
32 Id., page 120. She estimated that this happened 10-20% of the time.
33 Id., page 122.
34 Id., page 111.

                                                    12
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and followed the directions on the label. She did occasionally spill some of the Roundup
(1-2 times) on her hands but only a "small" amount. She testified that she would wash
her hands after spilling it.

After 2000, she began to use ready-to-use Roundup35 which came in a 1.1 gallon size
bottle with a wand. She would use the entire gallon over a course of one month. Once
the bottles were empty, her husband would "recycle" them by cutting off the tops and
using the bottom part of the containers to store items such as nails, screws, etc.

With respect to other chemicals that Mrs. Stevick utilizes around her home, she uses Raid
to kill ants on a rare basis. With respect to cleaning products, she uses Windex, Dawn
dish soap, Tide and Dove soap; rarely Clorox. In her garden, she would occasionally use
a sulfur-based product on her roses as well as a once-yearly spray to control mold. She
also used a liquid fertilizer that she mixed at the beginning of the dormant season ("Bayer
3 in 1"). As with the Roundup spray, these products would occasionally get on her skin
on windy days.

Per review of the Sonoma County Assessor’s plot of the Stevicks’ property during the
deposition, it was determined that the lot size is 5,300 square feet36 while the house is
approximately 1,922 square feet. There is also a detached garage.

Mrs. Stevick testified that when she was first diagnosed with the cancer, she asked her
oncologist, Dr. Kim, if the disease was hereditary and was told it was not. Further
questioning about her family history revealed that her paternal uncle was diagnosed at
the age of 90 with lymphoma (non-Hodgkins) but lived to the age of 98 while his sibling
died of carcinoma of the throat37 in his 80s.




                                                                                                    I

35 Thus, she used concentrated Roundup for 11 years and ready-to-use concentrate for approximately 14
   years based on 25 years of use.
36 50 feet x 106 feet.
37 This man was a former fire captain.
38
                          ■        i
                                                 13
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                                         She has been in remission for three years.



Mrs. Stevick was never exposed to radiation as a child but as an adult, she would perform
swallow studies in radiology as part of her work as a speech therapist. "I would be present
for the X-ray to analyze, but we always wore huge protective gear - bib and a thyroid
collar.”39 (She did not wear anything to protect her head.) Over the course of her career,
(30 years), she attended approximately 15 of these X-rays.

Mrs. Stevick has been married to her husband, Christopher, for 40 years. A contractor
(builds hearths, installs tile, etc.), Mr. Stevick also restores antiques and performs
woodwork. He performs this type of work in their side yard and in the garage where he
also stores the chemicals he needs for this work. Mrs. Stevick does not handle these
chemicals (paint thinners, cleaning solutions, glues, etc.) and is usually not present when
he uses them. 40 Mrs. Stevick washes her husband's clothing as well as his work clothes
and work aprons and her own clothing including clothing worn while spraying Roundup.
However, she has never washed her gardening gloves but would simply replace them
approximately every two years.

With respect to her initial symptoms which led to her NHL diagnosis, her husband and
daughter became aware of her lack of concentration and "not seeming to be present” in
early 2013. She notes that these symptoms were very subtle. In June 2014, her
colleagues pointed out that she was making mistakes at work that were not like her. After
showing her some of the mistakes on her reports, "I almost felt like a stranger had written
them because they were so off.”41 She was told that she was "a shadow of her former
self and her colleagues felt that she either had a brain tumor or was developing early
onset Alzheimer’s. Mrs. Stevick stopped taking on new clients and began to feel
overwhelmed. She attended anxiety groups and started Lexapro but nothing helped. A
week before Christmas of 2014, she experienced a lack of balance and dizziness. She
vomited and could not write. After presenting to the emergency room, an MRI revealed
lesions on her brain.



39 Deposilion of Elaine Stevick, November 9, 2018, page 187.
40 However, the Roundup is routinely stored in the garage.
41 Deposition of Elaine Stevick, November 9, 2018, page 211.

                                                  14
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Her physicians never told her what the cause of her cancer is (although heredity was
ruled out). She never discussed her use of Roundup with them and no physician has
ever told her that her exposure to Roundup caused her NHL. However, after her research,
it is Mrs. Stevick’s belief that Roundup did, in fact, cause her cancer.

She is currently being evaluated by two specialists in NHL. She is now physically able to
continue to do gardening work but now uses a solution of Dawn, Epsom salt and white
vinegar to kill weeds. She does not use any other herbicides or pesticides. When Weed
and Feed is used in the garden, her husband applies now applies it.

Roundup Application Notes

To spray the Roundup concentrate after it was mixed with water, Mrs. Stevick would use
a yellow pump-handle spray bottle that was put together by her husband. She would
typically spray 1 14 gallons each time. When using the ready-to-use format, Mrs. Stevick
sprayed approximately the same amount as she believes the bottle contained 1.1 gallons
of Roundup.

Approximately 25% of the time, Mrs. Stevick sprayed using the stream (pinpoint) setting
to spot treat weeds in her gardens. The other 75% of the time, she would use a mist
spray on her driveway, patio and walkway. She recalled being able to smell the Roundup
when she used it but could not taste it. She did not use any other chemicals to spray for
weeds (noted to be 6 inches high at the most) but did use a sulfur-based product on her
roses once per year.

She noted that she rarely experienced any blowback of the spray onto her body because
she avoided spraying if it was windy. However, as noted above, the sprayer leaked at the
handle, often resulting in her hand becoming wet with the Roundup. She also recalled
two to three spills that occurred on her hands while mixing the concentrate.

Notes on Personal Protection

While her husband performed most of the diluting of the concentrated Roundup with
water, Mrs. Stevick would perform this task about 10% of the time. She did not wear
gloves, goggles, a mask or any other protective clothing at this time. When applying
Roundup, she typically wore denim jeans and a long-sleeved cotton t-shirt or sweater if
the weather was cool. She also wore tennis shoes with mini socks when spraying.


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Per Mrs. Stevick’s Interrogatories, she used her sprayer on the stream setting 25% of the
time and on the spray setting 75% of the time. She also wore tennis shoes with mini
socks which does not afford the same level of protection as boots.

Unless she got particularly dirty or warm, she rarely took a shower after spraying Roundup
until later in the day. During the time period from spraying until a shower, she usually
wore the same clothes.

Mrs. Stevick routinely used a beauty cream product called “Roc-Deep Wrinkle Daily
Moisturizer’’ which included a broad spectrum sunscreen of 30 SPF.             Per her
Interrogatories, she applied this each morning during the exposure period. (See section
entitled “Factors Intensifying Dermal Absorption of Glyphosate” as such creams have
been shown to enhance dermal absorption of other substances.)

Application Frequency

As noted above, Mrs. Stevick typically sprayed Roundup from March through December
each year for approximately 1 hour on the weekends from June 1989 through December
2014. Thus, her dose calculations are based on one hour per month for 10 months/year
for 25.5 years.

Other than a gradual change in personality and inability to sleep well, Mrs. Stevick noticed
no other symptoms until she was diagnosed with NHL in December, 2014.

Dose Calculations (mg/kg/day)

Mrs. Stevick used Roundup Super Concentrate® in her residential landscaping work and
it was mixed per label instructions. Mrs. Stevick's husband diluted the concentrate with
water according to the label recommendations (see below) approximately 90% of the
time. The following information is found on the label of a Roundup Super Concentrate®
1 gallon (128 fl. oz.) jug.




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          ACTIVE INGREDIENT:
          *Glyphosate, isopropylamine salt... 50.2%
          OTHER INGREDIENTS                     49.8%
          ^Contains 3.6 pounds glyphosate acid per US gallon
          Tank Sprayer: Use of a Roundup® Brand Sprayer is recommended. A plastic,
          fiberglass, plastic-lined steel or stainless steel sprayer may also be used.
          •    For best results, add 2 Va fl. oz. (5 Tbs.) to 1 gallon of water.
          •    Spot treat or spray evenly over 300 sq. ft.
           •   For easy to kill weeds such as seedlings, add 1 Va fl. oz. (3 Tbs.) to 1 gallon of
               water.




During her later years of exposure, Mrs. Stevick used pre-mixed Roundup Ready Weed
and Grass Killer®. The following information is found on the label for this product.

          ACTIVE INGREDIENTS:
          Glyphosate, isopropylamine salt.........             2.0%*
          Pelargonic acid and related fatty acids              2.0%

          OTHER INGREDIENTS............................        96.0%

          TOTAL                                            100.0%
          ’Contains 0.1 lbs. glyphosate acid equivalent per US gallon
          Convenient, no-mix formula.




Note that while the “OTHER INGREDIENTS” in this formulation cannot be precisely
determined, Roundup® formulations typically contain surfactants such as POEA and
water.42 Additionally, product formulations changed over time as documented below.

Body Weight Assessment

Over the course of her 25.5 year exposure to Roundup, Mrs. Stevick’s weight did not
vary substantially. (Note, however, that no weight information was available for Mrs.




                                                                                                    )"
42 “
       Polyoxyethylene alkamine (POEA CAS #61791-2), water, and FD&C Blue No. 1 (CAS #3844-45-9
                                                          17
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Stevick from 1989 to 2008). Table 5 reflects her weight from 2009 up until the time of
her diagnosis. Her mean weight was 56.7 kg (SD = 1.32 kg).
                                             Table 5
                        Weights of Elaine Stevick over Exposure Period

                   Date                    Weight (lbs)             Weight (kg)

                 3/27/09'13                       128                  58.06

                 12/22/10""                       124                 57.246

                 3/23/1245                        122                 55.248

                  2/8/134C                        122                 55.339

                 12/24/1447                       127                 57.607



Exposure and Dose Based on UK-POEM

Monsanto has introduced an updated version of the "UK Predictive Operator Exposure
Model” (POEM) to calculate human exposure which regulatory agencies in Europe then
compare to the acceptable operator exposure level (AOEL) during the pesticide
registration process. Historically, as part of the UK POEM exposure calculations,
Monsanto and the regulators assumed that only 3% of the dermal exposure dose is
absorbed which is inaccurate (as is addressed in later sections below).

More recently, Monsanto has now chosen to use a dermal absorption rate of 1% in its
new (revised) UK POEM dose calculation model and supposedly based on objective
studies (sponsored by Monsanto). Inexplicably, the dermal absorption rate(s) being
claimed by Monsanto are now lower by orders of magnitude than the prior models and
pharmacokinetic studies. As noted in Monsanto correspondence, 1% dermal absorption
resulted in passing the AOEL criteria:




43 Kaiser Medical Records, Tab 6, ES-06-000027.
44 Id., ES-06-000242.
45 Kaiser Medical Records, Tab 1, ES-01-000017.
46 Id., ES-01-000096.
47 Id., ES-01-000189.

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In Europe, we are getting prepared to submit MON 79991 (720 g/kg) for approval under the new
Reg 1107/2009. We ran the UKPOEM model using a dermal penetration value of 3% and do not
pass when applying 3.6 kg/ha for the tractor-mounted sprayer. I am aware of the set of studies
that you ran on dermal absorption using pure K-salt and IPA-salt and also MON 52276 and MON
79351 which showed dermal absorption values of 1%. Putting 1% in the model, we get a good
result so will need to show that the 1% dermal absorption numbers are equally valid for the MON
79991 formulation. 48


This new UK POEM was used below in determining the exposure dose of Mrs. Stevick at
3% and 10% dermal absorption. The 1% dermal absorption assumption claimed by
Monsanto is also shown for comparison purposes.

Mrs. Stevick applied Roundup Super Concentrate which has a glyphosate concentration
of 431.4 mg/ml.49 She sprayed her driveway (12 feet x 75 feet = 900 sq. ft.), a mulched
area beyond the lawn (20 feet x 30 feet = 600 sq. ft.) and two rose gardens (2 feet x 50
feet = 200 sq. ft.). This 1,700 sq. ft. area converts to an area of 0.01579 hectares50
sprayed per exposure day.

The dermal dose during mixing and loading is calculated to be 86.27 mg/day. The dermal
dose given the fact that she used no personal protective equipment is 348.87 mg/day;
inhalation exposure is determined to be 0.2156 mg/day. The percent dermal absorption
used in the calculations (by Monsanto) is 1%.

According to the new UK POEM, this results in a dermally absorbed dose of 4.35 mg/day.
Combined with the inhalation exposure of 0.2156 mg/day (100% exposure absorbed), the
total absorbed dose is 4.567 mg/day. Mrs. Stevick’s weight varied little over her adult life.
Her average weight from 2009 up until the time of her diagnosis was 56.7 kg51 (SD = 1.32




48 MONGLY04107779
49 3.6 lbs. of glyphosate per US gallon = 1,632,930 mg/3,785.41 ml
50 1 sq. ft. =0.0000092903 hectacre
51 3/27/2009 (128 lbs.), 12/22/2010 (124 lbs.), 3/23/2012 (122 lbs.), 2/8/2013 (122 lbs.), 12/24/2014 (127
   lbs.).
                                                    19
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kg) based on weights obtained from her medical records. Consequently, based on 1%
dermal absorption, her total dose was of 0.0805 mg/kg-day.52

However, when a 3% dermal absorption dose is installed into the POEM model software,
the resulting total absorbed dose increases to 13.27 mg/day. At a 10% dermal absorption
rate, the total absorbed dose increases to 43.73 mg/day.

It should be noted that Mr. Stevick performed the majority of the mixing of the
concentrated Roundup but Mrs. Stevick stated that she probably performed 10% of the
mixing. Her sprayer leaked at the handle resulting in the Roundup leaking on her hand
(typically her right, dominant hand). Sometimes she would switch hands if she was tired
and hold the sprayer with her left hand causing this hand to get wet as well. She also
wore semi-permeable sneakers and low cut socks; she rarely wore shorts. Thus, the
calculated values below underestimate her true exposure with respect to wet hands, bare
legs and low cut socks with exposed skin. However, her mixing absorbed dose is likely
less than calculated below as she mixed less than 10% of the time.



                                          13.27 mg/day
             3% Dermal Absorption                      = 0.23 mg/kg-day
                                             56.7 kg
                                            43.73 mg/day
              10% Dermal Absorption                      = 0.77 mg/kg-day
                                                56.7 kg

  Dermal absorption percentages in the model are notable given the fact that the
          acceptable operator exposure level (AOEL) is 0.1 mg/kg/day.53

The prior dose calculation represents the maximum exposure scenario given she mixed
and loaded the Roundup herbicide and wore no protective clothing. However, most of
the time (> 90%) of the time, Mrs. Stevick did not mix and load Roundup. The POEM
parameters were adjusted to have zero input from exposures during mixing and loading
and revealed that:




52 Current modeling software as provided by Monsanto (new UK POEM).
53 This is a Tier 2 assessment based on a short-term rabbit teratogenicity study which resulted in an
   AOEL of 0.2 mg/kg/day.

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       Mrs. Stevick’s total absorbed dose of glyphosate just from application (without
       input from mixing and loading Roundup) given 1% absorption was 3.7 mg/day
       and 0.065 mg/kg/day given her body weight of 56.7 kg.

       At 3% dermal absorption, her glyphosate dose was 10.68 mg/day and 0.19
       mg/kg/day.

       At 10% dermal absorption, her glyphosate dose was 35.1 mg/day and 0.62
       mg/kg/day.

These dose are above the AOEL of 0.1 mg/kg/day at 3% absorption (1.9 fold above the
AOEL) and 6.2 fold above AOEL at 10%.

It should be recognized that the POEM model does not adjust for permeable sneakers,
low cut ankle socks, skin lotion or pre-diluted Roundup products. Thus, increased dermal
exposure and absorption is not accounted for by the model (an underestimate).

Monsanto’s Exposure Dose Calculation (from UK-POEM)

Based on the most recent Monsanto dose calculation spreadsheet, Mrs. Stevick’s
exposure dose calculation in units of mg/kg/day was calculated for 1%, 3% and 10%
dermal absorption levels. The illustrations in Figures 1, 2 and 3 show Monsanto's dose
calculation spreadsheet(s) for each set of calculations.

Percent Dermal Absorption email correspondence between                                                and
                 on February 7 & 10, 2003.

In an attempt to ascertain the overall absorption of glyphosate for use in the operator
exposure models                       noted that “since it is widely accepted that higher
concentrations (eg undiluted product) show a lower % absorption than low concentrations
(eg spray solutions)54 then there is the opportunity to differentiate between the two." He
proposed using the 0.4% in vitro study data (maximum absorption) from the Wester study
for the mixing/loading part of the operator exposure models, since the Franz in vivo data
on undiluted product were also much lower than their current 3% value.



54 While studies do show that at high concentrations the percent absorption is lower, this is an artificially
   reduced percent absorption, since the dosing concentration is too high for the application area. This is
   discussed in the Wester, et al., Study (1991) section of this report.

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While studies do show that at high concentrations the percent absorption is lower, this is
an artificially reduced percent absorption, since the dosing concentration is too high for
the application area.

Franz pointed out in the communication however:

     “We should remember that Wester excluded the presence of glyphosate in the skin due to
     the absence of partition of glyphosate with the stratum corneum. By contrast, in the Franz
     study, a large amount of glyphosate was detected in the epidermis (0.5-5%). And as we
     know now, 5-20% of the dose of glyphosate could be stored in the skin. I think we should
     be really happy if the regulators allow us to use the 3% dermal penetration values"


If 5-20% of the dose remains in the skin, then as much as 20% could be available for later
absorption. Clearly, Dr.           realized that, given the large amount of glyphosate that
can remain in the skin, the overall percent absorption of glyphosate could be significantly
higher than the 3% they were using in their operator models.

In response,        wrote, “In the end I agree it makes little difference to the outcome of
the model, but we need to take what we can get."




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    THE UK PREDICTIVE OPERATOR EXPOSURE MODEL (POEM)

    Application nisthc6
    ?foAvet                                                          te        Activ* atMailCft
                                                                               XL concentration                             mL-ml
    PofmuUticn t>-p«              u«/• 4

    Dtfrul abiorptioa from pro&el                               •A             Dtfnul absorption from iptay
    Contuner                           «<                                                 r*
    ?PE datnf tnix'lco&Bg         Mm..                  I-                     PPE doting application
                                                          W l-Tu               Work rate.day                            0.02 ha
    Dos*
    Application voliane                                  100 l ba              Ptratinn o.f rpoyiny                        1 h


    EXPOSURE DURING MIXING AND LOADING
    Container size               Home garden pack               litres
    Hand contaminatior^opsraticm                      01 ml
    Appilication doss                                  10 litres protbet/ha
    Wor                                       0.01579352 hx-day

                                 j                         2 /day
    Hand contamination                                   0 2 ml’day
    Protective clothing                                None
    Transmiision to skin                               100 %
    Dermal opomre to formation                          0.2 ml’diy

    DERMAL EXPOSURE DURING SPRAY APPLICATION
    Application technique Home garden sprayer (5 litre tank). Outdoor, low level target
    Application volume                           400 rpray.ta
    Volume of furface contaminalio                       50 ml*
    Diitribution                                       Hondj          Trunk                             Legs
                                                        25%            25%                          50*/.
    Clothing                                           None T-shirt 10% axp           Shorts 70% exposed
    Penetration                                        100%            20%                           13%
    Dermal exposure                                      10             3.5                        IS.8 5 mlh
    Duration of exposure                                  1      h
    Total dermal exposer* to spray                     32J5      ml'day


    ABSORBED DERMAL DOSE
                                                     Mix.1oad                  Application
    Dermal exposure                                     0.2 ml/day                                 32.35       ml day
    Ccncen. of a.s. product or spray                 431J7 tng-'ml                              10 78425       mg/ml
    Dermal espercre to a s.                          86 274 mg day                           348.8704875       mg-day
    Percent absorbed                                      1      %                                     1       %
    Absorbed dose                                   0.S6274      mj’diy                      3.488704875       mjday

    INHALATION EXPOSURE DURING SPRAYING
    Inhalation exposure                     0 02                 mbh
    Duration of exposure                       1                 h
    Concentration of a.s. in spray      10.78425                 mg/ml
    Inhalation exposure to a.s.         0.215685                 mg/day
    ?«c?nt abiorbsd                          100                 %
    Absorbed dose                                   0^15635      mg/day

    PREDICTED EXPOSURE
    Total absorbed dose                       4.567129875        mg^day
    Operator body weight                              56.7       kg
    Operator exposure                         0.08054902S        mckg bw/day




                    Figure 1: Monsanto UK-POEM Calculations @ 1% Dermal Absorption




                                                                          23
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    THE UK PREDICTIVE OPERATOR EXPOSURE MODEL (POEM)

                                                                  Outdoor, lou
    Application method
    Product                                                          itrate        Active substance
                                                                                   a s. concentration                 43 i mg/ml
    Formulation type                u*t«r-kar*d
                                                                     X             Dermal absorption from spray            X
    Dermal absorption from pro
    Container                       Ham* <ard»r..J«>"ir«<J
                                                                                                                                   -I
    PPE during mix/loading          Nar>»                                          PPE during application         Hon#


    Do**                                                             l/l-.a        Work rateiday                         0 ha
    Application volume______                                         l/ha          Duration of spraying________          1 h


    EXPOSURE DURING MIXING AND LOADING
    Container size                Home garden pack        litres
    Hand contamination/operatic                       0.1 ml
    Application dose                                   10 litres product/ha
    Work rate                                 0 01579352 ha/day
    Number of operations                                2 /day
    Hand contamination                               0.2 ml/day
    Protective clothing                             None
    Transmission to skin                             100 X
    Dermal exposure to formulatic                     0.2 ml/day

    DERMAL EXPOSURE DURING SPRAY APPLICATION
    Application technique         Heme garden sprayer (5 litre tank). Outdoor, low level target
    Application volume                                400 spray/ha
    Volume of surface contamina                        50 ml/h
    Distribution                                   Hands               Trunk                     Legs
                                                      25X               25X                      BOX
    Clothing                                         None -shirt 10X exp          Shorts 70X exposed
                                                     100X               20X                       18X
    Penetration
                                                        10               3.5                    18.85 ml/h
    Dermal exposure
    Duration of exposure                                   1 h
    Total dermal exposure to spr«                   32 35 ml/day

    ABSORBED DERMAL DOSE
                                                             Mix/load              Application
                                                                  0.2 ml/day                        3235     ml/day
    Dermal exposure
                                                              431.37 mg/ml                       10 78425    mg/ml
    Concen. of a.s. product or sp
                                                              86.274 mg/day                  348 8704875     mg/day
    Dermal exposure to a. s
                                                                    3 X                                 3    X
    Percent absorbed
                                                             253822 mg/day                    10.46611463    mg/day
    Absorbed dose

    INHALATION EXPOSURE DURING SPRAYING
    Inhalation exposure                     0 02                       ml/h
    Duration of exposure                       1                       h
    Concentration of a.s. in spray      10.78425                       mg/ml
    Inhalation exposure to a.s.         0.215685                       mg/day
    Percent absorbed                         100                       X
    Absorbed dose                       0.215685                       mg/day

     PREDICTED EXPOSURE
     Total absorbed dose                              1327001963 mg/day
     Operator body weight                                    56.7 kg
     Operator exposure                                0.234039147 mg/kg bw/day


                  Figure 2: Monsanto UK-POEM Calculations @ 3% Dermal Absorption




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    THE UK PREOiCTIVE OPERATOR EXPOSURE MODEL (POEM)

    Application method               Horn* virJ*r./^r«y*f             CWJaT.loulfrVfrt
    Product
    Formulation type
                                                                        itrotc                 Active substance
                                                                                               a.s. concentration                    Mm
                                                                                                                                     .-      mg/ml
                                                                                                                                             ...
                                                                                                                                          10 'A
    Dermal absorption frompre                                              X.                  Dermal absorption from sp<ay
    Container                        8om» **r4tn.i*r4rmtn»V'ii»                                ____
    PPE during miK/loading           I'nr..                     jrl                            PPE during apiplication               1
                                                                                                                                     Mnr.f
                                                                                                                                                     A
    Dose                                                                   l/ha                Wc^k rate/day                                 0 ha
    AppScation volume______                                                l/ha                Du ation of spraying                          1 h



    EXPOSURE OURWG NIXING AND LOADING
    Container size        Home garden pack                                 litres
    Hand contamination/operatic                                   0.1 ml
    Application dose                                               10 litres product/ha
    Work rate                                          0.01573352          ha/day
    Number of operations                                        2          /day
    Hand contamination                                          0.2 ml/day
    Protective clothing                                        None
    Transmission to skin                                          100 X
    Dermal exposure to formulatk                                  0.2 ml/day


    DERMAL EXPOSURE DURING SPRAY APPLICATION
    Application technique Home garden sprayer (5 litre tank) Outdoor, low level target
    Application volume                        400 spray/ha
    Volume of surface contamins                                 50 ml/h
    Distribution                                              Hands                    Trunk                       Legs
                                                               25X                     25*/.                       50*/.
    Clothing                                                   None -shirt 10X. exp                Shorts 70X exposed
    Penerration                                                100*           20y.                                18X
    Dermal exposure                                                   10                 3.5                      18.85       ml/h
    Duration of exposure                                               1    h
    Total dermal exposure to sprs                             32.35         ml/day


    ABSORBED DERMAL DOSE
                                                             Mix/bad                           Application
    Dermal exposure                                              0.2 ml/day                                       32.35       ml/day
    Concen of a.s. product or sp                             431.37 mg/ml                                     10.78425        mg/ml
    Dermal exposure to a.s.                                  8S 274 mg/day                                348.8704875         mg/day
    Percent absorbed                                             10 X                                                    10   X
    Absorbed dose                                            8 6274 mg/day                                34.88704875         mg/day


    INHALATION EXPOSURE DURING SPRAYING
    Inhalation exposure                                         0.02        ml/h
    Duration of exposure                                           1        h
    Concentration of a.s. in spray                          10 78425        mg/ml
    Inhalation exposure to a.s.                             0215685         mg/day
    Percent absorbed                                            100         X
    Absorbed dose                                           0.215685        mg/day


    PREDICTED EXPOSURE
    Total absorbed dose                               43.73013375           mg/day
    Operator body weight                                     56.7           kg
    Operator exposure                                 0771254563            mg/kg bvr/day




                  Figure 3: Monsanto UK-POEM Calculations @ 10% Dermal Absorption




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Glyphosate Exposure Dose Compared to Six Epidemiological Studies



        Elaine Stevick

        1 day/month X 10 months/year = “10 days of exposure" per year from
        1989 until 2014 (for 25.5 years)55



Mrs. Stevick’s exposure occurred for much longer than the hour of her application as she
only washed her hands after each application while having Roundup residue on her
clothes and skin from drift and overspray (and rarely bare legs). Furthermore, she did not
change clothes after applying Roundup and did not shower until much later in the day
(approximately 10 pm).

Consequently, in total, Mrs. Stevick accumulated more than 255 days of exposure while
working to maintain her property between 1989 and 2014.

Comparison to Six Epidemiological Studies

Eriksson, M., et al., 2008 study:56 This is a case-control study of exposure to pesticides
and the risk factor for non-Hodgkin’s lymphoma in persons in cases in Sweden between
1999 and 2002. Different exposure levels were classified according to days of exposure.
Ms. Stevick accumulated 255 days of exposure. The association of glyphosate exposure
with non-Hodgkin’s lymphoma followed a dose response pattern with an odds ratio (OR)
of 1.69 for 10 days of exposure or less, and 2.36 for greater than 10 days of exposure.

    •   If a lifetime exposure, then Mrs. Stevick’s exposure was >10 days (255 days),
        which is associated with a non-Hodgkin lymphoma odds ratio (OR) of 2.36 per the
        Eriksson et al., 2008 study.




56 It should be noted that during the initial three months of exposure, approximately double usage
   occurred due to the overgrown condition of the property.
56 Eriksson, M., et al., "Pesticide exposure as risk factor for non-Hodgkin lymphoma including
   histopathological subgroup analysis,” 2008, International Journal Cancer, Vol.123, pp. 1657 - 1663.

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McDuffie, H. et al., 2001:57 This is a Canadian case-control study that investigated the
association of specific pesticides with non-Hodgkin’s lymphoma that created dose-
response levels based on days/year of personally mixing or applying herbicides. The
study revealed that glyphosate exposures between >0 and < 2 days per year has an NHL
odds ratio (OR) of 1.0, while exposures greater than 2 days of exposure per year had a
NHL OR of 2.12.

   •   The “definition of pesticide exposure, which discriminated (a) between incidental,
       bystander, and environmental exposure as compared with more intensive
       exposure and (b) between cases and controls, was a cumulative total of 10 h per
       year to any combination of pesticides. The screening questions in the postal
       questionnaire were used to trigger telephone interviews among those with
       cumulative exposure of >10 h/year to any combination of herbicides, insecticides,
       fungicides, fumigants and/or algicides.”

   •   Mrs. Stevick’s exposures were 10 hours per year (for 25.5 years).

   •   The study reveals age group stratification, 19 year olds to <30; 30-39; 40-49; 50-
       59; and greater than 60 years old. 'The random control subject selection was
       stratified by age + 2 years to be comparable with the age distribution of the entire
       case group (STS, HD, NHL and MM) within each province.”

   •   Mrs. Stevick’s exposures occurred for greater than 2 days per year while the study
       shows that glyphosate exposures greater than 2 days per year reveal an odds ratio
       of 2.12.




57 McDuffie H„ el al., "Non-Hodgkin's lymphoma and specific pesticide exposures in men: Cross-Canada
   study of pesticides and health," 2001, Cancer Epidemiology, Biomarkers & Prevention, Vol.10, pp. 1155
   -1163.
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CDC SEER Registry Data

The study by McDuffie, H. et al., 2001, documented statistically significant dose-
responses; odds ratio of 2.12 (1.20-3.73) for the “more than >2 days per year’’ group.
Based on the methods section, this is defined as 10 or more hours per year. This study
was stratified by age groups and was statistically significant. Thus, Mrs. Stevick’s
advanced age of | at diagnosis does not place her in the “idiopathic” category.




           40

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0
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ra
           30
O                                                         24.8%
5          25                                                      22,7%
<D
Z                                                 20.4%
>«-
 o
           20
 c
 0         15
 o                                       11.6%
 0                                                                           10.0%
n          10

            5           4.2% 5.3%
                1.0%
            0
                 <20 20-34 3544 45-54 55-64 65-74 75-84 >84
                                                 Age
           Figure 4: Distribution by Population and Age of B-Cell Lymphoma

                           (Source: CDC SEER Registry)



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Comparison of Mrs. Stevick’s Dose to Other Glyphosate Applicators

Andreotti, G., et al., 201858 - I have compared Mrs. Stevick's pesticide use to "The
Agricultural Health Study” (AHS) which is an ongoing cohort study which includes 54,251
licensed pesticides applicators from Iowa and North Carolina with 82.8% reporting use of
glyphosate. The study is funded by the National Cancer Institute and the National Institute
of Environmental Health.59 An updated evaluation of glyphosate and cancer risk was
conducted in the AHS60 and included cancer incidences through 2012 in North Carolina
and 2013 in Iowa. The reported lifetime days frequency of pesticide application is shown
in Table 6.

                                                 Table 6
                     Demographic Characteristics of "The Agricultural Health
                                       Study"61 Cohort
                                (Total applicators n = 54,251)
                   Lifetime days of glyphosate use        Lifetime days of glyphosate use
                             (Quartiles)                             (Tertiles)

                               1-13.74                               1 -19.9
                            13.75-38.74                              20-61.9

                            38.75- 108.4                              >62.0
                               > 108.5
                     Median Quartile: 1 - 38.75               Median Tertile: >38.75


     •   Mrs. Stevick’s glyphosate application at a lifetime of 255 days of exposure placed
         her in the fourth quartile, third tertile and far above the median days of exposure.
         NOTE: Mrs. Stevick's exposure history falls within the parameters of “The
         Agricultural Health Study” Cohort in Tables 6 (highlighted) which places her above
         the median exposures. Her exposures history is also consistent with that of human
         epidemiological exposures with statistically significant increased rates of NHL.




58 Andreotti, G., et al., "Glyphosate Use and Cancer Incidence in the Agricultural Health Study," 2018,
   JNCI J Natl Cancer Inst., Vol.110 (5), doi: 10.1093/jnci/djx233.
S9 |d
60 Id.
61 Id.
                                                     29
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Summary of Exposure Dose Calculation

The above dose calculation in mg/kg/day represents a conservative estimate of the
dermally absorbed dose. (The mixing absorbed dose is not what drives the overall
dosage.) Ms. Stevick’s application dose was underestimated due to the inability of the
newer POEM model to specifically include semi-permeable sneakers, low cut ankle
socks, wetting of both hands, occasional use of shorts and her usual use of Roc cream
application (which enhances dermal absorption through the stratum corneum).
Additionally, sweating underneath clothing has not been specifically assessed by
Monsanto as an exacerbating factor to dermal absorption of glyphosate. Had these
intermittent and unresolved exposures been included, the calculation would have resulted
in higher absorbed doses based on the referenced dermal absorption studies.

Monsanto’s Glyphosate Biomonitoring and Dose Measurement Reliability

Exposure models have been developed in the last 20 years and used to estimate the
exposure dose of professional operators to biocides during application. The accuracy of
these models' ability to assess actual exposure is primarily determined by the
pharmacokinetic studies and assumptions used in developing the model (such as dermal
absorption rate). Biomonitoring and dosimetry data are combined with PK models
(pharmacokinetic models) to reconstruct or estimate the exposure dose. PK models
simulate the absorption, distribution, metabolism and excretion (ADME) within a living
system. It is, therefore, essential to have a good understanding of the pharmacokinetics
to ensure a good estimate of the exposure dose.

As most Monsanto glyphosate formulations are "trade secrets" and unpublished, it is not
a surprise that the pharmacokinetics (or ADME) of glyphosate are not well understood by
the scientific community. However, it appears that they are also not well understood by
the herbicide manufacturers themselves. |




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 "ADME has always been the weak link in our argument... we have not got rid of that problem.                    |


When assumptions in a key Monsanto-contracted pharmacokinetics study were
questioned by Spanish regulators, Monsanto corporate employee,          i

wrote,

 "Even though we can absorb additional 'uncertainty factors' in our risk assessment based on
 our biomonitoring results, I feel uncomfortable with this discussion. This approach by Spain sets
 a precedent and contradicts the fact that we always claimed to fully understand the glyphosate
pharmacokinetics. ’63

Note: This is based on Monsanto's own studies which have been shown to be flawed.
Such discrepancies can be seen in another unpublished Monsanto study in which the
percentage of dermal absorption was shown to be as high as 10% (TNO rat skin study).
Since dermal exposure is the most significant route of exposure, a small change in the
percentage of dermal exposure can have a great effect on the overall exposure.
Monsanto acknowledges this fact directly in a July 2001 draft:

"One of the product specific parameters that can make a big difference in the exposure
assessment is the dermal uptake factor which is the fraction of the amount of active ingredient on
                                                      •64
the skin surface that is absorbed by the skin tissue.

In an August 16, 2011, email,                              wrote,




62 MONGLY02221147
63 MONGLY02155829
64                    , July 2001, Confidential draft, "Clustering glyphosate formulations with regard to the
   testing for dermal uptake."
                                                      31
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“In Europe, we are getting prepared to submit               {120 g/kg) for approval under the new
Reg 1107/2009. We ran the UKPOEM model using a dermal penetration value of 3% and do not
pass when applying 3.6 kg/ha for the tractor-mounted sprayer. I am aware of the set of studies
that you ran on dermal absorption using pure K-salt and IPA-salt and also               and
        which showed dermal absorption    values of 1%.  Putting 1%  in the model,  we get a good
result, so will need to show that the 1% dermal absorption numbers are equally valid for the
       formulation. *65




Part B: Introduction to Glyphosate and Mrs. Stevick’s Exposures

Glyphosate (Roundup®) History and Use

Glyphosate is the active ingredient in various herbicide formulations known as Roundup®.
The Monsanto Company discovered the herbicide activity of glyphosate in 1970 and
initiated sales and distribution for weed control in 1974. Glyphosate is not selective and
is used on food and non-food crops. Over the subsequent four decades, glyphosate use
as an herbicide has greatly expanded. It is used in agriculture, forestry, industrial right-of-
ways and in residential applications worldwide.

Glyphosate’s use in agriculture has been further expanded by the development of
genetically-modified plants that are tolerant to glyphosate treatment (Roundup-
Ready®).66 This has significantly increased the use of glyphosate on these crops for weed
control with no concern for crop injury.67 As a result, genetically-modified crops contain
far more glyphosate residue than conventional crops.

The introduction of glyphosate-resistant (GR) crops in 1996 and the expiration of the
glyphosate patent have resulted in its ubiquitous use today characterized by a 15-fold
global increase since the mid 1990’s.68 According to glyphosate pesticide registration, in

65 MONGLY04107779
66 Williams, G. et al., Safety evaluation and risk assessment of the herbicide Roundup and its active
   ingredient, glyphosate, for humans," 2000, Regulatory Toxicology and Pharmacology, Vol.31. pg. 117-
   165.
67 Duke, S. S., “Encyclopedia of Agrochemicals," 2003, John Wiley & Sons.
68 Benbrook, C.M., "Trends in glyphosate herbicide use in the United States and globally," 2016

   Environmental Sciences Europe. 28:3.
                                                  32
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1993, approximately 13 to 20 million acres of land had been treated with 18.7 million
pounds of glyphosate and used mostly on hay/pasture, soybeans and corn.69 According
to the U.S. Geological Survey, in 2014, 300 million pounds of glyphosate were used on
agricultural land in the U.S. Since 1974 in the U.S., over 3.5 billion pounds of glyphosate
have been applied.70

Contaminants within Glyphosate and Roundup® (Surfactants, Adjuvants and Co-
formulants) used by Mrs. Stevick

A 2017 toxicological study71 by Tarazona, et al„ reviewed the scientific basis of
glyphosate’s carcinogenic classification and offered the following guidance with respect
to contaminants in glyphosate and Roundup® surfactants, adjuvants and co-formulants:

"Surfactants are frequently used in herbicide formulations including glyphosate. Polyethoxylated
tallowamines are several orders of magnitude more cytotoxic than glyphosate (Mesnage, et al., 2013); the
mode of action is cell death with inhibition of the mitochondrial succinate dehydrogenase activity and
membrane damage leading to necrosis. This mode of action is different from glyphosate while similar to
that observed for glyphosate-based formulations (Benachour and Seralini, 2009). These tallowamines also
produce oxidative and DNA damage (Nobels, et al., 2011), and increase the apoptotic potential of
glyphosate (Kim, et al., 2013). Other surfactants as well as solvents used in pesticides formulations are
cytotoxic and possibly genotoxic (Nobels, et al., 2011).°


It will be seen in the following data tables that a variety of substances have been added
to the product to increase or enhance absorption. Unfortunately, it has not been possible
to assess the actual constituent components of Roundup surfactants because (in the
U.S.) such mixtures are protected as "proprietary” formulations. For example, the label
on Roundup Original Max herbicide (which contains a proprietary surfactant) merely
states "Other Ingredients: 51.3%.” In other words, more than half of the volume of the
product consists of water and unknown substances.

Without good information, substance toxicity cannot be scientifically or toxicologically
evaluated with reliance and accuracy. It should be further noted that individual chemical


69 U.S. EPA, "Registration eligibility decision-facts: Glyphosate,” 1993 United States Environmental
   Protection Agency, Prevention, Pesticides and Toxic Substances (7508W), EPA-738-F-93-011.
70 Benbrook, C.M., "Trends in glyphosate herbicide use in the United States and globally," 2016,
   Environmental Sciences Europe. 28:3.
71 Tarazona, et al., "Glyphosate toxicity and carcinogenicity: a review of the scientific basis of the
   European Union assessment and its differences with IARC," National Institutes of Health,
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5515989/

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assessment is the recommended worldwide method for carcinogenic substances as
highlighted in the previous document:

The UN and EU guidance recommends carcinogenicity and genotoxicity studies to be conducted on
individual chemicals, limiting testing of mixtures/formulations to cases where synergistic effects are
expected (United Nations 2015).72




Table 7 lists the various substances Mrs. Stevick was exposed to in Roundup® from
years varying from 1992 to 2009.




72 Id.
                                                  34
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                                            Table 7
                 List of 22 Chemicals Known to be Present in Roundup®
                    Based on Product Labels73 and Used by Mrs. Stevick

             Compound/Substance                   Years Label Shows Used in Roundup®

 1-dodecanamine                               2009

 3-lodo-2-propynl butyl carbamate             2000

 Ammonium Sulfate                             2002

 Antimicrobial Agent                          1992.1995. 2000, 2002
 Biocide                                      1998,2000
 Dimethyl polysiloxane                        1995, 2000
 Dipropylene glycol                           1998,2000, 2002

 Diquat                                       2000

 Ethylene Glycol                              1995

 Glycerine                                    2000,2002

 Glyphosate                                   1992, 1995, 1996, 1998, 2000, 2002, 2009
 Nonanoic acid                                 1998, 2002
 Pelargonic acid                               1992, 1995, 2002
 Polyethylene Glycol                           1995, 1998,2000, 2002, 2009
 Polyoxyethylene alkylamine                    1992, 1995, 2000, 2002, 2009
 Polyoxyethylene alkyl phosphate ester         1998, 2000,2002,2009

 Potassium hydroxide                           1992, 1995, 1998, 2002

 Propylene glycol                             2002

 SAG dihydrochloride                           1996
 Silicone emulsion (dimethylpolysiloxane)      1996, 1998, 2002
 Surfactant (ethoxylated tallowamine)          1995, 2000, 2002, 2009
 Surfactant Mon 59112                          1996, 1998, 2002




73 Product formulation data provided by Monsanto in response to Interrogatory demand; however, only
   data for selected years was received; no product formulation data was provided for U S. EPA
   registration years 1993, 1994, 1997, 1999, 2001,2003-2008 or 2010 to present.

                                                  35
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There are several critical points to note with respect to this formulation chronology:

•   The basic product formulation has not changed significantly in more than 17 years.

•   Although every product contains surfactants in various forms, the word "surfactant”
    only appears in selected years. Labels often substitute ethoxylated tallowamine.
    Sometimes, a proprietary mixture is presented in abbreviated form.

•   The few years in which a single substance appears only once or twice all include
    various chemicals or were included for special product applications. For example,
    Diquat (a contact herbicide) appears only in the 2000 "Weed & Grass Killer
    Concentrate Plus” formulation.

•   Table 8 presents a detailed breakdown of the various Roundup® formulations, based
    on the product labels made available for assessment.




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Carcinogenic Substances in Roundup®

There are three known carcinogenic substances identified as present in Roundup® either
as formulation components or manufacturing artifacts.

•   Formaldehyde is classified by IARC as a Class I Human Carcinogen and a probable
    human carcinogen (class B1) by U.S. ERA. National Cancer Institute researchers
    have concluded that, based on human study data and lab research, exposure to
    formaldehyde may cause leukemia in humans, particularly myeloid leukemia.

•   Ethylene Oxide is a carcinogenic and mutagenic gas. It is classified by both U.S. ERA
    and by IARC as a human carcinogen by inhalation. Studies show that exposures to
    ethylene oxide are associated with an increased risk of cancers of white blood cells.
    Ethylene Oxide was identified by Monsanto as being present in Roundup as long ago
    as 2000 (per Safety Data Sheet) noting that ethylene oxide accumulates in the top
    ("headspace") of product containers and can be inhaled when the lid is removed.
    However, only very small quantities are required to produce adverse health effects.
    (The odor threshold for ethylene oxide varies between 250 and 700 ppm;
    consequently the gas is already at toxic concentrations when it can be smelled.)
    Efforts were made by Monsanto to remove ethylene oxide-based cancer warning
    labels by virtue of the concentration being below the OSHA action trigger level.

»   N-Nitroso (NDMA) is classified by IARC as a Class I Human Carcinogen (2012) based
    on mechanistic and relevant data. It is classified by the U.S. ERA as a B2 probable
    human carcinogen based on the induction of tumors at multiple sites in different
    mammal species. N-nitroso-glyphosate was identified in 1986 (per Monsanto internal
    document74); however, although a chronic feeding study was found to be
    unacceptable, no additional data or studies were requested. The FAO specification
    governing the matter stated that "Any impurity capable of creating an adverse effect
    above or beyond that of the active ingredient is potentially relevant and may therefore
    have to be controlled by the specification." However, there is no record of any action
    taken.




74 Monsanto correspondence dated January 28, 2015, from Heydens, W. to Saltmiras, D. discussing
   impurities in glyphosate products.
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Genotoxic Agents, Promoters and Inadequately Studies Chemicals

There are several such candidate substances in Roundup© which are (a) unclassified by
regulatory agencies and/or (b) substances for which only limited data or no peer-reviewed
study data exists.

Such limitations make objective assessment very difficult as there is no single source of
authority or regulatory guidance upon which to draw. For example, in a European Food
Safety statement,75 POE-tallowamine caused positive carcinogenic findings in a number
of test systems. The consensus was that the likely causative basis was cytotoxicity (note
that PQEA compounds are banned in Europe and other countries outside the U.S.) There
are also inconsistent results (depending on whose data is consulted) which note that an
"unidentified" glyphosate-based formulation proved to be cytotoxic in bone marrow.
However, tests or other formulations were negative.

Additionally, some substances only become carcinogenic when mixed with (or in the
presence of) other substances, including formulation impurities. The interactive
characteristics of such substances are not always clear. For instance, surfactant "C-6330”
(an ethoxlylated fatty amine used by Monsanto) is noted as being “very toxic to aquatic
organisms.” The MSDS for this surfactant actually says very little of practical use as its
composition is simply noted as “Proprietary.” Such chemicals merely serve to confound
the assessment process as one does not (and cannot) know what is actually being
assessed.

As previously noted, product ingredients can be examined individually when they are
identified. However, it is important to note that these ingredients when combined may
have very different properties than the individual ingredients alone.

Modes of Action and Safety Considerations

Glyphosate can be applied both as a ground spray and as an aerial spray. It is used to
modify plant growth, speed up the ripening of fruit, applied as a ground spray for peanuts
and an aerial spray for sugarcane.76 Glyphosate is also sprayed directly on wheat just
prior to harvest, a rather peculiar practice called "browning or desiccating.”


76 “Request for the evaluation of the toxicological assessment of the co-formulant POE-tallowamine,"
   European Food Safety Administration, November, 2015
76 Id.
                                                   40
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Glyphosate is absorbed by the leaves and stems of the plant and readily translocated
throughout. It destroys the plant by reducing the production of certain aromatic amino
acids that form the proteins critical for plant growth and development.77 Specifically,
glyphosate disrupts the shikimate acid pathway78 by inhibiting the activity of a key enzyme
(EPSP synthase) that is needed to form the essential amino acids.7980’81 This shikimate
acid pathway is a crucial process in all higher order plants. Thus, glyphosate will kill most
plants. Glyphosate-resistant crops use an alternative EPSP enzyme and are, therefore,
specifically engineered to withstand extremely high levels of glyphosate without perishing.
This metabolic process is also a crucial one in many microorganisms, but it is not utilized
directly by animals or humans.

Throughout the years, Monsanto has advertised and promoted the safety of their
Roundup® products by claiming that the active ingredient, glyphosate, works by targeting
an enzyme found in plants, but not in people or pets. However, recent evidence suggests
that glyphosate may disrupt the essential shikimate process in bacteria, particularly the
beneficial bacteria of the human intestinal tract.

Additionally, glyphosate has been shown to sporadically cause potent inhibitions in the
xenobiotic-metabolizing enzyme CYP2C982 which is responsible for the
biotransformation, metabolism and elimination of various toxic compounds from the
body.83 A recent review by Samsel and Seneff (2013) hypothesized that glyphosate’s
known ability to disrupt the intestinal bacteria flora and to suppress a family of enzymes


77 Jaworski, E. G., “Mode of action of N-phosphonomethylglycine. Inhibition of aromatic amino acid
   biosynthesis,^ 1972, J. Agric. Food Chem. 20 (6), pg. 1195-1198.
70 Williams, G. et al., “Safety evaluation and risk assessment of the herbicide Roundup and its active
   ingredient, glyphosate, for humans," 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117 -
   165.
79 Boocock, M. R., "Kinetics of 5-enolpyruvylshikimate-3-phosphate synthase inhibition by glyphosate,"
   1983, FEBS Letters 154, pg. 127-133.
80 Hollander, H., & Amrhein, N., “The site of the inhibition of the shikimate pathway by glyphosate,” 1980,
   Plant Physiol 66(5), pg. 823-829.
01 Schonbrunn, E. et al., “Interaction of the herbicide glyphosate with its target enzyme 5-
   enolpyruvylshikimate 3-phosphate synthase in atomic detail,” 2001, Proc Natl Acad Sci USA Feb 13;
   98(4), pg. 1376-1380.
02 Abass, K., Turpeinen, M., and Pelkonen, O. "An evaluation of the cytochrome P450 inhibition potential
   of selected pesticides in human hepatic microsomes," 2009, Journal of Environmental Science and
   Health Part B, 44(6).
03 Gueguen, Y. et al., "Cytochromes P450: xenobiotic metabolism, regulation and clinical importance,”
  2006, Ann Biol Clin (Paris) 64, pg. 535-548.

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that play an important role in detoxifying harmful chemicals could be contributing to a rise
in modern human diseases worldwide.84 Glyphosate has also been demonstrated to be
genotoxic and carcinogenic as discussed below in detail.

Glyphosate (Roundup®) Formulations: Chemical and Physical Information

Glyphosate is the declared active ingredient (DAI) in Monsanto's Roundup® herbicide
products; however, it is only one ingredient in the formulation and is almost never applied
in its isolated form. Other substances, referred to as co-formulants, are added in order
to modify the physicochemical properties, thereby improving the efficacy of the
glyphosate-based formulation, 85,86,87      Examples of co-formulants are spreaders
compatibility agents, anti-foaming agents, drift retardants and surfactants. The specific
identities and the amounts of co-formulants in the herbicide formulations have largely
been kept confidential because they are considered by the manufacturers to be
proprietary data. Often, co-formulants are declared as ''inert" as they do not act directly
on the intended target, i.e., the weed. Moreover, they historically have not been included
in either toxicity tests of pesticides on mammals for the establishment of their acceptable
daily intake (ADI) or in animal carcinogenicity studies.

Most glyphosate-based formulations (GBFs) contain the same three primary
ingredients: (1) glyphosate salt, (2) co-formulants (e.g. surfactants) and (3) inert
ingredients (e.g., “water").88 Formulations differ from one another by the specific salt
included in the formulation and the amount and type of surfactants, other co-formulants
and inert ingredients. The ingredients can be examined individually; however, one must
be mindful that the sum of these ingredients may have very different properties than the




84 Samsel, A. and Seneff, S., "Glyphosate's suppression of cytochrome P450 enzymes and amino acid
   biosynthesis by the gut microbiome: Pathways to modern diseases," 2013, Entropy (15), pg. 1416-
     1463.
85 Defarge, N. E., "Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human
   cells below toxic levels," 2013, Int J Environ Res Public Health. 13(3), pg. 264.
86 Nobels, I. et al., "Toxicity ranking and toxic mode of action evaluation of commonly used agricultural
   adjuvants on the basis of bacterial gene expression profiles," 2013, PLoS ONE 6, pg. 264.
87 Haefs R. et al., "Studies on a new group of biodegradable surfactants for glyphosate,” 2002, Pest
     Manag. Sci. 58, pg. 825-833.
88                     . Con'idertia! draft 'Clustering glyphosate foimulatiors with regard to the testing for
     dermal uptake," 2001, (Tab 15, see also MONGLY01839476 for draft of this document.)

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individual ingredients alone,   This is especially important when investigating the
absorption of a GBF herbicide into non-target organisms.

The salt of glyphosate in a GBF is comprised of an organic base combined with
glyphosate. Glyphosate [N-(phosphonomethyl) glycine] is amphoteric (can act as either
an acid or a base) and is practically insoluble in organic solvents.89 Glyphosate as a weak
acid has a hydrogen ion held to a phosphorous group by a weak electrostatic charge. By
replacing this hydrogen ion with a different cation (organic base), herbicide manufacturers
are able to make a more water-soluble glyphosate salt. Isopropylamine (IPA) is the
                                                                                   90,91 This
organic base that is most commonly used in Roundup formulated products,
cation is also bound by a weak electrostatic charge and may not stay with the glyphosate
acid; once it is added to water by the applicator, it can be easily replaced by other
positively charged ions from the water.92 Thus, the glyphosate that is working in the plant
is usually not associated with the original salt.93 The specific salt used in the formulation
may not significantly impact herbicide performance but rather is selected to ensure that
the formulated product handles well, is compatible with other products that might be
included and will not cause adverse crop responses. The glyphosate concentration in the
final formulation will depend on the salt used as each salt has a different molecular weight.
A lighter salt will result in a higher glyphosate concentration.94

Throughout the years, several salt types have been used to formulate glyphosate
products including isopropylamine (IPA), ammonium, sodium and potassium glyphosate
salts95 (see Table 9). Glyphosate isopropylamine salt is the one most commonly used in



89 Williams, G. et al., "Safety evaluation and risk assessment of the herbicide Roundup and its active
   ingredient, glyphosate, for humans,” 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117 -
     165.
90 Id.
91 _______________, Confidential draft. "Clustering glyphosate formulations with regard to the testing for
   dermal uptake,” 2001, (Tab 15; see also MONGLY01839476 for draft of this document.)
92 Interactions between glyphosate and calcium salts found in water are the primary reason for adding
   AMS to the spray tank, (http://www.weeds.iastate.edu/mgmt/2001/glyphosateformulations.htm)
93                       Confidential draft. "Clustering glyphosate formulations with regard to the testing for
    dermal uptake," 2001, (Tab 15; see also MONGLY01839476 for draft of this document.)
9,1 The active ingredient concentration in a GBF is specified as a glyphosate equivalent or an acid
    equivalent (a.e.) referring to the free form of the acid. This allows for comparability between
     formulations.
95                      Confidential draft. “Clustering glyphosate formulations with regard to the testing for
     dermal uptake." 2011, (Tab 15; see also MONGLY01839476 for draft of this document.)

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Roundup® formulated products96              and most commonly used in all glyphosate-based
products.97
                                                   Table 9
                                                                                                    98
        Properties of Glyphosate and Common Salts of Glyphosate in Roundup®!

                                       Solubility in          MW
    Herbicidal Agent                   water (g/L)           (g/mol)   Molecular Formula

                                       pH 1.9: 10.5                    CaHsNOsP or
    Glyphosate acid                                          169.07
                                        pH 7.0: 157                    HOOCCH2NHCH2PO(OH)2

    Glyphosate Potassium salt               900a             207.16    C3H7KNO5P

    Glyphosate Ammonium salt                300a             186.11    C3H11N2O5P

    Glyphosate Sodium salt                  500a             191.06    CaH/NNaObP

                                       pH 7.0: 900                     C6H17N2O5P or
    Glyphosate Isopropylamine                                228.19
                                        pH 4.1: 786                    C3H9N - CsHaNOsP
    salt (IPA)

           From "Managing Glyphosate. Performance of different salts and adjuvants." Grants Research
           and Development Corporation. GRDC Project code ICN00016.

Aside from the organic base and the salt used, the other major difference between
glyphosate-based formulations is the inclusion of co-formulants. Some co-formulants are
“pre-loaded" or included by the manufacturer in the GBF while others, called adjuvants,
are added by the end user to modify the herbicide to the particular situation in which it
is being used." Adjuvants are not added to the GBF by the manufacturer mainly
because different types of crops may require different types of adjuvant, e.g., certain
crops are sensitive to oils, some are difficult to wet. Thus, an herbicide manufacturer
avoids limiting the application of a given herbicide to only one crop or situation.



96 Giesey, J. P., Dobson, S., & Solomon, K. R.f "Ecotoxicological risk assessment for Roundup herbicide,”

   2000, Rev. Environ. Contam. Toxicol. 167, pg. 35-120.
97 U.S. EPA, “Registration eligibility decision-Facts: Glyphosate," 1993, United States Environmental
   Protection Agency, Prevention, Pesticides and Toxic Substances (7508W), EPA-738-F-93-011.
98 http://npic.orst.edu/factsheets/archive/glyphotech.html

99 The terms "co-formulants" and “adjuvants" are sometimes used interchangeably in the literature. A fact
   sheet form Cornell University states, "A pesticide adjuvant is broadly defined as any substance added
   to the spray tank, separate from the pesticide formulation that will improve the performance of the
   pesticide. Sometimes adjuvants are more narrowly defined as a substance added to a pesticide
   mixture to improve its physical qualities and, hence, its effectiveness." http://psep.cce.cornell.edu/facts-
   slides-self/facts/gen-peapp-adjuvants.aspx

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As an example of adjuvant use, the addition of ammonium sulfate (AMS) and water
conditioners have been shown to significantly improve weed control with glyphosate.
Water in some regions contains excessive amounts of salts including calcium,
magnesium, iron and sodium, and these salts bind to glyphosate and reduce its
absorption and solubility. The sulfate component of AMS is negatively charged and will
bind to positively charged salts so that they cannot reduce the activity of glyphosate.
Other commonly used adjuvants include emulsifiers, dispersants, stabilizing agents,
compatibility agents, buffering agents, anti-foam agents, spreader-stickers, drift
retardants and surfactants.

Some GBFs may contain a greater percentage of co-formulants than glyphosate salt.
These are listed simply as “Other Ingredients" on the label. For example, the label on
Roundup Original Max herbicide, which contains a proprietary surfactant, reads


   ACTIVE INGREDIENT

     Glyphosate N (phosphonomethyl) glycine,
     in the form of its potassium salt................                         48.7%
     OTHER INGREDIENTS ............................                            51.3%

                                                                                100%


The most commonly pre-loaded co-formulants used in herbicides are surfactants.
Surfactants are complex chemicals that facilitate and accentuate the emulsifying,
dispersing, spreading, wetting or other surface modifying properties of aqueous solutions.
For example, waxes on plant leaves are lipophilic and chemically non-polar and thus
repel water while herbicides such as glyphosate are highly hydrophilic and chemically
polar.

Adding surfactants will significantly increase how well glyphosate spreads on and enters
leaf surfaces. A surfactant can also reduce the amount of glyphosate washed off of plants
by rain. Surfactants in herbicides vary greatly in their nature and concentration and are
added to increase the absorption rate of the acid into the plant’s leaf and stem tissue.
Sometimes a combination of surfactants is used in one glyphosate formulation. The most
prevalently used surfactants in herbicides contain POEA (PolyOxyEthylene alkylAmine).



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The co-formulants in a GBF individually, or in combination with each other, have a
profound toxicological effect on a non-target organism. Some of these co-formulants may
synergistically attenuate the negative effects of glyphosate, or as in the case of
surfactants which can increase dermal absorption, may simply increase glyphosate’s
systemic exposure. Surfactants, as well as other co-formulants, are particularly important
with respect to a risk assessment and are, therefore, discussed in detail later in this report.

Roundup is offered in dry or aqueous formulations at various concentrations. Glyphosate
is commonly formulated with water at 2.13 M (356 g/L free acid) or as an isopropylamine
salt 480 g/L.100 The ethoxylated tallowamine (POEA) surfactant in Roundup Classic is
designated by Monsanto as MON 0818101 with a concentration that is typically reported
                                                                      102,103,104,105
as approximately 15% of the formulation weight to volume or 150 g/L.



Toxicological Considerations of Mrs. Stevick’s Exposure and Dose

In assessing exposure, toxicologists examine how humans come into contact with
chemicals, the amounts of the chemical that enters the body (absorbed dose) as a result
of contact and how these amounts change over time (pharmacokinetics). The goal of the
exposure assessment is to quantify the amounts over various time periods. The
quantitative expression of those amounts is referred to as dose. Thus, dose is the
measurement needed to quantify a chemical's risk of toxicity. Therefore, the initial goal
of any exposure assessment is first to objectively establish dose.




,0° Williams, G. et al., "Safety evaluation and risk assessment of the herbicide Roundup and its active
    ingredient, glyphosate, for humans,’’ 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117 -
    165.
101 Monsanto response to the concern of the Slovenian authorities on the composition of the Plant
    Protection Product MON 79376 (360 g/1 glyphosate) and the surfactant MON 59117 (CAS n ° 68478-
    96-6). MONGLY02817577
102 Id.
103 Diamond, G., Durkin, P., "Effects of surfactants on the toxicity of glyphosate with specific reference to
    RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1 b.
101 Giesey, J. P., Dobson, S., & Solomon, K. R., “Ecotoxicological risk assessment for Roundup

    herbicide,” 2000, Rev. Environ. Contam. Toxicol. 167, pg. 35-120.
1C5 Defarge, N. E„ "Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human

    cells below toxic levels, 2016, Int J Environ Res Public Health, Vol. 13(3, pg. 264.

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Glyphosate Exposure

The ubiquitous use of Roundup imposes a tremendous increase in the potential for
human exposure, not only to the active ingredient (glyphosate) but to other chemicals (or
"co-formulants”) as well. This section reviews the dose measurement methods.

Systemic Dose

When a person is exposed to a chemical such as glyphosate, the dose physically
contacting the body is referred to as the “exposure dose.” This is different from the
“systemic dose” which enters the bloodstream and reaches various organs within the
body.

Systemic dose is typically only a portion of the exposure dose and is identified through
pharmacokinetic (PK) or chemical disposition studies that can trace the fate of a chemical
after it enters the body. Pharmacokinetic studies investigate the amount of a chemical
absorbed by the body, how the chemical is distributed throughout the body to specific
tissues, how the chemical is metabolized and finally, how a compound is excreted from
the body. This is commonly known as ADME (absorption, distribution, metabolism and
excretion). This data is applied in conjunction with epidemiological and occupational
exposure studies that have included biomonitoring and dosimetry for use in the human
health risk assessment process. Thus, pharmacokinetic studies provide the necessary
link between estimates of exposure, toxicity studies and estimates of human risk. It is,
therefore, imperative that these studies are designed, conducted and interpreted
accurately.

Routes of Exposure

The route of exposure controls how a chemical gets absorbed into the body. The primary
routes by which potential toxins become absorbed into a person's system are dermal
absorption, ingestion and inhalation.
Ingestion

Ingestion of herbicides may be intentional, as in suicides/poisonings, or unintentional
through the consumption of residue-laden foods. In the current matter of assessing
exposure in operator use, intentional ingestion is not considered since it will contribute
negligibly to the overall exposure.


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Inhalation

Since the vapor pressure of glyphosate is very low (9.8x1 O'8 mm Hg or 1.31X1 O'2 mPa at
25'’C),106 inhalation during mixing and preparation of an herbicide is typically not a
significant contributor to exposure unless an aerosol is produced. Thus, inhalation during
spray application of the herbicide can be a factor. Such exposure depends mainly on
droplet size of the spray and the equipment used for spraying. Different nozzle types
(often modified by farmers to increase discharge) will generate different volumetric droplet
size distributions. Lesmes-Fabian, et al., found that for the standard discharge nozzle as
used in their study, approximately 5% of the total volume of droplets was smaller than
100 pm.107 In dry climates, droplets less than 100 pm are subject to evaporation and are
respirable.
Dermal Absorption

For occupational users such as farmers, the key determinant of a person's exposure is
how the herbicide is actually handled and/or applied.108 This dermal exposure will occur
throughout the mixing, loading and application of herbicides as well as through re-entry
(i.e., handling stems, leaves or soil after herbicide treatment).
Studies have found that workers performing the common farm task of “thinning" are more
                                                                                     109,110
exposed to pesticides than (for example) workers who are harvesting or pruning.
One study111 found a higher level of pesticides in the house and vehicle dust of the
thinning workers. Additionally, their children revealed higher urinary pesticide metabolite
concentrations which showed evidence of a “take-home pesticide pathway.”112 The same



106 National Toxicology Program, U.S. Department of Health and Human Services.
107 Lesmes-Fabian, C., Garcia-Santos, G., Leuenberger, F., Nuyttens, D., & Binder, C. R, "Dermal

    exposure assessment of pesticide use: The case of sprayers in potato farms in the Colombian
    highlands,” 2012, Science of the Total Environment, 430, pg. 202-208.
10B Curwin, B.D. et al., "Urinary and hand wipe pesticide levels among farmers and non-farmers in Iowa,"

    2005, Journal of Exposure Analysis and Environmental Epidemiology, Vol. 15, pg. 500-508.
103 de Cock, J. et al., “Determinants of exposure to captan in fruit growing," 1998, Am Ind Hyg Assoc J 59;
    1998a, pp. 166-172 and 1998b, pg. 158-165.
110 Simcox, N.J. et al., "Farmworker exposure to organophosphorus pesticide residues during apple

    thinning in central Washington State," 1999, Am Ind Hyg Assoc J 60, pg. 752-761.
1,1 Coronado, GD, Thompson, B, Strong, L, Griffith, WC, and Islas, I., "Agricultural task and exposure to
    organophosphate pesticides among farm workers," 2004, Environ Health Perspect 112, pg.142-147.
112 The take-home pesticide pathway is the pathway that children and spouses of agricultural workers are
    exposed through. (Hyland, C. and Ouahiba Laribi, Q., "Review of take-home pesticide exposure

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study showed that workers in apple or pear crops had higher pesticide metabolite
concentrations than those who worked in peach, cherry or grape crops.113
Mechanisms of Absorption

Farmers, forestry workers and landscapers are primarily exposed to herbicide chemicals
through dermal contact during mixing, loading or application of the glyphosate formulation
as well as through re-entry. Therefore, with respect to occupational exposure, the skin is
the predominant route by which glyphosate enters the human body.

The Dermal Barrier

Human skin is a complex organ consisting essentially of two layers: a thin, outermost
layer called the epidermis and a much thicker under-layer called the dermis. It is the outer
layer of the epidermis, called the stratum corneum (SC) that provides the primary
protective barrier function of the skin. This barrier is largely responsible for resisting the
entry of foreign agents into the human body.

The stratum corneum is primarily composed of non-living cells, or corneocytes, in a brick
and mortar type system of lipid matrix. Corneocytes are terminally differentiated
keratinocytes that have migrated from the epidermis to the skin’s surface. The
composition of the stratum corneum lipid matrix is dominated by three lipid classes: (1)
cholesterol, (2) free fatty acids and (3) ceramides which are waxy lipid molecules. These
lipids adopt a highly ordered, three dimensional structure of stacked, densely packed lipid
layers114 as shown in Figures 5 and 6.




    pathway in children living in agricultural areas," 2017, Environmental Research. Volume 156, pg. 559-
    570.)
113 Coronado, GD, et al., “Organophosphate pesticide exposure and work in pome fruit: Evidence for the
    take-home pesticide pathway," 2006, Environ Health Perspect 114 (7), pg. 999-1006.
114 van Smeden, J. and Bouwstra, J.A., ' Stratum corneum lipids: Their role for the skin barrier function in

    healthy subjects and atopic dermatitis patients," 2016, Curr Prob. Dermatol 49, pg. 8-26.

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                                                                                           Dead cells filled
                                                                                           with keratin

Stratum corneum           b

                                                                      '           '

Stratum lucldum
                              V|
                          3

                                    Vi         *
                                                                          •. *
Stratum granulosum                            r~j^v
                                                   -=^=^                                   Lamellar granules

                                                                                      SA




                                                                                           Keratinocyte
Stratum splnosum          r
                                                                 df              ‘w
                              sa                     '3"




Stratum basale
                                                                                           Merkel cell

Melanocyte
                                                                                           Sensory neuron
Dermis
                                   .. j

                                                                                      m
                                              Figure 5
                                   Epidermal Layers of Human Skin
                                   Image courtesy of Wiki Journal of Medicine




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                                StfMt dud Stratum oofrwum
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                                                VGSAAte

                                                              Figure 6

Layers of the epidermis, basal cell layer, stratum spinosum, stratum granulosum and the stratum
                                                                        115
                      corneum showing dermal penetration (Abd, 2016)




115 Abd, et al., "Skin models fortesting of transdermal drugs, 2016, Clin Pharmacol. 2016; 8: 163-176.

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Percutaneous Absorption of Glyphosate

A chemical can enter the stratum corneum directly through the corneocyte cells, through
channels between the cells or through follicles, pores and glands. Due to its structure, the
stratum corneum is highly lipophilic (lipid loving) and hydrophobic (tending to repel water).
Thus, lipid-soluble chemicals are able to penetrate this layer into the circulatory system
much more efficiently than water-soluble chemicals.

Since glyphosate is a small hydrophilic molecule, it travels easily thru the channels and
follicles; however, it cannot easily pass through lipid layers. The stratum corneum is,
therefore, the rate-limiting barrier in the absorption of a hydrophilic agent such as
glyphosate. How quickly glyphosate passes through this outer layer determines the
overall absorption rate of the chemical into the body.

Once glyphosate has been absorbed into the stratum corneum, it may pass through into
the viable epidermis and then into the dermis where it is transported systemically by the
dermal blood supply or lymphatics and circulated to other areas of the body. This passive
diffusion process is governed by Pick’s law which states that the rate of absorption or flux
(J) of any substance across a barrier is proportional to its concentration difference across
that barrier.

The stratum corneum is resistant to penetration of weak acids but is much less effective
against organic acids and some inorganic chemicals. Organic and alkaline chemicals can
soften the keratin cells in the skin and pass through this layer to the dermis where they
are able to enter systemic circulation.

The thickness of the skin, as well as its lipophilicity, varies with location on the body.
Areas of the body such as the forearms, which may be particularly hairy, are most easily
penetrated by chemicals since they can enter the small ducts containing the hair shafts.
Chemicals can also enter through cuts, punctures or scrapes of the skin since these are
breaks in the protective layer. Due to the nature of their occupation, the skin of farmers
(particularly their hands) typically have a higher percentage of fine cracks and breaks
than that of the average person.




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Percutaneous Absorption Models

The term “percutaneous" refers to any action involving penetration of the skin. Accurate
determination of the rate at which agents penetrate the skin is critical for assessing the
dose and potential risk from exposure. Dermal penetration is generally considered to
occur by passive diffusion (Pick’s law); however, in living organisms, biotransformation of
a substance within the deeper viable regions of the skin (via metabolism) can also occur
prior to systemic absorption.

The amount of a chemical that is absorbed through the skin is dependent on the
properties of both the chemical and the skin. The most significant properties impacting
the absorption of a chemical are its water and lipid solubility, molecular weight, degree of
ionization and polarity.116 The most important properties of the skin are the number
(density) of follicles, the thickness of the stratum corneum and the sebum composition as
well as the distance of capillaries to the surface of the skin.

Dermal penetration studies are conducted to measure the absorption or penetration of a
substance through the skin barrier and into the skin and determine whether it has the
potential to be absorbed into the systemic circulation. A wide range of experimental
protocols exist for the determination of percutaneous absorption; the protocol used in any
particular experiment will depend on the penetrant being studied.

Penetration studies may be conducted in vivo (in whole living animals) or in vitro (outside
of a living organism). In assessing the risk of human exposure to glyphosate, the aim of
a dermal absorption study is to measure the amount of glyphosate that passes into and
through human skin and into systemic circulation.

Due to greater differences between rodents and humans verses primates and humans,
in vivo human studies would provide the most accurate dermal penetration models.
However, inasmuch as such studies would be both impractical and unethical, animals
such as rats, mice, and monkeys are used for in vivo studies of the absorption of
glyphosate.




1,6 Van Ravenzwaay, B. and Leibold, E., “A comparison between in vitro rat and human and in vivo rat
    skin absorption studies, 2004, Toxicol. In Vitro. 18(2), pg. 219-25.

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in Vivo Measurement Methods

In vivo dermal absorption measurement methods include two methods: (1) the indirect
method of surface disappearance and surface recovery whereby the dermal absorption
is inferred and (2) direct methods of determining dermal absorption which includes
measuring glyphosate in the blood, excreta (urine or feces) or stratum corneum or by
estimating through biological or pharmacological responses. 117

Zendzian, 2000, 118 published a method for measuring glyphosate in excreta and in
carcasses as well as the quantity remaining in the skin after washing. The Zendzian study
states that the United States Environmental Agency’s Office of Pesticide Programs (OPP)
has developed a standard protocol for evaluating the dermal penetration of pesticides in
the rat. This protocol was formalized in 1994 as a guideline for dermal absorption studies
of pesticides.

As of the year 2000, in excess of 263 studies on the dermal absorption of over 160
pesticide chemicals had been submitted to OPP as part of the pesticide registration and
risk assessment processes. From this standard protocol, it is possible to describe,
quantitatively with dose and time, the entrance of a chemical into and penetration through
the mammalian epidermis into the systemic circulation as well as the chemical’s
concentration in blood, the body and its excretion in urine and feces.

In Vitro Measurement Methods

Since in vivo studies are complex and expensive, in vitro methods are more widely used
as a screening method for dermal penetration estimates. In vitro experiments involve the
use of a diffusion cell, wherein two chambers, donor and receptor, are separated by a
membrane (human or animal skin). There are many variations, but all diffusion cells
involve the penetrant passively diffusing from the donor chamber into the receptor
chamber where it can be measured.




117 U.S. ERA, "Dermal exposure assessment: A summary of ERA approaches," September 2007. United
  States Environmental Protection Agency, National Center for Environmental Assessment Office of
  Research and Development, EPA/600/R-07/040F
113 Zendzian, R.P., “Dermal absorption of pesticides in the rat," 2000, AIHAJ, Vol. 61(4), pg. 473-83.

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In 2007, the U.S. ERA published "Dermal Exposure Assessment: A Summary of ERA
Approaches" which provides a dermal exposure assessment methodology for treated
surfaces.119 The U.S. ERA and other regulatory agencies accept a wide diversity of in
vitro protocols, but they caution comparing these studies due to differences such as cell
type (i.e. static or flow through), the membrane selected, composition of the receptor fluid
and the dosing method (infinite or finite).

Other Measurement Models and Methods
                                                        120 the penetrant diffuses from the
In a static diffusion cell, also known as a Franz cell,
donor chamber through the membrane into a "static" receptor chamber of a fixed volume
which is continually stirred. In a flow through cell or Bronaugh121 cell, in vivo conditions
are simulated by using a constantly flowing receptor fluid that mimics in vivo blood flow
beneath the skin membrane. The skin membrane is bathed below by a flowing solution
maintained at 37 degrees C.

When studying the absorption of glyphosate, the membrane separating the chambers is
typically human (from cadavers), rat or monkey skin and may be full thickness or
dermatomed (sliced). Dermatomed skin, wherein only the epidermis is used after it has
been separated from the dermis, is commonly used because full-thickness skin can be
cumbersome in the diffusion apparatus. Since glyphosate is hydrophilic, the main barrier
to its diffusion across the skin resides in the stratum corneum and, therefore, the absence
of the dermal tissue is generally not of concern.122 Ideally, when fresh skin is used, the
receptor fluid should allow skin metabolic activity.




119 U.S. ERA, ‘ Dermal exposure assessment: A summary of ERA approaches,” September 2007. United
    States Environmental Protection Agency, National Center for Environmental Assessment Office of
    Research and Development, EPA/600/R-07/040F
120 Franz TJ., "Percutaneous absorption. On the relevance of in vitro data,” 1975, J Invest Dermatol. 64,
    pg. 190-5.
121 Bronaugh, R., H. Hood, M. Kraeling, and J. Yourick, "Determination of percutaneous absorption by In
    Vitro techniques," 1999, pg. 229-233 in Percutaneous Absorption, 3rd ed., R.L. Bronaugh and H.l.
    Maibach, eds. New York: Marcel Dekker, Inc.
122 Williams, A.., "Transdermal and dermal drug delivery: From theory to clinical practice," 2003, London,
   Pharmaceutical Press.

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Dosing Techniques and Measurement Considerations

The loading, or dosing, of the donor chamber in all diffusion cells is accomplished in one
of two ways: infinite dosing or finite dosing. In the infinite dosing, or flux, technique, a
high concentration of glyphosate is installed into the donor chamber (so its concentration
does not decrease) while the concentration is measured in the receptor chamber over
time until steady state is reached. This allows for the calculation of a permeability
coefficient.

A finite dose technique allows the herbicide to be tested under conditions similar to those
found in vivo. The donor chamber is loaded with a known amount of herbicide which is
depleted due to penetration during the course of the experiment. The concentration of the
herbicide in the receptor fluid is measured to determine the percent of the original dose
that penetrated the skin per unit area of skin over a period of time.

Loading conditions can greatly impact calculation of percent absorption. As the applied
dose becomes greater than the absorbable amount, the excess does not contribute to
absorption but it does diminish the observed percent of dose that is absorbed.123
Therefore, when comparing in vitro results of percent absorption, all the dosing conditions
                                                                             124
should be maintained as finite dose applications rather than flux.

Rat skin is generally, but not always, more permeable than human skin. In a review of
79 studies which measured absorption of 110 chemicals, four chemicals were found that
are less permeable through rat skin than human skin.125 Van Ravenzwaay also found
that in comparing human in vitro skin with in vivo rat skin, the penetration of 3 of 12
chemicals was greater through human skin than thru rat skin. This held true at 4, 8 and
10 hours after dosing. 126




123 Frasch, H.F. et al., "Analysis of finite dose dermal absorption data: Implications for dermal exposure
    assessment,2014, J Expo Sci Environ Epidemiol, 24(1), pg. 65-73.
    Guidance Notes on Dermal Absorption, OECD Environment, Health and Safety Publications, Series on
    Testing and Assessment No. 156. ENV/JM/MONO(2011)36.
125 Jung, E, and Maibach, H., "Animal models for percutaneous absorption," 2014, jn Shah, V., Maibach,
    H., and Jenner, J. eds. Topical Drug Bioavailability, Bioequivalence, and Penetration, 2nd ed. New
    York: Springer, pg. 21-40.
126 Van Ravenzwaay, B. and Leibold, E., "A comparison between in vitro rat and human and in vivo rat
    skin absorption studies,” 2004, Toxicol In Vitro., Vol. 18(2), pg. 219-25.

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A recent study has also questioned the reliability of converting percutaneous absorption
data from rats to humans due to the mentioned differences in species as they studied the
absorption of hazardous substances.127

In Vitro Dermal Absorption of Herbicides through Rat versus Human Skin

The use of rat skin in percutaneous absorption models is premised on the theory that rat
skin is generally more permeable than human skin; however, there have been some
cases which have reported that rat skin is less permeable.128 Monsanto attempted to
demonstrate (and failed) that the dermal penetration of Propachlor® (2-chloro-N-
isopropyl-N-phenylacetamide) through human skin was lower than in rat skin. Instead,
the study revealed:
   •   Concentrate formulation: The percent penetration with human skin is equal to
       the percent penetration with rat skin.
   •   Spray dilution: The percent penetration with human skin is greater than the
       percent dermal penetration with rat skin (p<0.05).
   •   Microautoradiographies clearly revealed stores of Propachlor in the epidermis of
       human skin.129




127 Korinth G, Goen T, Schaller KH, & Drexler H., "Discrepancies between different rat models for the
    assessment of percutaneous penetration of hazardous substances," 2007a, Archives of Toxicology 81,
    pg. 833-840.
128 Hotchkiss, SA, et al., "Percutaneous absorption of 4,4'-methylene-bis (2-chloroaniline) and 4,4-

    methylenedianiline through rate and human skin in vitro," March, 1993, Toxicology In Vitro, Volume
    7(2), pg. 141-148.
129 Monsanto email (Tab 21) from                        on 3/29/2002 to            et al.

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Triple Pack Methodology

Monsanto has more recently (2010 - 2017) contracted with Dermal Technology
Laboratories, Ltd. However, only in vitro human cadaver skin has been used (although
potentially removed from living subjects through surgical reduction procedures). More
importantly, the DTL studies fail to include the "Triple Pack” methodology.

The term "Triple Pack" refers to the use of three types of dermal absorption data from: 1)
in vivo rat; 2) in vitro rat and 3) in vitro human dermal absorption studies.130 This approach
is used to refine the estimation of dermal absorption by correcting for differences between
in vitro and in vivo absorption rates in rats as well as for species differences between rats
and humans.131 This approach is based on the premise that the absorption difference
between humans and rats will show in the same proportion in both in vitro and in vivo test,
which may not be true. It should also be noted that the "Triple Pack" approach should be
used to estimate a dermal absorption value only when the three studies are conducted
under the same experimental conditions. 132

More accurate measurement models generally include animal or primate in vivo
measurements since in vitro human cadaver skin does not have an intact physiologic and
metabolic system present to accommodate active blood capillary transport gradients or
metabolism as do the in vivo models. Studies have shown there are species differences
in the absorption of different chemicals: measurements in rats, rabbits or pigs may or
may not reflect human absorption.133 A more accurate model includes dermal absorption
across primate (monkey) skin. Often, though not always, in vivo monkey skin most
accurately resembles percutaneous absorption across human skin.

Numerous studies have been published using skin from different animal models.
However, the knowledge that there is a significant difference in absorption when it comes
to different animal species and humans has led to the necessity of a thorough
interpretation when adapting data from animal studies that are to be used in relation to


130 U.S. ERA OPR Memorandum June 2, 2010. “Review of Triple Pack dermal absorption studies for
    Maxim Quattro.”
131 Id.
132 •• Guidance notes on dermal absorption,” OECD Environment, Health and Safety Publications, Series

   on Testing and Assessment No. 156. ENV/JM/MONO(2011) 36.
133 Rozman, KK and Klaassen CD., "Absorption, distribution and excretion of toxicants,” in Cassarett &
    Doull’s Toxicology, The Basic Science of Poisons. 5th edition. 1996. McGraw-Hill.

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humans. Interpretation of the data to refine dermal absorption values can vary between
regulatory authorities. 134,135



Dermal Absorption and Pharmacokinetic Studies of Glyphosate

Models Used to Measure Glyphosate Dermal Absorption

There are four primary models which have been used to measure glyphosate dermal
absorption: (1)the Maibach studies of 1983 and (2) the Wester etal., studies of 1991. (3)
Franz (1983) and (4) TNO (2002). All of these studies were funded by Monsanto. This
section reviews these studies and assesses the findings in light of present-day objective
science.




134 "Guidance notes on dermal absorption,” OECD Environment, Health and Safety Publications. Series
    on Testing and Assessment No. 156. ENV/JM/MONO(2011)36.
135 U.S. EPAOPP Memorandum June 2, 2010. “Review of Triple Pack dermal absorption studies for
    Maxim Quattro.”

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136 Maibach, H.I., "(a) Elimination of 14C-glyphosate in Rhesus monkeys following a single parenteral
    dose, (b) Percutaneous absorption of 14C-glyphosate in Roundup formulation in Rhesus monkeys
    following a single topical dose," 1983, Unpublished report No. MA-81-349, from University of
    California, School of Medicine, San Francisco, California, USA. Submitted to WHO by Monsanto Int.
    Services SA, Brussels, Belgium.
137 Guidelines require that at least 90% of the dose be accounted for compared to just 16% in the
    Maibach study.

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In 1985, the U.S. ERA classified the Maibach, 1983, study as unacceptable since the
majority of the dose could not be accounted for. Currently, most authorized agencies
calculate by “absorbed amount + amount remaining in the treated area tissue + (when
necessary) amount remaining in the skin tissue after a washing process" when calculating
the absorption amount. 139

In communications regarding the Maibach study, Richard Dirks, Ph.D., Senior Product
Toxicologist at Monsanto, wrote (April 11, 1983):

    “The total percent recovery (percent label removed by washing plus total percent label
    contained in urine) was low, i.e., 16.0%. A definitive explanation for the low recovery is
    not provided in the report, but the author does state that previous experience would
    suggest that much of the test material may in some way bind to or in the skin and cannot
    be removed by washing. In support of this, it has been reported (Vickers, 1963) that a
    "chemical reservoir" is formed in the skin after drug application which is eventually shed
    without penetration. Thus, it is concluded that the bound material is not apparently
    available for systemic absorption. ” 140

Dr. Dirks erroneously concluded (not in keeping with prescribed methodology) that “...
the bound material is not apparently available for systemic absorption.” The OECD
guidelines state that the amount of substance not found in the donor chamber should be
considered absorbed and, therefore, potentially available in the systemic circulation. This
                                                                  141
also accounts for the amount of substance deposited in the skin.

Subsequent experiments have demonstrated that absorption of chemicals temporarily
deposited in the skin can continue for up to 24 hours after exposure has ended. Thus




138 OECD/OCDE 427, "Guidelines for the testing of chemicals. Skin absorption in vivo Method," Adopted:
    13 April 2004.
139 Jaehwan, S., "Comparison of international guidelines of dermal absorption tests used in Pesticides

    Exposure Assessment for Operators,’’ 2014, Toxicol Res 4, pg. 251-260.
1‘»>MONGLY01330783
141 OECD, "Guidance document for the conduct of skin absorption studies," 2004a, Paris. 28, pg.1-31.


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temporary skin deposition will potentially underestimate the true absorption if assessed
in blood or urine immediately following exposure (within 24 hours). 142

Wester, et al., Study (1991)

Full Title: Wester, R. et al., “Glyphosate skin binding, absorption, residual tissue
distribution and skin decontamination," 1991, Fundamental and Applied Toxicology 16,
pp. 725-732.

This Monsanto-funded study included human in vitro testing as well as an in vivo primate
(monkey) testing. The test material was a Roundup® formulation supplied by Monsanto;
it is not stated what glyphosate salt was used in the formulation. The exact formulation
was not disclosed, but no surfactants or other adjuvants were listed as ingredients.

In vitro human skin absorption: A finite dose technique was used with human plasma as
the receptor fluid in a flow-through diffusion cell. Dosing concentrations ranged from 2.6
pg/cm2 to 154.0 pg/cm2 with exposure times of 30 minutes, 4 hours, 8 hours and 16 hours.
The greatest absorption (2.2 ± 0.5 %) occurred at the lowest glyphosate dose
concentration (2.6 pg/cm2) after 8 hours of exposure. This was more than twice that
which was absorbed at any of the other dose concentrations after 8 hours.

The data in this study is highly variable, i.e., it shows no discernable pattern with respect
to the dose and time of exposure other than that the highest percentage of absorption
occurred at the lowest dermal dose. The standard deviation of the mean was greater
than the mean for 12 of the 20 means reported. No overall accountability (mass balance)
was provided for this part of the study; no data was provided with respect to how much
glyphosate was lost. Thus, it was not possible to compare the percentage lost to that of
the in vivo dermal study.

In vivo rhesus monkeys IV doses: Three Rhesus monkeys were intravenously dosed with
93 pg glyphosate and three were dosed with 9 pg glyphosate. The study found that in the
six monkeys, 95% - 99% of the IV administered dose was recovered in the urine. Overall
accountability was greater than 96% of the administered doses. Wester, et al., used
these results to make the assumption that all dermally-absorbed glyphosate would


142 "Dermal absorption of pesticides - evaluation of variability and prevention,” 2009, Danish
    Environmental Protection Agency. Pesticides Research No. 124, 13.1.


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similarly be excreted in the urine. This assumption is invalid according to their data
reported in the next part of the study (see below).

In vivo rhesus monkeys dermal dosing: Eight monkeys were dermally dosed with one of
two doses as summarized in Table 10.

                                                 Table 10
                                                                                                     143
   Disposition of Glyphosate Following Topical Administration to Rhesus Monkeys
                                                           Percentage of applied dose’

                                     Dose C = 5400 pg/20 cm2              Dose D = 500 pg/20 cm2
 Disposition Site
 Urine                                            2.2 ± 1.5                            0.8 ±0.6

 Feces                                            0.7 ±0.5                             3.6 ± 1.6

 Urine + Feces                                    2.9 ±2.0                             4.4 ±2.2

 Surface Washes                                  73.5 ± 6.0                           77.1 ± 9.2

 Contaminated Solids                             0.05 ±0.1                             0.3 ±0.1

 Total                                           76.5 ±6.7                            81.8 ±6.9

  Topical administration in 4 Rhesus monkeys per dose: *each value is the mean ± SD for 4 monkeys.”




The above data reveals several critical findings:

1) The low topical dose was excreted primarily in the feces. In the monkeys
   administered Dose D, 3.6 % of the dermally-applied dose was recovered in the feces
   whereas only 0.8 % was recovered in the urine (total dermal absorption of 4.4%).
   From this data, it is apparent that urine recovery does not accurately represent the
   amount of glyphosate that was dermally absorbed. In this case, 4.5 times more
   glyphosate was found in the feces than in the urine.

2) This study finding is deeply troubling since epidemiology studies rely on urine
   concentrations to quantify the systemic dose of glyphosate exposure through dermal
   absorption. The lower dose (Dose D) at 500 pg/20 cm2 corresponds to real world
   exposures in farmers and applicators. Thus, the exposure studies prepared by
   Monsanto that have relied on urinary excretion are in error by a factor of 4,5 times the


143 Wester, R. et al., "Glyphosate skin binding, absorption, residual tissue distribution and skin
    decontamination, 1991, Fundamental and Applied Toxicology 16, pg. 725-732.

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   current calculated values. From the data in this study, the total systemic dose from
   dermal exposure can be calculated:
                                  GLYsystemic— GLYurine + Glyfeces

                                                 — GLYurine + 4.5 X Glyurine

                                  GLYsystemic — 5.5 X Glyurine


   The actual systemic dose in the human epidemiological exposure studies could have
   been accurately quantified by including the relative amount of glyphosate that would
   have been excreted in the feces but which was not measured.

3) The dose of 5,400 pg/20 cm2 is too large to accurately represent the dose/absorption
   relationship. As previously explained, dosing conditions can have enormous effects
   on percent absorption. The excessive dosing in this case is approaching infinite dosing
   and the excess does not contribute to absorption, but it does diminish the calculated
   percent of dose absorbed.144 U.S. ERA guidelines for dermal testing recommend a
   maximum practical dose on the order of 1 mg/cm2; larger doses can exceed saturation
   of the absorption process, 145 The resulting error herein is an artificially reduced
   percent absorption; this high saturation dose resulting in 2.9% absorption is not
    relevant when looking at percent absorption.

4) The effect of glyphosate on skin has been shown to depend on the relative
   concentration of glyphosate. Dermal cells exposed to low levels of glyphosate have
   been shown to induce a stiffening of the cytoskeleton (the cell's internal structural
   support) while higher levels of glyphosate cause gross changes in cell shape.146 As
   realistic exposure levels were not used, the findings are automatically suspect.

5) Only 81.8 % of the applied “Dose D” was recovered. The authors claimed that the
   remaining 18.2 % was “lost” since it was not detected. If any of the missing 18.2%
   remained in the monkey in tissue or fluid that was not tested, the amount absorbed
   would have been underestimated. The lost material is beyond the acceptable limit
   according to OECD guidelines of mass balance. If all ofthe missing 18.2 % is assumed

144 Frasch, H.F. et al., "Analysis of finite dose dermal absorption data: Implications for dermal exposure
    assessment,” 2014, J Expo Sci Environ Epidemiol, Vol. 24(1), pg. 65-73.
145 U.S. ERA ORPTS 870.7600, "Flealth effects test guidelines dermal penetration," August 1998, pg. 4.

146 Heu, C. et al., "Glyphosate-induced stiffening of HaCaT keratinocytes, a peak force tapping study on

   living cells," 2012, Journal of Structural Biology, 178, pg. 1-7.

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   to have remained in the monkey and is included the amount absorbed, the total % of
   applied dose absorbed becomes 22.6%. Either way, a casual and unverifiable "claim”
   that 18.2% of the dose was "lost” can scarcely be regarded as objective and should
   be added to the amount absorbed (4.4%) to provide an upper limit value of 22.6%.

6) The impact of surfactants on absorption is still not considered in this study.

From Wester, et al., it is reasonable to conclude that dermal absorption at “Dose D”
reasonably estimates a dermal absorption dose ranging from 4.4% to 22.6%. More
importantly, the epidemiological exposure studies underestimate the systemic dose
from dermal absorption by a factor of 4.5 due to the failure to consider hepato/fecal
elimination at the lower dose levels.

Concern of Cross-Contamination in the Wester, et al., study (1991)

The rhesus monkeys were placed in metabolic chairs for the dosage period (12 hours) of
the study, then housed individually in metabolic cages. A belly plate and apron were
positioned on the metabolism chair under the skin-dosing site. A pan collected urine,
feces, and other solids such as residual food and hair. Surface washes collected the
residual dose left on the skin.

Only 75-80% of the dermally applied dose was recovered in all the collections. Wester
noted that the missing 20-25% dose was "lost” during the procedure, and he considered
this not to be unusual as similar losses had occurred in previous studies. He attributed
the loss to exfoliation of skin, which “will scatter microscopic tissue and bound chemical
to the atmosphere, making total accountability impossible to achieve." He did not mention
any other mechanisms of loss, such as monkeys touching the dosing sites, which would
have easily explained the unacceptable 20-25% loss of the dose amount. Therefore, it is
reasonable to conclude that such losses did not occur.

Metabolic chairs come in various configurations as shown in the images below, as
different types of research will require different restraining needs. These "chairs” allow
for the isolation of body parts with the use of belly plates, restraints, etc. (See Figures 7
and 8).




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                                                      Figure 7
                                         Metabolic chairs for primates147




                 Primate Chairs
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                   ' rf
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                                          si;
                                                      Figure 8
                                        Primate chairs used in study testing




147 Images retrieved from http://www.oipa.org/international/photo/vivisection_primates.htm and from
   https://www.thomasrecording.com/solutions/solution-primate.html

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Monsanto in Vitro Absorption Study of Glyphosate by DTL (2010) (MON 79545)

450 g/L Glyphosate SL Formulation (MON 79545)

In February 2010, Dermal Technology Laboratory (DTL) Ltd., in the United Kingdom,
completed their Monsanto-commissioned laboratory study entitled "In vitro absorption of
glyphosate through human epidermis” (MON 79545) wherein they investigated the
absorption and distribution of glyphosate in three different herbicide formulations. For all
three formulations, they concluded that the dermal absorption of glyphosate from
exposure to the herbicide would be minimal and far less than 1%. The study specifically
concluded that, for the high undiluted dose, "the mean total amount of absorbed
glyphosate was 0.0573 ug/cm2 (0.012% of applied dose).” For the dilution 1 to 15.6 (28.8
g/L) dilution and 1 to 188 (2.4 g/L) dilution (consistent with spray applications), "the mean
total amounts of absorbed glyphosate were 0.379 and 0.021 ug/cm2(0.129% and 0.082%
of applied dose), respectively.” In this study, glyphosate was removed from the surface
of the epidermis by washing and then tape stripping. The amount of glyphosate on the
epidermis after tape stripping, including that absorbed, was termed "potentially
biologically available” and was determined to be 0.049%, 0.796% and 0.245% in order of
increasing glyphosate formulation concentration.

However, there are problems with this study as well as other DTL studies that contribute
to its inconsistency and, as a consequence, warrant its exclusion.

The design of the study included finite dosing of 10 pL/cm2 which was used on a surface
of 2.54 cm2; this was left un-occluded for an exposure period of 24 hours with no interim
wash. A static-type glass diffusion cell was used with dermatomed human skin. Each
formulation was applied in three doses: one concentrated dose and two diluted doses.
Thus, the amount of glyphosate in the 25.4 pL volume applied depended on the dilution.
The absorption process was followed by taking samples of the receptor fluid
(physiological saline) at recorded intervals throughout the exposure period.

Assessment of the DTL methodology reveals that 4,589 pg glyphosate acid/cm2 was used
in the formulation concentrate study and 293 pg glyphosate acid/cm2 was used in the 1
to 15.6 dilution and 25 pg glyphosate acid/cm2 was used in the 1 to 188 dilution study.
The U.S. ERA guidelines for dermal testing recommend a maximum practical dose on the




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order of 1 mg/cm2; larger doses can exceed saturation of the absorption process.148 Thus,
the formulation concentration dose used was not in compliance and exceeded the
threshold for maximum practical dose by a factor of 4.6.

DTL failed to properly follow OECD GD 28 (OECD, 2004c) regulations with respect to the
definition and methodology that defines absorbed dose:

   •   The laboratory did not include the glyphosate recovered from the tape stripping
       as they claimed that it was not biologically available.

   •   They also did not include the amount of glyphosate recovered from stratum
       corneum (available for eventual absorption).

The "In vitro absorption of glyphosate through human epidermis" study presents itself as
a pre-destined design failure. It is completely inconsistent with other previous Monsanto
in vitro and in vivo studies and should be excluded as DTL violated OECD test regulations

Under "OECD guidelines for the testing of chemicals, Skin Absorption: in vitro Method
428,” adopted April 13,1 2004, “The test substance remaining in the skin should be
considered as absorbed unless it can be demonstrated that absorption can be determined
from receptor fluid values alone.” Analysis of the other components (material washed off
the skin and remaining within the skin layers) allows for further data evaluation including
total test substance disposition and percentage recovery.

OECD GD 28 (OECD, 2004c) notes that, under certain circumstances, in vivo skin levels
of test compound need not be considered to be percutaneously absorbed.149 This is
appropriate where it can be demonstrated that test compound in the layers of skin at the
end of a study will ultimately remain in the skin or be removed by the surface shedding of
the stratum corneum.

However, for in vitro studies, OECD GD 28 notes that microcirculation is obliterated and
the terminal stratum corneum levels may be elevated compared with in vivo levels. For
these studies, OECD GD 28 states "...it is therefore necessary that skin levels of test
compound measured at the end of a study be included with the receptor fluid levels to



148 U.S. ERA OPPTS 870.7600, “Health effects test guidelines dermal penetration,’’ August 1998, pg. 4.
,49 OECD Guidance notes on dermal absorption, Draft, October 22, 2010.

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determine total percutaneous absorption. Skin absorption may be expressed using
receptor fluid alone provided that this can be justified."

The current approach taken by nearly all regulatory agencies is to determine the dermal
absorption value by adding the absorbed dose and the chemical remaining in the
application site and surrounding skin following washing. This is appropriate for both in
vivo and in vitro studies, unless compelling evidence is presented that demonstrates that
at least some portion of the residue in the skin is unlikely to be absorbed. However, there
is currently some international disagreement about whether part or all of the test
substance should be included in the dermal absorption value that is retained in the
stratum corneum and can be removed by tape stripping.

For in vivo studies, it is widely accepted that, if absorption can be demonstrated as
complete (see 7.1.3), then all or part of the chemical remaining in the skin may be
considered as unavailable for absorption.

For in vitro studies, some regulatory authorities have a similar approach as for in vivo
studies in that some of the amount retained in the skin may be considered as unavailable
for systemic absorption.

Others would include all of the test substance retained in the skin following in vitro
exposure. The following sections provide guidance to assist in the consideration of
whether to exclude some portion of the residue in the skin.

Tape stripping

OECD GD 28 states that skin fractionation may be conducted following exposure either
in vitro or in vivo, noting that tape stripping can be difficult in vitro with epidermal
membranes, rodent skin, study durations of more than 24 hours or where the test
preparation alters the stratum corneum.

Test substance retained in the top few layers of the stratum corneum (i.e., contained in
the first few tape strips) may be removed by desquamation and therefore may not be
absorbed. This includes substances retained in the top few layers of the stratum corneum
as well as material that has not penetrated into the stratum corneum but is protected from
wash-off; for example, in hair follicles or sweat ducts.



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In the European Union and some other countries, it is the general practice to exclude the
amount that was found in the first (upper) two tape strips at study completion both in vitro
and in vivo.

Test substance in lower layers of the stratum corneum may penetrate into the dermis or
may be removed by desquamation. Determination of the potential bioavailability of this
test substance should be made on a case-by-case basis.

Dermal absorption is primarily a diffusion-driven process, and therefore test substances
in the lower layers of the stratum corneum should be assumed to form a reservoir that
may become systemically available unless it can be demonstrated in vivo that absorption
is complete and this test substance will remain in the stratum corneum until exfoliated.

Deviations or lack of documentation within the DTL (2010) studies include:

       Failure to include glyphosate remaining in the stratum corneum

       No documentation as to how the split-thickness skin measurement (typically 200-
       400 pm thick) is prepared.

       Although tape striping was performed, all of the layers were excluded from the
       "mean total amounts of absorbed glyphosate" at 0.012%, 0.129% and 0.082% as
       reported.

       Tape stripping has only been discussed in the "Draft" 2010 OECD regulations and
       is limited to the first two tape strip extractions. Even if it were the official regulation,
       DTL deviated from the proposed methodology.

In summary, "The current approach taken by nearly all regulatory agencies is to determine
the dermal absorption value by adding the absorbed dose and the chemical remaining in
the application site and surrounding skin following washing. This is appropriate for both
in vivo and in vitro studies unless compelling evidence is presented that demonstrates
that at least some portion of the residue in the skin is unlikely to be absorbed. (OECD
"Guidance notes on dermal absorption, Draft,” October 22, 2010)

It is also critical to note that results of the 1 to 188 spray dilution MON 79545 dermal
absorption study (0.082% absorbed) falls approximately 35 times below the prior 3%



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dermal absorption value established by the U.S. EPA and 54 times less than that of the
4.4% dermal absorption rate measured in primates in the Wester, et al., study (1991).

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2010) - (MON 52276)

In February 2010, Dermal Technology Laboratory (DTL) Ltd., also completed their
Monsanto-commissioned lab study entitled "In vitro absorption of glyphosate through
human epidermis." For MON 52276 concentrate (undiluted dose), "the mean total amount
of absorbed glyphosate was 0.332 ug/cm2 (0.009% of applied dose).’1 For the 1 to 12.5
dilution and 1 to 150 dilution (consistent with spray applications), "the mean total amounts
of absorbed glyphosate were 0.086 and 0.023 ug/cm2 (0.029% and 0.092% of applied
dose), respectively.” Thus, compared to earlier (non-DTL studies), results of the above
MON 52276 high dose dermal absorption study fell approximately 103 times below the
prior 3% dermal absorption value established by the U.S. EPA and 151 times less than
that of the 4.4% dermal absorption rate measured in primates in the Wester, et al., study
(1991). The MON 52276 diluted dose dermal absorption study fell approximately 33 times
below the prior 3% dermal absorption value established by the US EPA and 48 times less
than that of the 4.4% dermal absorption rate measured in primates in the Wester, et al.,
study (1991).

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2010) - (MON 79351)

Studies on MON 79351, also completed in February 2010, reported for the high undiluted
dose that "the mean total amount of absorbed glyphosate was 0.342 ug/cm2 (0.007% of
applied dose).” For the 1 to 16.7 dilution (consistent with spray applications), "the mean
total amounts of absorbed glyphosate was 0.553 ug/cm2 (0.182% of applied dose).’’ Thus,
compared to earlier (non-DTL studies), results of the above MON 79351 high undiluted
dose dermal absorption study fell approximately 16 times below the prior 3% dermal
absorption value established by the U.S. EPA and 24 times less than that of the 4.4%
dermal absorption rate rfieasured in primates in the Wester, et al., study (1991).

The above studies were carried out under the direction of R.J. Ward. DTL is managed
by Dave Fox who was previously the head of the in vitro percutaneous absorption group
at Syngenta Central Toxicology Laboratory. (Syngenta is also a producer of glyphosate
and seeds.) The above DTL studies are vastly inconsistent and discrepant compared to
all prior Monsanto glyphosate dermal absorption studies performed by non-DTL
laboratories. The inexplicable differences in dermal absorption bioavailability renders the

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credibility of this study of questionable merit and, as a consequence, warrants its
exclusion.

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2015)
72 g/L Glyphosate Gel Formulation (MON 76829)

In April 2015, Dermal Technology Laboratory (DTL) Ltd., completed their Monsanto-
commissioned lab study entitled “72 g/L Glyphosate Gel Formulation (MON 76829) - In
Vitro Absorption through Human Dermatomed Skin using [14C]-Glyphosate.”

Human skin samples were obtained from the National Disease Research Interchange
(NDRI, Philadelphia, Pennsylvania, U.S.A.). Skin sections were cut at a thickness
setting of 400 pm using an electric dermatome. It is not stated in the methodology whether
tissues were also separated by heat.

The type of static glass diffusion cell used in this study had an exposed skin surface
area of 2.54 cm2 and a receptor volume of approximately 4.5 mL. Discs of
approximately 3.3 cm diameter of prepared skin were mounted, dermal side down, in
diffusion cells held together with individually numbered clamps and placed in a water
bath maintained at 32°C ± 1°C. A nominal application rate of 10 pL/cm2 or 720 pg
glyphosate acid/cm2 was reported.

DTL concluded that the highly concentrated gel formulation had a dermal absorption rate
of glyphosate from exposure to the herbicide gel at 6, 8 and 10 hours of 0.013 pg/cm2,
0.018 pg/cm2 and 0.014 pg/cm2, respectively. These respective amounts expressed as
percentages of the applied dose were 0.002%, 0.003% and 0.002%. The mean amount
penetrated over the entire 24 hour experimental period was 0.018 pg/cm2, corresponding
to 0.003% of the applied dose, "Practically all of the applied glyphosate acid (105%) was
washed off the surface of the skin following the six hour exposure with a further 0.048%
being removed at the 24 hour wash." The proportions of the dose applied that were
recovered from the donor chamber, stratum corneum (tape strips 1 -5), and remaining skin
were 0.042%, 0.003% and 0.009%, respectively. The proportions of the dose applied that
were recovered from the donor chamber, stratum corneum (tape strips 1-5), and
remaining skin were 0.042%, 0.003% and 0.009%, respectively. The bioavailability of
glyphosate acid from this gel formulation was reported to be 0.011% of the applied dose.




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Assessment of the DTL methodology reveals that 720 |jg glyphosate acid/cm2 was used
in this study. The U.S. ERA guidelines for dermal testing recommend a maximum practical
dose on the order of 1 mg/cm2; larger doses can exceed saturation of the absorption
process.150 Thus, the dose used was in compliance, but at the upper range (72% of the
threshold).

It is not stated in the methodology whether tissues were also separated by heat and if so,
what temperature or duration. Results of the MON 76829 gel dermal absorption study
fall approximately 272 times below the prior 3% dermal absorption value established by
the U.S. ERA and 400 times less than that of the 4.4% dermal absorption rate measured
in primates in the Wester, et al., study (1991).

Most importantly, this study tested a glyphosate gel and did not include any surfactants
which are typically a major component of Roundup formulations and allow for penetration
of the formulation.

The study was carried out under the direction of Diane J. Davis who worked for Syngenta
until 2007. As mentioned earlier, DTL is managed by Dave Fox who was previously the
head of the in vitro percutaneous absorption group at Syngenta Central Toxicology
Laboratory. (Syngenta is also a producer of glyphosate and seeds.) This DTL study is
vastly inconsistent and discrepant compared to all prior Monsanto glyphosate dermal
absorption studies performed by non-DTL laboratories. The inexplicable differences in
dermal absorption bioavailability renders the credibility of this study of questionable merit
and, as a consequence, warrants its exclusion.

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2015)
7.2g/L Glyphosate Gel Formulation (MON 76258)

In April 2015, Dermal Technology Laboratory (DTL) Ltd., also completed their Monsanto-
commissioned lab study entitled ‘7.2 g/L Glyphosate Gel Formulation (MON 76258) - In
Vitro Absorption through Human Dermatomed Skin using [,4C]-Glyphosate”

Human skin samples were obtained from the National Disease Research Interchange
(NDRI, Philadelphia, Pennsylvania, U.S.A.). Skin sections were cut at a thickness




150   U.S. ERA OPPTS 870.7600, "Health effects test guidelines dermal penetration," August 1998, pg. 4.
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setting of 400 pm using an electric dermatome. It is not stated in the methodology whether
tissues were also separated by heat.

The type of static glass diffusion cell used in this study had an exposed skin surface
area of 2.54 cm2 and a receptor volume of approximately 4.5 mL. Discs of
approximately 3.3 cm diameter of prepared skin were mounted, dermal side down, in
diffusion cells held together with individually numbered clamps and placed in a water
bath maintained at 32°C ± 1°C. A nominal application rate of 10 pL/cm2 or 720 pg
glyphosate acid/cm2 was reported.

DTL concluded that the gel formulation had a dermal absorption rate of glyphosate from
exposure to the herbicide at 6, 8 and 10 hours of 0.005 pg/cm2. These respective time
points can be expressed as percentages of the applied dose; i.e., 0.002%, 0.003% and
0.002%. The mean amount penetrated over the entire 24 hour experimental period was
0.006 pg/cm2, corresponding to 0.008% of the applied dose. "Practically all of the applied
glyphosate acid (103%) was washed off the surface of the skin following the six hour
exposure with a further 0.211% being removed at the 24 hour wash." The proportions of
the dose applied that were recovered from the donor chamber, stratum corneum (tape
strips 1-5), and remaining skin were 0.035%, 0.017% and 0.023%, respectively. The
bioavailability of glyphosate acid from this gel formulation was 0.040% of the applied
dose.

Assessment of the DTL methodology reveals that 7.2 pg glyphosate acid/cm2 was used
in this study. The U.S. ERA guidelines for dermal testing recommend a maximum practical
dose on the order of 1 mg/cm2; larger doses can exceed saturation of the absorption
process.151 Thus, the dose used was in compliance at the upper range (7.2% of the
threshold).

It is not stated in the methodology whether tissues were also separated by heat and if so,
what temperature or duration. Results of the MON 76258 gel dermal absorption study
fall approximately 75 times below the prior 3% dermal absorption value established by
the U.S. ERA and 110 times less than that of the 4.4% dermal absorption rate measured
in primates in the Wester, et al., study (1991).




151 U.S. ERA ORPTS 870.7600, ''Health effects test guidelines dermal penetration,” August 1998, pg. 4,

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Most importantly, this study tested a glyphosate gel and did not include any surfactants
which are typically a major component of Roundup formulations and allow for penetration
of the formulation.

As above, the study was carried out under the direction of Diane J. Davis who worked for
Syngenta up to 2007. DTL is managed by Dave Fox who was previously the head of the
in vitro percutaneous absorption group at Syngenta Central Toxicology Laboratory.
(Syngenta is also a producer of glyphosate and seeds.) This DTL study is vastly
inconsistent and discrepant compared to all prior Monsanto glyphosate dermal absorption
studies performed by non-DTL laboratories. The inexplicable differences in dermal
absorption bioavailability renders the credibility of this study of questionable merit and, as
a consequence, warrants its exclusion.

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2016)
500 g/L Glyphosate SL Formulation (MON 76952)

During August 2016, Dermal Technology Laboratory (DTL) Ltd., UK, also completed their
Monsanto-commissioned lab study entitled “500 g/L Glyphosate SL Formulation (MON
76952) - In Vitro Absorption through Human Dermatomed Skin using [14C]-Glyphosate“

Human skin samples were obtained from the National Disease Research Interchange
(NDRI, Philadelphia, Pennsylvania, U.S.A.). Skin sections were cut at a thickness
setting of 400 pm using an electric dermatome. It is not stated in the methodology whether
tissues were also separated by heat.

The type of static glass diffusion cell used in this study had an exposed skin surface
area of 2.54 cm2 and a receptor volume of approximately 4.5 mL. Discs of
approximately 3.3 cm diameter of prepared skin were mounted, dermal side down, in
diffusion cells held together with individually numbered clamps and placed in a water
bath maintained at 32°C ± 1°C. A nominal application rate of 10 pL/cm2 or 720 pg
Glyphosate acid/cm2 was reported.

DTL concluded that the 500 g/L formulation concentrate had a dermal absorption rate of
glyphosate with the mean amount penetrated over the entire 24 hour experimental period
of 0.022 pg/cm2, corresponding to 0.022% of the applied dose. The mean amount
penetrated over the entire 24 hour experimental period was 0.512 pg/cm2, corresponding
to 0.010% of the applied dose. Bioavailable dose was determined to be 0.088%.

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The 1/500 w/v aqueous spray dilution after a small lag phase of 1 hour, there was
“practically no glyphosate was absorbed (0.0006 pg/cm2/hour)”, the mean absorption rate
of glyphosate acid through human dermatomed skin increased to 0.002 pg/cm2/hour
between 1-2 hour. This reduced to 0.0003 pg/cm2/hour between 4-12 hours and 0.0001
pg/cm2/hour between 12-24 hours. Over the 24 hour experimental period the mean
absorption rate was 0.0003 pg/cm2/hour.

The amounts of glyphosate acid that were absorbed through human skin at 6, 8 and
10 hours were 0.005 pg/cm2, 0.006 pg/cm2 and 0.006 pg/cm2, respectively. These
amounts expressed as percentages of the applied dose were 0.052%, 0.058% and
0.063%. The mean amount penetrated over the entire 24 hour experimental period
was 0.008 pg/cm2, corresponding to 0.081% of the applied dose. Bioavailable dose was
determined to be 0.200%.

Assessment of the DTL methodology reveals that 5000 pg Glyphosate acid/cm2 and 10
pg Glyphosate acid/cm2 was used in this study. The U.S. ERA guidelines for dermal
testing recommend a maximum practical dose on the order of 1 mg/cm2; larger doses can
exceed saturation of the absorption process.152 Thus, the high dose used exceeded the
threshold by a factor of 5.

It is not stated in the methodology whether tissues were also separated by heat and if so,
what temperature or duration.

Results of the 500 g/L MON 76952 concentrate dermal absorption study fell
approximately 300 times below the prior 3% dermal absorption value established by the
US ERA and 440 times less than that of the 4.4% dermal absorption rate measured in
primates in the Wester, et al., Study (1991).

Results of the spray dilution MON 76952 dermal absorption study fell approximately 37
times below the prior 3% dermal absorption value established by the US ERA and 54
times less than that of the 4.4% dermal absorption rate measured in primates in the
Wester, et al., Study (1991).

There is no indication that surfactants are present in this glyphosate formulation.




152 U.S. ERA OPPTS 870.7600, “Health effects test guidelines dermal penetration," August 1998, pg. 4.

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The study was carried out under the direction of Diane J. Davis who worked for Syngenta
up to 2007. DTL is managed by Dave Fox who was previously the Head of the in vitro
percutaneous absorption group at Syngenta Central Toxicology Laboratory (Syngenta is
also a producer of glyphosate and seeds). This DTL study is vastly inconsistent and
discrepant compared to all prior Monsanto glyphosate dermal absorption studies
performed by non-DTL laboratories. The inexplicable differences in dermal absorption
bioavailability renders the credibility of this study of questionable merit and, as a
consequence, warrants its exclusion.

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2015)
360 g/L Glyphosate SL Formulation (MON 76879)

During August 2017, Dermal Technology Laboratory (DTL) Ltd., UK, also completed their
Monsanto-commissioned lab study entitled “360 g/L Glyphosate SL Formulation (MON
76879) - In Vitro Absorption through Human Dermatomed Skin using [14C]-Glyphosate”

Human skin samples were obtained from the National Disease Research Interchange
(NDRI, Philadelphia, Pennsylvania, U.S.A.). Skin sections were cut at a thickness
setting of 400 pm using an electric dermatome. It is not stated in the methodology whether
tissues were also separated by heat.

The type of static glass diffusion cell used in this study had an exposed skin surface
area of 2.54 cm2 and a receptor volume of approximately 4.5 mL. Discs of
approximately 3.3 cm diameter of prepared skin were mounted, dermal side down, in
diffusion cells held together with individually numbered clamps and placed in a water
bath maintained at 32°C ± 1°C. A nominal application rate of 10 pL/cm2 or 720 pg
Glyphosate acid/cm2 was reported.

DTL concluded that the 360 g/L formulation concentrate had a dermal absorption rate of
glyphosate from exposure to the herbicide with the mean amount penetrated over the
entire 24 hour experimental period was 0.791 pg/cm2, corresponding to 0.022% of the
applied dose.

A 1/267 w/v aqueous spray dilution had a dermal absorption rate of glyphosate absorbed
through human skin at 6, 8, 10 and 12 hours were 0.004 pg/cm2, 0.004 pg/cm2, 0.005
pg/cm2 and 0.005 pg/cm2, respectively. These amounts expressed as percentages of the
applied dose were 0.029%, 0.033%, 0.035% and 0.037%. The mean amount penetrated

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over the entire 24 hour experimental period was 0.006 pg/cm2, corresponding to 0.042%
of the applied dose.

"Practically all of the applied glyphosate acid (102%) was washed off the surface of the
skin following the six hour exposure with a further 0.375% being removed at the 24 hour
wash.” The proportions of the dose applied that were recovered from the donor chamber,
stratum corneum, and remaining skin were 0.080%, 0.032% and 0.111%,
respectively.

The bioavailability of glyphosate acid from the spray dilution is the sum of the
receptor fluid dose at 24 hours plus the amount remaining in the skin following tape
stripping and tape strips 3-5. This was 0.162% of the applied dose.

Assessment of the DTL methodology reveals that 3600 pg Glyphosate acid/cm2 and 13.5
pg Glyphosate acid/cm2 was used in this study. The U.S. EPA guidelines for dermal
testing recommend a maximum practical dose on the order of 1 mg/cm2; larger doses can
exceed saturation of the absorption process.153 Thus, the high dose used exceeded the
threshold by a factor of 3.6.

It is not stated in the methodology whether tissues were also separated by heat and if so,
what temperature or duration.

Results of the spray dilution MON 76859 dermal absorption study fall approximately 18.5
times below the prior 3% dermal absorption value established by the US EPA and 27.5
times less than that of the 4.4% dermal absorption rate measured in primates in the
Wester, etal., Study (1991).

This MON 76879 commercial formulation is noted to contain a surfactant called Synergen
GD2 was at a volume of 4.78% w/w, while glyphosate (pure acid, and salt) was 60.63%
w/w. For comparison, the ethoxylated tallowamine (POEA) surfactant in Roundup Classic
is designated by Monsanto as MON 0818154 is a concentration that is typically reported




153 U.S. ERA OPPTS 870.7600, "Health effects test guidelines dermal penetration,” August 1998, pg. 4.
154 Monsanto response to the concern of the Slovenian authorities on the composition of the Plant
    Protection Product MON 79376 (360 g/1 glyphosate) and the surfactant MON 59117 (CAS n ° 68478-
    96-6). MONGLY02817577

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as approximately 15% of the formulation weight to volume or 150 g/L155’156'157’158 Per
Johan van Burgsteden, "In vitro percutaneous absorption study with [14C]-glyphosate
using viable rat skin membranes,” June 14, 2002, Unaudited draft report V4478 (TNO
Dermal Penetration Study);         MON 35012 is known to constitute glyphosate
isopropylamine salt (46% w/w) and surfactant cocoamine (18% w/w), water and minor
ingredients (35.5% w/w). In that study, penetration of glyphosate was found to range from
2.6% to 10.3%.

The study was carried out under the direction of Diane J. Davis who worked for Syngenta
up to 2007. DTL is managed by Dave Fox who was previously the Head of the in vitro
percutaneous absorption group at Syngenta Central Toxicology Laboratory (Syngenta is
also a producer of glyphosate and seeds). This DTL study is vastly inconsistent and
discrepant compared to all prior Monsanto glyphosate dermal absorption studies
performed by non-DTL laboratories. The inexplicable differences in dermal absorption
bioavailability renders the credibility of this study of questionable merit and, as a
consequence, warrants its exclusion.




155 Id.
156 Diamond, G., Durkin, P., "Effects of surfactants on the toxicity of glyphosate with specific reference to
    RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1 b.
157 Giesey, J. P., Dobson, S., & Solomon, K. R., "Ecotoxicological risk assessment for Roundup
    herbicide," 2000, Rev. Environ. Contam. Toxicol. 167, pg. 35-120.
158 Defarge, N. E., "Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human
    cells below toxic levels, 2016, Int J Environ Res Public Health, Vol. 13(3, pg. 264.

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                                                                     Table 11
                                                   Glyphosate Dermal Absorption Studies
                                                                     Derma-      Stated %     % Absorption
                        Study                                 Full   tomed        Dermal        Including
 Name/Author           Sponsor    Date   Specie    Design     Skin    Skin      Absorption    Unaccounted       Notes

 Franz, ‘"Evaluation   Monsanto   1983   Human     in vitro   Yes         Yes    0.028%       0.152% (fluid)    Study used unfrozen abdominal
 of the                                                                         MON0139       plus 4.02% (“in   human skin obtained at autopsy;
 percutaneous                                                                    0.063%        epidermis”) =    used radioactive glyphosate as
 absorption of                                                                   Roundup           4.17%        labeled recovery target; failed to
 three formulations                                                                              absorption     include unaccounted per OECD
 of glyphosate"                                                                   0.152%                        regulations;
                                                                                 Spray Mix
 Maibach,              Monsanto   1983   Primate   in vivo    Yes         No      1.80%           >1.8%         U.S. ERA guidelines require that at
 "Elimination of                                                                                                least 90% of dose be accounted
 14C-glyphosate in                                                                                              for as compared to 16% in the
 Rhesus                                                                                                         Maibach study. U.S. ERA
 monkeys..."                                                                                                    classified the study as
                                                                                                                unacceptable since the majority of
                                                                                                                dose was not accounted for.

 Wester,               Monsanto   1991   Human,    in vitro   Yes         No        4.4%           22.6%        Inappropriately large dose
 “Glyphosate skin                        Primate   in vivo                       (low dose)   (if bound and     exceeded saturation; caused
 binding,                                                                                      unaccounted      artificial reduction of percentage
 absorption,                                                                       2.9%       amount added      absorbed in test subjects.
 residual tissue                                                                (high dose)     per OECP        Additionally, study underestimates
 distribution and                                                                              regulations)     systemic dose from dermal
 skin                                                                                                           absorption by a factor of 4.5 due to
 decontamination."                                                                                              omission of fecal elimination.
                                                                                                                Authors state 18.2% was "lost."
                                                                                                                OECD regulations require bound
                                                                                                                or unaccounted dose to be added.
                                                                                                                Thus, 4.4% + 18.2% = 22.6%.




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                                                                  Table 11
                                                Glyphosate Dermal Absorption Studies
                                                                  Derma-      Stated %     % Absorption
                      Study                                Full   tomed        Dermal        Including
 Name/Author         Sponsor    Date   Specie   Design     Skin    Skin      Absorption    Unaccounted    Notes

 Wester, “In vitro   Monsanto   1991   Human    in vitro                        2.2%                      Internal documents record fact that
 human skin                                                                   (± 0.5%)                    Monsanto considered study results
 absorption.*                                                                                             "too risky" to submit. Study
                                                                                                          discontinued by Monsanto prior to
                                                                                                          regulatory review; results never
                                                                                                          published.

 TNO Study: van      Monsanto   2002   Rat      in vitro                        2.6%         Variable     Maximum penetration of 10.3 %
 Burgsteden, “In                                                               ± 1.4%        recovery     occurred with the higher dose of
 vitro                                                                       (low dose)      Up to 18%    MON 35012 concentrate which
 percutaneous                                                                                absorption   contained the surfactant
                                                                               10.3%                      Cocoamine; one test membrane
 absorption study                                                              ± 4.2 %
 [14C]-glyphosate                                                                                         absorbed approximately 18% of
                                                                             (high dose)
 using viable rat                                                                                         the applied dose.
 skin membranes"
 (MON 35012)
 TNO Study (MON      Monsanto   2002   Rat      in vitro                         1.4%         Variable    IRA salt of glyphosate only; no
 0319) (70%)                                                                    ± 2.2 %       recovery    surfactant in test formulation. Wide
                                                                              (low dose)                  range of statistical variability
                                                                                                          reported (more than 100%)
                                                                                1.3%
                                                                               ±1.9%
                                                                             (high dose)




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                                                                Table 11
                                                  Glyphosate Dermal Absorption Studies
                                                                    Derma-      Stated %     % Absorption
                        Study                                Full   tomed        Dermal        Including
 Name/Author           Sponsor    Date   Specie   Design     Skin    Skin      Absorption    Unaccounted    Notes

 DTL, "450 g/L         Monsanto   Feb    Human    in vitro   No          Yes      0.012%         0.049%     Bioavailability (i.e. (absorbed +
 glyphosate in vitro              2010                                         (high dose)    (high dose)   epidermis after tape striping) was
 absorption of                                                                    0.129%         0.796%     0.049%, 0.796% and 0.245% in
 glyphosate                                                                    (med dose)     (med dose)    order of increasing glyphosate
 through human                                                                    0.082%         0.245%     concentration applied. This would
 epidermis."                                                                    (low dose)     (low dose)   have been higher but the study
 (MON79545)                                                                                                 excluded all glyphosate recovered
                                                                                                            from the stratum corneum. Study
                                                                                                            did not state tissue thickness.
                                                                                                            Manually teased away dermis
                                                                                                            following 60° emersion for 40-45
                                                                                                            seconds. Failed to include stratum
                                                                                                            corneum quantities in total
                                                                                                            absorbed dose.




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                                                                    Table 11
                                                  Glyphosate Dermal Absorption Studies
                                                                    Derma-      Stated %     % Absorption
                        Study                                Full   tomed        Dermal        including
 Name/Author           Sponsor    Date   Specie   Design     Skin    Skin      Absorption    Unaccounted    Notes

 DTL, "360 g/L         Monsanto   Feb    Human    in vitro   No          Yes      0.009%         0.064%     Bioavailable percentage would
 glyphosate in vitro              2010                                         (high dose)    (high dose)   have been higher but the study
 absorption of                                                                    0.029%         0.134%     excluded all glyphosate recovered
 glyphosate                                                                    (med dose)     (med dose)    from the stratum corneum. When
 through human                                                                    0.092%         0.277%     compared to earlier (non-DTL
 epidermis." (MON                                                               (low dose)     (low dose)   studies) high undiluted dose
 52276)"                                                                                                    dermal absorption study this fell
                                                                                                            333.33 times below the prior 3%
                                                                                                            dermal absorption value
                                                                                                            established by the U.S. ERA and
                                                                                                            488.89 times less than that of the
                                                                                                            4.4% dermal absorption rate
                                                                                                            measured in primates by Wester
                                                                                                             etal. (1991). These inexplicable
                                                                                                             findings of vastly lower absorption
                                                                                                            findings fail to note that the
                                                                                                             glyphosate formulation is
                                                                                                             essentially unchanged since earlier
                                                                                                             studies were conducted.




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                                                                    Table 11
                                                  Glyphosate Dermal Absorption Studies
                                                                    Derma-      Stated %     % Absorption
                        Study                                Full   tomed        Dermal        Including
 Name/Author           Sponsor    Date   Specie   Design     Skin    Skin      Absorption    Unaccounted    Notes

 DTL, "480 g/L         Monsanto   Feb    Human    in vitro   No          Yes      0.007%         0.123%     The bioavailable amount in the low
 glyphosate in vitro              2010                                         (high dose)    (high dose)   dose dilution was 0.8%, this
 absorption of                                                                    0.182%         0.262%     amount exclude all glyphosate in
 glyphosate                                                                    (med dose)     (med dose)    the stratum corneum, and would
 through human                                                                    0.048%         0.799%     have been higher. When
 epidermis"                                                                     (low dose)     (low dose)   compared to earlier (non-DTL
 (MON79351)"                                                                                                studies), high undiluted dose
                                                                                                            dermal absorption study fell -16
                                                                                                            times below the prior 3% dermal
                                                                                                            absorption value established by
                                                                                                            the US ERA and -24 times less
                                                                                                            than that of the 4.4% dermal
                                                                                                             absorption rate measured in
                                                                                                             primates by Wester, et al. (1991).
                                                                                                             These inexplicable findings of
                                                                                                             vastly lower absorption findings fail
                                                                                                             to note that the glyphosate
                                                                                                             formulation is essentially
                                                                                                             unchanged since earlier studies
                                                                                                             were conducted.




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                                                              Table 11
                                                Glyphosate Dermal Absorption Studies
                                                                   Derma-     Stated %    % Absorption
                      Study                                Full    tomed       Dermal       Including
 Name/Author         Sponsor    Date   Specie   Design     Skin     Skin     Absorption   Unaccounted    Notes

 DTL, "72 g/L        Monsanto   Apr    Human    in vitro   No          Yes     0.003%       0.011%       No surfactants were used in this
 Glyphosate Gel                 2015                                          ("applied                  study which is a typical component
 Formulation - In                                                              dose")                    that helps with absorption in
 Vitro Absorption                                                                                        Roundup formulations. Study fails
 through Human                                                                                           to state whether tissues were
 Dermatomed Skin                                                                                         separated by heat and if so what
 using [14C]-                                                                                            temperature or duration. Results
 Glyphosate"                                                                                             fall approximately 272 times below
 (MON 76829)                                                                                             the prior 3% dermal absorption
                                                                                                         value established by the US ERA
                                                                                                         and 400 times less than that of the
                                                                                                         4.4% dermal absorption rate
                                                                                                          measured in primates in the
                                                                                                         Wester study (1991). Study is
                                                                                                         vastly inconsistent and discrepant
                                                                                                          compared to all prior Monsanto
                                                                                                          glyphosate dermal absorption
                                                                                                          studies performed by non-DTL
                                                                                                          laboratories

 DTL, "72 g/L        Monsanto   Apr    Human    in vitro    No         Yes     0.008%        0.04%       No surfactants were used in this
 Glyphosate Gel                 2015                                          ("applied                  study which is a typical component
 Formulation (MON                                                               dose")                   that helps with absorption in
 76258) - In vitro                                                                                       Roundup formulations. Tissue cut
 Absorption                                                                                              @ 400 pm thickness via electrical
 through Human                                                                                           dermatome; no implication whether
 Dermatomed Skin                                                                                         tissue was heated; tissue was
 using [14C]-                                                                                            stored frozen at -20°C. Complete
 Glyphosate"                                                                                             amounts of recovered glyphosate
                                                                                                         in stratum comeum were not
                                                                                                         included.


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                                                             Table 11
                                               Glyphosate Dermal Absorption Studies
                                                                 Derma-      Stated %     % Absorption
                     Study                                Full   tomed        Dermal        Including
 Name/Author        Sponsor    Date   Specie   Design     Skin    Skin      Absorption    Unaccounted      Notes

 DTL, ”500 g/L      Monsanto   Aug    Human    in vitro   No          Yes     0.010%          0.088%       5,000 pg glyphosate acid/cm2 and
 Glyphosate SL                 2016                                         (high dose)    (High dose)     10 pg glyphosate acid/cm2 used.
 Formulation - In                                                             0.081%          0.200%       U.S. ERA guidelines for dermal
 vitro Absorption                                                             (diluted    (diluted dose)   testing recommend a maximum
 through Human                                                                 dose)                       practical dose on the order of 1
 Dermatomed Skin                                                                                           mg/cm2; larger doses can exceed
 using [14C]-                                                                                              saturation of the absorption
  Glyphosate,"                                                                                             process. Thus, the high dose used
 (MON 76952)                                                                                               exceeded the threshold by a factor
                                                                                                           of 5. Tissue cut @ 400 pm
                                                                                                           thickness via electrical dermatome;
                                                                                                            no implication whether tissue was
                                                                                                            heated; tissue was stored frozen at
                                                                                                           -2013. There is no indication that
                                                                                                            surfactants are present in this
                                                                                                            glyphosate formulation.




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                                                                  Table 11
                                                Glyphosate Dermal Absorption Studies
                                                                  Derma-      Stated %     % Absorption
                      Study                                Full   tomed        Dermal        Including
 Name/Author         Sponsor    Date   Specie   Design     Skin    Skin      Absorption    Unaccounted      Notes

 DTL, "360 g/L       Monsanto   Aug    Human    in vitro   No          Yes     0.022%          0.277%       Study results fall approximately
 Glyphosate SL                  2017                                         (high dose)    (high dose)     18.5 times below the prior 3%
 Formulation (MON                                                              0.042%          0162%        dermal absorption value
 76258) - In vitro                                                             (diluted    (diluted dose)   established by the US ERA and
 Absorption                                                                     dose)                       27.5 times less than that of the
 through Human                                                                                              4.4% dermal absorption rate
 Dermatomed Skin                                                                                            measured in primates in the
 using [14C]-                                                                                               Wester study (1991). Tissue cut @
 Glyphosate"                                                                                                400 pm thickness via electrical
                                                                                                            dermatome; no implication whether
                                                                                                            tissue was heated; tissue was
                                                                                                            stored frozen at -20° C. Surfactants
                                                                                                            use is at a percentage lower that
                                                                                                            typical/classic glyphosate
                                                                                                            formulations




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                                    History of Glyphosate Study Results
                                                 1983-2017
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           Franz 1983* MaiOach 1983 Wester 1991    TNO 2002     DTL (2010)    DTL (2015)    DTL (2016)   OIL (2017)

                    * Franz study used radoactive gl/phosate on in    abdominal human skin. Result
                    measures sum ot glyphosate in epidermis and receplor fluid per OECD regulations
                                                 Figure 9
                                                                           159
                             Historical Dermal Absorption Factors by Study


The study compilation presented in Table 11 reveals a remarkable finding. As shown in
Figure 9, something “unexplained” appears to have happened in 2010. Monsanto made
no significant alterations in product formulations - yet glyphosate dermal absorption
inexplicably dropped by more than two orders of magnitude.

This remarkable event may possibly be explained by the fact that the results for each year
(2010, 2015, 2016, 2017) were produced by the same laboratory (“DTL"). Thus, it is
evident that procedures and methodology at DTL have impacted the results. The DTL
reports offered to account for this change in percent absorption and as previously noted
failed to undertake Triple Pack methods to validate their in vitro laboratory tests.

This establishment was contracted by Monsanto and managed by a gentleman who was
previously in charge of the in vitro percutaneous absorption group at Syngenta Central
Toxicology Laboratory - who is also a producer of glyphosate and seeds.


159 Wester used roundup which contained surfactants; Maybach’s dermal absorption was radio labeled
    glyphosate dissolved in roundup which contained surfactants and water; TNO study formulation also
    contained surfactants.
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Studies, Reviews & Articles Impacted by Wester and Maibach Studies

Inasmuch as there are obvious and significant flaws in the two Monsanto-sponsored
studies, it is important to understand the impact these have had on other studies, reviews
and published articles (some of which were authored by Monsanto consultants).

1. Williams, GM, Kroes, R., and Munro, IC, “Safety evaluation and risk assessment of
   the herbicide Roundup and its active ingredient, glyphosate, for humans,” 2000,
   Regulatory Toxicology and Pharmacology. Vol. 31, pp. 117-165.

   The Williams, et al., risk assessment article opined that the dermal penetration of
   glyphosate is very low based on results from studies in Rhesus monkeys and in vitro
   studies with human cadaver samples. With respect to the Wester studies, Williams
   failed to acknowledge the documented fecal elimination route and only relied on
   urinary excretion. Additionally, Williams, et al., failed to note the difference in fecal
   verses urinary excretion dependent upon dose level including the extraordinarily high
   dose level of pure product on the skin of primates within the Wester studies.

   The Williams, et al., review stated,160 "Maibach (1983) studied the in vivo dermal
   absorption of glyphosate when undiluted Roundup herbicide was applied to the skin
   of monkeys. Penetration was slow as only 0.4 and 1.8% of the applied dose was
   absorbed over 24 hours and 7 days, respectively. A second study in Rhesus monkeys
   investigated the absorption of diluted glyphosate (1:29) to simulate a spray solution
   (Wester, et al., 1991). Dermal penetration was found to be 0.8 and 2.2% at low and
   high dose (500 or 5,400 mg/cm2, respectively). Wester, et al. (1991) also reported that
   the in vitro percutaneous absorption of glyphosate through human skin was no more
   than 2% when applied for up to 16 hours either as concentrated Roundup or as a
    diluted spray solution.”

2. Niemann, Lars, et al., "A critical review of glyphosate findings in human urine samples
   and comparison with the exposure of operators and consumers,” 2015, Journal fur
   Verbraucherschutz und Lebensmittelsicherheit, Vol 10, Issue 1, pp 3-12.

    The basic assumption in Niemann, et al., is that dermally absorbed glyphosate is
    eliminated nearly entirely through urine and that "measuring of urine levels could be a
    powerful tool for human biomonitoring.” The study fails to reference or acknowledge
    the Wester and Maibach studies and does not consider dermally absorbed glyphosate

’60 Williams, pg. 123-124.
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   at low, steady state rates of absorption being metabolized and excreted primarily
   through the feces.

   Niemann, et al., states, “For active substances in plant protection products (PPP) with
   well-defined urinary elimination, no potential for accumulation and virtually no
   metabolism, measuring of urine levels could be a powerful tool for human
   biomonitoring. Such data may provide reliable estimates of actual internal human
   exposure that can be compared to appropriate reference values such as the
   'acceptable daily intake (ADI)' or the 'acceptable operator exposure level (AOEL)'.”

   Based on the Wester (1991) study, the evidence of "well defined urinary elimination"
   has been compromised. Such an assumption is misleading and potentially dangerous
   with respect to the human health risk assessment and comparisons to current ADI or
   the AOEL regulatory levels. Studies cited by Niemann, et al., include non-dermal dose
   assessments such as male SD rates receiving oral dosing (Brewster et al 1991)161,
   oral dosing in feed (Chan & Mahler 1992)162 and IV and oral doses in rats (Anadon, et
   al., 2009). 163 None of the cited studies involve dermal dosing and do not establish
   "well defined urinary elimination" which is simply assumed. Furthermore, the Brewster
   study found that urine and feces were equally important routes of elimination and after
   7 days the total body burden (~1%) of the dose administered was mostly in bone.
   Since dermal glyphosate exposure is the primary route of exposure contributing to
   systemic exposure in agricultural users, the assumption that distribution, metabolism,
   and excretion are identical by IV and dermal routes of exposure leads to egregious
   errors in systemic dose calculations.

3. Acquavella, J. et al., “Glyphosate biomonitoring for farmers and their families: results
   from the Farm Family Exposure Study,”2004, Env. Health Perspect 112, pp. 321-
    326.




161 Brewster, D.W., Warren, J., and Hopkins, W.E., "Metabolism of glyphosate in Sprague-Dawley rats:

    Tissue distribution, identification, and quantitation of glyphosate-derived materials following a single
    oral dose,” July 1991, Fundamental and Applied Toxicology, Volume 17, Issue 1, pg. 43-51.
162 Chan, P. and Mahler, J., ''Glyphosate (CAS No. 1071-83-6) administered in dosed feed to F344/N rats

    and B6C3F1 mice,” 1992, U.S. Department of Health and Human Services. NTP Technical Reports
    Series No. 16. NIH Publication 92-3135.
163 Anadon, A. et al., "Toxicokinetics of glyphosate and its metabolite aminomethyl phosphonic acid in

    rats," 2009, Toxicol Lett 190(1), pg. 91-95.
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     In an internal Monsanto document entitled, “Glyphosate Stewardship, Epidemiology
     and the Farm Family Exposure Study,” the Monsanto scientists report the impetus for
     this study:

          "We have been working to maintain glyphosate's favorable reputation through a strategy
          that anticipates challenges and puts appropriate initiatives in place. One of those initiatives
                                                                                           » 164
          is a unique research program called the Farm Family Exposure Study (FFES).


The report further states


          "The FFES was developed to fill two data gaps. First, there is a (PPE) information about
          applicator pesticide exposure under "real world" conditions. Second, there is little empirical
          exposure information for farm children although children's health is a driving force in
                                                                          ■' 165
          environmental regulation and a focus of epidemiologic research.


         This biomonitoring study evaluated urinary glyphosate concentrations for forty-eight
         farm families (farmers, spouses and their children) the day before, the day of and three
         days after a glyphosate application. The authors used the urinary concentrations to
         estimate systemic doses which they then compared to the U.S. EPA reference dose
         of 2 mg/kg/day.

         The main assumption cited in their analytic method is "Pharmacokinetic research
         indicates that absorbed glyphosate is excreted unchanged, predominantly in urine
         (Williams 2000). ”166 Unfortunately, glyphosate is not excreted predominately through
         the urine in primates, especially at low doses, as demonstrated by the Wester, 1991,
         study.

         The authors used the 95% urinary recovery that Wester reported using IV dosing to
         correct their data for complete pharmacokinetic recovery. This correction factor is
         not applicable to this data since the farmers and their family members were
         presumably exposed dermally and not through IV dosing.




     Glyphosate Stewardship, Epidemiology, and the Farm Family Exposure Study," MONGLY00905651
164 •'

165 Id, MONGLY00905652
166 Acquavella, J., et al., "Glyphosate biomonitoring for farmers and their families: results from the Farm
    Family Exposure Study," 2004, Environ Health Perspect, 112, pg. 321-326.
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      Monsanto also points out the limited degree of accuracy of their urinary glyphosate
      measurements in the Acquavella, et al, 2004, biomonitoring study:

       "Monsanto's analytic chemistry expertise was essential to the FFES. However, our current
       method is outdated. It requires relatively large volumes of urine (100 ml, versus 5 ml for
       the 2,4-D and chlorpyrifos methods) and produces less precise results than methods for
       other FFES chemicals. Given the likelihood that human health allegations will continue
       to surface for glyphosate, it seems advisable to invest in modernizing the analytic method
       to increase analytic flexibility and precision. ”167

4. Solomon, K., “Glyphosate in the general population and in applicators: a critical review
   of studies on exposure,” 2016, Critical Reviews in Toxicology, 46(1), pp. 21-27.

      In the Solomon, 2016, review, it is again assumed that “the systemic dose of
      glyphosate can be estimated from the total amount of glyphosate excreted in the urine
      over the four or five days following and including the day of application.” A “correction
      for incomplete excretion” of 95% is made "based on observations in TK168 studies in
      monkeys which showed that 95% of total systemic dose was excreted via urine
      (Wester, et al., 1991), divided by 0.95. ”169 Solomon does not consider dermally
      absorbed glyphosate at low, steady state rates of absorption being metabolized and
      excreted primarily through the feces.

5. Monsanto’s Spanish “OPEX" biomonitoring study entitled, “MON 78294: An Applicator
   Exposure Study Conducted in Spain,” Autumn 2005.

      This study was conducted in order to estimate a systemic dose for occupational users
      of glyphosate and determine whether certain uses of the product resulted in
      unacceptable levels of dermal penetration. Monsanto submitted the results of the
      studies to the Spanish regulatory authorities as part of the process to register the
      herbicide product for use. A report was prepared for submission to the U.S. EPA, but
      it is unclear if it was ever submitted.




167   "Glyphosate Stewardship, Epidemiology, and the Farm Family Exposure Study", MONGLY00905655
168 TK is an abbreviation for toxicokinetic and is used here as a synonym for pharmacokinetic

169 Solomon, K., "Glyphosate in the general population and in applicators: a critical review of studies on
      exposures," 2016, Critical Reviews in Toxicology, 46(1), pg. 21-27,
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   In their determination of the systemic dose, they extrapolated the Wester, et al., 1991,
   study results to their biomonitoring data. As in the other examples discussed above,
   doing so invalidated their values of the estimated systemic dose.

Regulatory Guidance on Dermal Absorption and Recovery

Either knowingly or unknowingly, Monsanto regularly misstates or understates glyphosate
dermal absorption recovery and factors in its communications. It is not the purpose of this
toxicological risk assessment to draw conclusions about the intent of such misstatements.
However, it is helpful to understand the position of regulatory agencies on these points
and to briefly review some key guidelines pertinent to this issue.


  OECD: 18-Aug-2011 GUIDANCE NOTES ON DERMAL ABSORPTION Series on
  Testing and Assessment No. 156

  The current default approach taken by nearly all regulatory agencies is to determine the
  dermal absorption value by adding the absorbed dose and the chemical remaining in the
  skin, following washing. This is appropriate for both in vivo and in vitro studies unless
  compelling evidence demonstrates that some portion of the residue in the skin is unlikely to
  be absorbed. OECD TG 427 and 428 (OECD 2004a and 2004b) require a mean mass
  balance recovery of the test substance of between 90-110%. The OECD GD28 (OECD
  2004c) contains the same recommendation with a caveat that for volatile test substances
  and unlabeled test substances, a range of 80-120% is acceptable. However, with the in
  vivo study design, recoveries outside this range may be acceptable but must be justified.

  The criteria to justify mean mass balance recovery values outside the acceptance range
  can be summarized by the following examples:

   1. Recovery values exceed the recommended range: If the recoveries exceed the
      accepted maximum range, the data generated should not be normalized because that
      would result in potentially underestimated absorption values. If these absorption values
      are not acceptable when a risk assessment is conducted, then the study should be
      repeated to address any bias resulting from excessive recoveries.

  2. Recovery values below the recommended range: Low recoveries raise the concern
     that the value for absorbed dose could be lower than that which would be achieved from
     a study where the recoveries were within the guideline range. The reason for low
     recovery may be attributable to the following factors: (a) incomplete application of dose,
     (b) loss to the experimental equipment, (c) incomplete extraction from matrices (or
     incomplete collection of exhaled CO2), (d) evaporation, (e) unlabeled test preparations,
     metabolism or degradation or (f) insufficiently high analytical LODs/LOQs, in particular
     where non-labelling analytical methods are applied.
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Errors and Omissions in Monsanto Communications

During the glyphosate registration process in Spain, the Spanish Ministry of Health
advised Monsanto of errors in their "OPEX" study. Faced with denial of Spanish product
registration, Monsanto employees attempted to redirect attention away from deficiencies
with respect to pharmacokinetics of glyphosate. The following excerpts summarize some
of the Monsanto communications.

A. Communication of                          (11-4-2008): Subject: Pk (Pharmacokinetics)
   recovery Wester, et al.

   "The IV data gives in vivo disposition of a systemic available dose. This dose could be the
   result of aggregate systemic exposure (meaning a systemic dose after combined oral, dermal,
   inhalation exposure). The total accountability of this experiment is high >96% - -100% and
   we know exactly the amount that was systemically available. The recovery factor for urine is
   therefore relevant and reliable. ” 170

     Unfortunately, the dose was not an "aggregate systemic exposure" as stated, but the
     result of an IV “push" injection. This is clearly stated in the study. One cannot
     conclude that the recovery factor from IV dosing is “relevant and reliable” to dermal
     dosing. It is critical to note that IV administration presents a tremendously high
     acute dose to the liver. Saturation of the liver as an elimination pathway to the feces
     would result in spill over to the urinary excretion elimination pathway. Giving the
     same (IV) dose quantity over a slow drip period of 24 hours would not expose the
     liver to potential saturation. The email conversation further states:

  The in vivo dermal absorption experiment yielded variable results (table 4) and much lower
  total accountability 77-82% which is normal for this kind of experiment. The authors take the
  outcome of the IV-experiment to justify the use of the urinary excretion results from the topical
  experiment only as an estimate for dermal uptake: ‘Since all of the IV administered doses were
  excreted in urine, the percutaneous absorption of glyphosate is estimated to be 0.8-2.2% of
  the applied dose’ (p728-729). They did not take the feces into account based on the iv-study."
   171



Either knowingly or unknowingly, Monsanto employee                       failed to take
hepatic excretion through the feces into account and appears to have relied solely on
the IV study to make a point favorable to his company’s product. This omission


170 MONGLY02155831
171 Id.
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produced acutely high blood levels not comparable to those achieved through slow,
steady-state dermal absorption. Additionally, the erroneous urinary recovery
assumption that Monsanto used to correct the systemic dose is in grave error by a
factor of 4.5x and, therefore, is in no way a good "estimate.”

B. Communication of                        (11-4-2008, response to                 : Subject:     Pk
   recovery, Wester, et al.

   "Many thanks for your help which I will try to defend as Monsanto position, but the authorities
   will decide next week. That: means they are now doing the homework- if our proposed safety
   evaluation for CAYENNE formulation is compatible with the Acceptable Operating Exposure
   Level (AOEL) for glyphosate. I imagine we do not have other studies on the urine/feces
   excretion after topical applications of glyphosate to support our position. As it is critical that
   we have our product accepted in this coming meeting, I would like to complete my
   defense with a paragraph like this one:

   “Although we believe that the intravenous dose is accepted by toxicology peer reviewers as
   the best indicator to simulate the systemic presence of glyphosate, in case the Spanish
   authorities consider that the excretion through the urine should be taken from the variable
   data reported in the topical administration (urine/urine + feces = 75.86% or 18.18%), the
   average excretion in the urine of 47.02% would mean that our final exposure values should
   be multiplied by 2.13, resulting in exposure levels which are well below the AOEL. of 0.2
   mg/kg/day. ” 172

   The communication above of                  states that Monsanto believes the IV
   model is the best indicator as to how systemically administered glyphosate is
   metabolized and excreted. Specifically, the memo states that the IV dose "...is the
   best indicator to simulate the systemic presence of glyphosate.” This statement is
   inaccurate since it is the dermal systemic dose that is of primary interest to both
   toxicologists and    regulatory authorities. There are no reports of applicators
   intravenously injecting themselves with glyphosate. In the absence of actual primate
   dermal absorption data, the IV model should have been compared to animal models
   with urinary and fecal measurements conducted.

   However, it is not acceptable in toxicology to replace real in vivo data with a "model”
   unless the actual dermal dosing data was faulty. There is no evidence to support this.




172 MONGLY02155830
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    Based on the               communication, it appears that Monsanto fabricated a
    “variable data" problem by incorrectly interpreting the results for the purpose of
    securing regulatory approval of their product. The issue of high variability is being
    abused in order to dismiss the primate dermal absorption test results. Monsanto
    appears to have dismissed the primate data by failing to disclose why the "variable
    data” was excessive.

    The variability of the data (i.e., the percentage of urinary versus fecal elimination)
    varied due to absorption saturation at the high dose as described previously and,
    therefore, only the low dose is relevant since it is closer to real-world exposure
    scenarios. Consequently, the exposure values should be multiplied by 5.5, not
    2.13.

C. Communication of                              (11-5-2008, response to All):     Subject:    Pk
     recovery, Wester, etal.


      “Even though we can absorb additional 'uncertainty factors' in our risk assessment based on
      our biomonitoring results, I feel uncomfortable with this discussion. This approach by Spain
      sets a precedent and contradicts the fact that we always claimed to fully understand
      the glyphosate pharmacokinetics. The Wester IV experiment suggests that almost the
      entire ’systemically' available dose was excreted in urine. The low dose topical in vivo
      experiment suggests that almost the entire dose (82%) that was absorbed through the skin
      was excreted in feces (3.6% feces versus 0.8% in urine). We should have a robust and well-
      documented explanation for this and stick to our original risk assessment or develop
      additional data to fully understand this matter and adjust our systemic dose calculations
      accordingly. » 173


      Clearly, there is internal concern that deficiencies in Monsanto-published values and
      methods may be subject to criticism and further, that Monsanto itself is not fully
      conversant with the facts and/or that their risk assessment methodology may be
      insufficient to meet regulatory approval requirements.

D. Communication of David Saltmiras (11-4-2008, response to                     a): Subject:   Pk
     recovery, Wester, et al.




173 Id.
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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E.

      "Joel, Donna & I have discussed your approach and you are correct. How much below the
      AOEL are your calculations? Christophe - by our rough calculations Jaime's approach is
      approximately 50x below the AOEL of 0.2 mg/kg/day, Even if we applied the 90,h percentile
      for the passive dosimetry numbers we would be below the AOEL. » 174


The preceding two internal Monsanto memos serve as an admission that the
pharmacokinetics assumed to be correct using the IV methodology are contradicted
by the primate dermal absorption studies,                        states, “This approach
by Spain sets a precedent and contradicts the fact that we always claimed to fully
understand the glyphosate pharmacokinetics.1' Thus, Monsanto’s claim of fully
understanding the pharmacokinetics of glyphosate has been contradicted. He cites the
discrepancy in the Wester study and the need to further investigate in order to fully
understand the pharmacokinetics and thereby "adjust” their systemic dose calculations.

F. Response communication of                             (11-10-2008, response to All): Subject:
   Pk recovery, Wester, et al.

      “To fully address this issue would likely require a repeat of the monkey dermal and
      intravenous studies. We no longer own the custom-designed monkey chairs that prevented
      exfoliated abdominal skin from contaminating the excreta. Additionally, it is not clear whether
      similar chairs are used anymore by any researcher or if they would even be allowed. Thus,
      conducting a new series of monkey studies may not be easy nor inexpensive. Furthermore,
      it is not clear to me that such a study is necessary and would be totally without risk. Should
      we arrange a conference call to discuss this? ”175




174 MONGLY02155829
175 MONGLY02155826
                     REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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G. Communication of                       (11-10-2008, response to team):        Subject:   Pk
   recovery, Wester, et al.

    "To me, all this discussion continues to show that we still need solid data for ADME
       (Absorption, Distribution, Metabolism and Excretion) arising from dermal exposure.

    1. Our dermal absorption endpoint is based on the literature and, as I recall, we failed to
       get the original data to support the results.

    2. The movement of glyphosate in the blood flow from dermal contact is different to that
       through oral or intravenous exposure. The little data we have suggests that the
       excretion is significantly more through the feces than the urine.

    3. Dermal exposure is the greatest risk of exposure for operators. Therefore, we need to
       be secure on the ADME of such exposure.

    4. The WHO and EU reviews focus on the IV and oral but not the dermal. My position
       is, therefore, unchanged. We need to address this properly in the Annex II dossier
       and, therefore, should be considering a study.176

                     of Monsanto assessed the data and admits that "the movement of
    glyphosate in the blood flow from dermal contact is different to that through oral or
    intravenous exposure.”




176 MONGLY02155827
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Communication of                     (11-12-2008, response to                           i):

Subject: Pk recovery, Wester, et al.

    "Monsanto is a company with recurring discussions (which is good!)... You will remember
    that we discussed this in length with a lot of people before we initiated the Spanish OPEX
    study... (please see attached). The outcome was that (1) other animal data confirmed the
    Wester findings; (2) such a study would be too risky (potential for finding another
    mammalian metabolite); and (3) we would wait for the evaluation of Spain.
    Looking forward to this discussion on the 24lh of November. I also recall that David has asked
    2 external pharmacologists for an opinion on the Wester study. Would that opinion be
    available by that time?"177


The statement reads "such a study would be too risky (potential for finding another
mammalian metabolite.)" The charge and responsibility of the toxicologist is to determine
the ADME (absorption, distribution, metabolism and excretion) as ADME are critical
components in the risk assessment process. The goal of the toxicologist is to find "another
mammalian metabolite,” not to avoid discovery of it.

It is always of great importance to identify all metabolites since certain chemicals have
been known to produce toxic metabolites under high dose levels (such as Tylenol) or
carcinogenic metabolites (such as benzene). Inasmuch as the author of the Monsanto
memo stated that the potential finding of another mammalian metabolite would be "too
risky,” one must presume a lack of objectivity. Failing to perform a needed study due to
the risk of finding an adverse result that could negatively impact marketing goals
represents an unacceptable practice in the field of toxicology.

Factors Intensifying Dermal Absorption of Glyphosate

Beyond the underestimation of dermal absorption by Monsanto, there are additives within
Roundup® formulations that further increase dermal absorption of glyphosate. There are
numerous factors governing the rate and degree of glyphosate dermal absorption, both
intrinsically and potentially. These include (a) "co-formulants" (ingredients other than the
active ingredient such as detergents or anti-foam agents), (b) surfactants (compounds
which lower surface tension), (c) humectants (to inhibit moisture loss), (d) adjuvants
(chemicals which modify the effect of other agents), (e) absorption enhancement due to
skin damage, lesions, cracks and other irregularities, (f) lack of personal protective gear


177 MONGLY02155826
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and (g) other factors such as penetration enhancers and skin creams. This section
reviews and assesses these factors as toxicological considerations.

Generally speaking, with the exception of substances of a proprietary nature or which
have not been disclosed by Monsanto, most of the considerations mentioned above
tend to intensify absorption rather than reduce it. The following sections review each
factor individually given the limited information available at this time.

Co-Formulants

The exact identities and amounts of the co-formulants in GBF herbicides are usually
unknown as they are kept as confidential trade secrets. In many countries (including the
U.S.), manufacturers are only required to identify the declared active ingredient (DCI),
i.e. glyphosate. The co-formulants (i.e. all ingredients other than the DCI) have rarely
                                                                     ”178
been identified and have often been declared as "inert ingredients.

Herbicide manufacturers frequently take advantage of regulatory agency definitions of
“inert ingredients.” Despite their name, inert ingredients may be biologically or
chemically active and are labeled inert only because of their function in the formulated
product. For example, an herbicide ingredient can be considered "inert" if it has no direct
effect on the intended target, i.e. the weed. In herbicides, the ingredients added to
enhance absorption, increase ionization, prevent foaming or reduce drifting are
characterized by the manufacturer as “inert ingredients" since they do not directly kill
the weeds. However, they are not necessarily without toxicity to animals or humans.

Independent studies of complete herbicide formulations are not generally possible as
specific herbicide formulations are protected. Manufacturers of co-formulants have
been historically unwilling to provide them to scientists who wish to assess toxicity.
Consequently, most co-formulants have evaded scientific scrutiny and regulation.

In a confidential draft report dated July, 2001, entitled, “Clustering glyphosate
formulations with regard to the testing for dermal uptake," Monsanto scientist Christophe
Gustin promoted the need for formula-specific studies. Mr.          stated:

      "Glyphosate has a whole series of different formulations. The differences between those
     formulations are based on:


178 Defarge, N. et al., "Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human
    cells below toxic levels," 2016, Int J Environ Res Public Health, Vol. 26:13(3), pii: E264.
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    - The different salt types used to formulate the active ingredient
    - The use of different surfactants
    - The active ingredient/surfactant ratio
    - The concentrations of active ingredient and surfactants
    - The presence or absence of other inert ingredients such as anti-foam agents.


He also added:

     Until today Monsanto has conducted formulation specific dermal uptake research only
     on the formulation Roundup (MON2139). It is clear that because of the compositional
     differences, the dermal uptake data for Roundup can’t be extrapolated as such towards
     the wide range of formulations. Every ingredient in a formulation can have a specific
     influence of dermal uptake. Scientific experimental evidence is necessary."


Detergents in herbicides act as mediators which change the absorption by increasing
                                                              180,181 Brand and Mueller (2002)
bioavailability179 or by affecting the skin barrier function,
showed dermal penetration of commercially formulated compounds was significantly
                                                                                                182
greater (p < 0.05) than that of pure compounds at the same concentration.

Surfactants

Like co-formulants, the exact identities and amounts of surfactants in GBF herbicides are
usually unknown as they are kept as confidential trade secrets. The most predominately
                                                                                                      183,184
used surfactants in GBFs are polyoxyethylene alkylamine (POEA) surfactants.

POEA is an acronym, not a specific chemical, which encompasses a wide range of alkyl­
amine ethoxylate compounds. Within the group of POEA surfactants, the chemistry is
complex and varied.              Ethoxylated tallowamine has been the traditional surfactant


179Sartorelli, etal, 1997.
,80Treffel, P. & Gabrad, B., “Skin penetration and sun protection factor of ultraviolet filters from two
    vehicle," 1996, Pharmaceut Res, Vol. 13, pg. 770-774.
181Tupker, R. et al., “Susceptibility to irritants: role of barrier function, skin dryness and history of atopic
    dermatitis," 1990, BJD. Volume 123, Issue 2, pg. 199-205.
102 Brand, R.M. & Mueller, C., “Transdermal penetration of atrazine, alachlor, and trifluralin: effect of
    formulation," 2002, Toxicol Sci., Vol. 68(1), pg. 18-23.
183Williams, G., et al., "Safety evaluation and risk assessment of the herbicide Roundup and its active
    ingredient, glyphosate, for humans," 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117 -
    165.
184 Diamond, G., Durkin, P., “Effects of surfactants on the toxicity of glyphosate with specific reference to

    RODEO," 1997, Syracuse Research Corporation, SERA TR 97-206-1 b.
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component and the most well-known 'inert’ ingredient contained in the original
Roundup® formulation and many others. It is a POEA non-ionic surfactant consisting of
beef tallow fatty acid-derived alkyl chains converted to primary amines and ethoxylated
with between 10 to 20 ethylene oxide (EO) units.185 It is often mixed with polyethylene
glycol, or other surfactants, plus other materials to facilitate manufacturing and
formulation stability.186 Roundup’s surfactants include 1,4-dioxane (a probable human
carcinogen) as an impurity at about 0.03%. 187

POEA significantly increases penetration in plant cells as well as in animal cells. Richard,
et al., found that the addition of surfactants “greatly facilitated” the penetration of
                                                188
glyphosate through animal cell membranes.

It is helpful to understand that, due to corporate secrecy and proprietary concealment,
POEA was first recognized as a common ingredient in herbicides in the 1980's when
physicians in Japan reported that morbidity and deaths of patients who drank Roundup®
were due to POEA, not glyphosate. 189 POEA is an eve irritant, toxic to aquatic
organisms, penetrates cell membranes and disrupts their structure and function.
Diamond and Durkin made the following observations regarding surfactants in
glyphosate based formulations:

1. Multiple Formulations: The formulations are chemical mixtures and must be
   considered as mixtures in toxicity assessments. In this context, an assessment of
   the specific surfactants in any of the formulations or generalizations about the
   toxicology of surfactants as a group may not apply to the formulations. This
   consideration places extreme importance on data regarding the toxicity of the




185 From an internal Monsanto report, Surfactant Issue Analysis, Issue: Increasing public attention to the
    POEA (Polyoxyethlene alkylamine) surfactant component of glyphosate formulations in connection
    with claims of adverse impact to aquatic life (recently, amphibians) and human health (in vitro (cell
   culture) toxicity tests). MONGLY01700591
186 Id.
187 Monsanto, 1990 in Diamond, G., Durkin, P., "Effects of surfactants on the toxicity of glyphosate with
    specific reference to RODEO," 1997, Syracuse Research Corporation, SERA TR 97-206-1 b.
188 Richard, S., et al., "Differential effects of glyphosate and Roundup on human placental cells and
    aromatase," 2005, Environmental Health Perspectives.
189 Sawada, Y., Nagai, Y., Ueyama, M., and Yamamoto, I., "Probable toxicity of surface active agent in
    commercial herbicide containing glyphosate," 1988, Lancet 1 (8580), pg. 29.
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      formulations themselves. The lack of such data will render any predictions about
                                                                       190
      the effects of the formulations on glyphosate highly uncertain.

2. Unknown Interactions: Surfactants can be expected to interact with and perturb
   the structure, physical properties and function of membranes.191

3. Objective Evidence is Lacking: For specific mechanisms of interactions between
   glyphosate and surfactants. 192

4. Multiplicity of Potential Reactions: The structural characteristics of extreme
   hydrophilicity and hydrophobicity of surfactants may result in very different
   interactions with hydrophobic and hydrophilic herbicides. Thus, the relatively water-
   soluble isopropylamine salt of glyphosate may interact differently with surfactants
                                                                                     193
   than the less water-soluble parent compound or other more insoluble herbicides.

Indirect Disclosures of Surfactant and Co-Formulant Toxicity

In 2013, Mesnage, et al., published their study of nine herbicides containing glyphosate
including five different formulations of Roundup. After studying the chemicals’ patterns
using mass spectrometry, Mesnage and his colleagues determined the identity of co-
formulants in Roundup® and performed toxicity analyses. They were able to deduce
the chemical structure of additives in six of the nine formulations and also show that
each of these supposedly inert ingredients was more toxic than glyphosate
alone.194

Subsequently, other studies have examined the toxicity of these co-formulants and
measured significant enhancement of toxicity. While there occasionally may be
performance differences between glyphosate products, these differences are more
likely to be caused by the differences in surfactants formulated with the product.

Defarge, et al., 2016, study showed that each of the five co-formulants affected the
function of both the mitochondria in human placental cells and aromatase, an enzyme


190 Diamond, G., Durkin, P., "Effects of surfactants on the toxicity of glyphosate with specific reference to

      RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1 b.
191   Id.
192 Id.
193|d.
194 Mesnage, R., Bernay, B., and Seralini, G.E., "Ethoxylated adjuvants of glyphosate-based herbicides

      are active principles of human cell toxicity," 2013, Toxicology 313(2-3), pg. 122-8.
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that affects sexual development. Not only did these chemicals, which are not named
on herbicide labels, affect biological functions, they did so at levels far below the
concentrations used in commercially available products. In fact, POEA, an “inert'1
ingredient, was between 1,200 and 2,000 times more toxic to cells than qlyphosate. the
“active” ingredient. They also reported that six glyphosate formulations similarly
decreased aromatase activity in human placental cells at concentrations much lower
than glyphosate alone 195

Examples of Surfactant and Co-Formulant Toxicity

There is a general agreement and consensus that co-formulants can be more toxic for
animals than glyphosate itself.196 For example, cytotoxicity of the commercial
formulation Roundup® to human peripheral mononuclear cells was 30-fold higher (LCso
= 56 mg/L) than for the active ingredient (LCso=1640 mg/L). Several in vitro and in vivo
studies with parallel testing of glyphosate active ingredient and Roundup® showed that
                                                            197
only the commercial formulation was genotoxic.
                                                                           198 Other
Registration data in New Zealand revealed Roundup® contained POEA.
formulations may contain much higher levels, even as high as 60 - 80%, as in the
formulation Genamin.199 In studies using hepatic (HepG2), embryonic (HEK293) and
placental (JEG3) cell lines to compare ten formulations of glyphosate, the most toxic
formulations were those that contained POEA. This surfactant induced necrosis and
disrupted the structure and function of cell membranes with negative dose-
dependent effects on cellular respiration and membrane integrity between 1 and 3
mg/L.200




195 Defarge, N. et al., "Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human
    cells below toxic levels,” 2016, Int. J. Environ. Res. Public Health 13, pg. 264.
1SG Defarge, N. et al., "Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human
    cells below toxic levels," 2016, Int. J. Environ. Res. Public Health 13, pg. 264.
197 Bolognesi, et al., “Biomonitoring of genotoxic risk in agricultural workers from five Colombian regions:
    Association to occupational exposure to glyphosate,” 2009, Journal of Toxicology and Environmental
    Health Part A, 72, pg. 986—997.
198 vvatts MA, "The poisoning of New Zealand,"1994, AIT Press, Auckland. From Pesticide Action
    Network (PAN). http://pan-international.org/wp-content/uploads/Glyphosate-monograph.pdf
169 Mesnage, R. et al., "Ethoxylated adjuvants of glyphosate-based herbicides are active principles of
   human cell toxicity," 2013.
200 Id.
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POEA potentiates the effect of glyphosate, facilitating its penetration of cell membranes
and bioaccumulation in cells. 201 The bio-concentration factor for glyphosate is also
                                                                  202
increased in the presence of POEA in the aquatic environment.

Regulatory Considerations Based on Surfactant and Co-Formulant Toxicity

In the absence of clear, unambiguous information pertaining to a commercial product’s
chemical composition, some countries take a hardline approach to regulation. For
example, due to toxicity concerns, Germany removed glyphosate products containing
POEA from their market in 2014203 and the European Union banned them in 2016.204
The New Zealand Environmental Protection Agency (NZ EPA) has current approvals
for 91 formulations of glyphosate of which 69 contain POEA. The New Zealand EPA
refuses to name them "because the composition of the formulations is commercial-in-
confidence information."205

This situation is typical of many countries. The decree that banned the use of glyphosate
formulations containing POEA in Italy named 55 formulations, including well-known
names such as Roundup®, Rodeo® and Touchdown® and brands from Cheminova,
Syngenta, Nufarm, Dow AgroSciences, and Arysta as well as Monsanto and some
Italian companies.208

The key point here is that experimental studies suggest that the toxicity of POEA is
greater than the toxicity of glyphosate alone and commercial formulations alone.
However, safety evaluations performed by Monsanto have largely been performed on
pure glyphosate or without identification of all ingredients. There is also evidence

201 Richard, S. et al., “Differential effects of glyphosate and Roundup on human placental cells and
    aromatase,1' 2005, Environ Health Perspect 113(6), pg. 716-20.
202 Annett R, Habibi HR, Hontela A., “Impact of glyphosate and glyphosate-based herbicides on the
    freshwater environment,1' 2014, J Appl Toxicol 34(5), pg. 458-479.
203 Farrer P, & Falck M., "Toxic glyphosate herbicides fly under the EU's regulatory radar,” 2014,

   Pesticides News 96, pg. 1-4.
204 EC. 2016. Glyphosate. European Commission - Fact Sheet FAQs: Glyphosate. Brussels. June 29th.

    http://europa.eu/rapid/pressrelease_MEMO-16-2012_en.htm
205 NZ Parliament. 2016. Written questions 10151, 10153, 10154. Steffan Browning to the Minister for the
    Environment. New Zealand Parliament Paremata Aotearoa, Wellington.
    https://www.parliament.nz/en/pb/order-paper-questions/written-
    questions/?criteria.Keyword=glyphosate&criteria.
    Timeframe=&criteria.DateFrom=&criteria.DateTo=&criteria. ParliamentNumber=-
    1&criteria.ParliamentNumber=-1&criteria. MemberOfParliament=&criteria.Portfolio=Environment
206 Pesticide Action Network (PAN). http://pan-international.org/wp-content/uploads/Glyphosate-

   monograph.pdf
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that glyphosate preparations containing POEA are more toxic than those containing
alternative surfactants. Since surfactants contribute to the toxicity of glyphosate
formulations, adverse health consequences are not necessarily caused by glyphosate
alone, but as a consequence of complex and variable mixtures. Even Monsanto has
recognized this in correspondence (as cited in this assessment).

Monsanto TNO Dermal Penetration Study with Co-Formulant Cocoamine

Monsanto’s previously reported dermal absorption studies did not include surfactant co-
formulants. Monsanto did find evidence of the effects of one surfactant, cocoamine, on
dermal absorption in their TNO dermal penetration studies. These studies were not
submitted to the U.S. EPA or to any European regulatory agency.

TNO Study: Johan van Burgsteden, "In vitro percutaneous absorption study with [14C]-
glyphosate using viable rat skin membranes," June 14, 2002, Unaudited draft report
V4478 (Tab 24).

Glyphosate in formulations MON 35012 and MON 0139 (70%) was examined for in vitro
percutaneous absorption through viable rat skin membranes. Both contain the IPA salt of
glyphosate, but MON 35012 also contains the surfactant cocoamine. Both the
concentrated formulation and the field dilution were tested as shown in Table 12. After
eight hours of exposure, the test substance was removed from the application site and
samples of the receptor fluid were collected for an additional 40 hours.

                                         Table 12
           Formulations and Doses Tested in TNO Dermal Absorption Studies

                                                                Dose (mg gly/cm2)

     Formulation      Ingredients                           Concentrate   Field dilution

      MON 35012       Glyphosate Isopropylamine salt (46%
                      w/w)                                     6.249         0.080
                      Surfactant Cocoamine (18% w/w)
                      Water & minor ingredients (35.5%
                      w/w)

     MON 0139 70%     Isopropylamine salt (62% w/w)            6.343         0.080
                      Inert ingredients (38% w/w)
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The investigators in this study used doses outside the range recommendations of the
U.S. EPA1998 Health Effects Test Guidelines for dermal penetration as follows:

   The maximum practical dose is on the order of 1 mg/cm2—larger doses tend to fall off the
   skin or exceed saturation of the absorption process. When only three doses are given, the
   highest dose should be on the order of 0.1 mg/cm2.207

There are two doses in this study, the higher dose being 6.2 times larger than the
recommended maximum dose. Furthermore, the U.S. EPA Guidelines state that:

   The maximum dose volume should not exceed 10 pL/cm2. Larger volumes of liquid have
   been found to flow on the skin and produce uneven distribution on the dosed area. 208

In this study, 10 pL of the test samples was applied on a 0.64 cm2 skin surface area. This
is the equivalent of 15.6 pL/cm2, which is more than one and one half times greater than
the recommended maximum (liquid) dose. The excess in both the concentration and the
volume of the concentrated doses will contribute to absorption saturation as described by
the U.S. EPA:

   The amount of chemical coverage on the skin surface can influence the amount of dermal
   absorption. Chemical coverage of the skin surface may be incomplete where only part of
   the surface is covered or it may be complete where the entire skin surface is covered. In
   both cases, only the amount of chemical in contact with the skin surface is available for
   absorption such that the capacity of the skin to absorb the chemical may be exceeded. 209

The results of the eight hour exposures are shown in Table 13.




207 U.S. EPA OPPTS 870.7600, "Health Effects Test Guidelines Dermal Penetration,” August 1998, pg. 4.
200 Id.
209 U.S. EPA OPPTS 870.7600, “Health Effects Test Guidelines Dermal Penetration," August 1998, pg. 3.
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                                             Table 13
                   Percent Absorption of Glyphosate (percent of dose)

                                MON 35012                         MON 0319 (70%)
                          (containing surfactant)                  (no surfactant)

                     Penetration within                  Penetration within
                          48 hrs          Mass balance        48 hrs          Mass balance

      Dose                       % of dose                            % of dose

                        2.6+ 1.4%                           1.4 ±2.2%
      Low dose         (2.10 pg/cm2)          73.4 %       (1.13 Hg/cm2)          82 .6 %

                       10.3 + 4.2%                          1.3 ±1.9 %
      High dose       (646.3 |jg/cm2)        132.4 %       (80.8 pg/cm2)          128 .2%




The following key points emerged from the exposure/absorption tests:

•    The maximum penetration of 10.3 % occurred with the higher dose of MON 35012
     concentrate which contained the surfactant Cocoamine.
•    Even at the lower glyphosate dose of 0.080 mg/cm2 of MON 35012, the penetration
     was 2.6 % of the dose which is greater than Monsanto had previously reported.

•    The mass balance was found to range from 73 % to 132 %. This variability is very
     high as guidelines cite an adequate mean recovery is in the range of 100 ± 10%.
     (OECD, 2004). This suggests variability in the amount of absorption among the rat
     skin membrane samples at each dosing.
•    In fact, while the mean penetration of the higher dose in MON 35012 was 646.3
     pg/cm2, one membrane absorbed approximately 1,100 gg/cm2, or about 18 % of the
     applied dose. The mean penetration of the lower dose of MON 35012 was 2.10
     pg/cm2 while the maximum penetration was about 3.5 pg/cm2 or approximately 4.4 %
     of the applied dose.
•    At the lower dose, using the worst case scenario, the missing 27% of the dose should
     be included in the amount absorbed and, therefore, the amount of absorbed
     glyphosate would be 30% of the applied dose.
The measured 10.3 % dermal absorption of glyphosate through rat skin in the presence
of a surfactant was not received well by Monsanto.
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In a message from                            (3-29-02) to                         et al: Subject:
“TNO dermal penetration studies: new issues and topics for the conference call of
Tuesday, 2 April (8 A.M STL time),1’ the following was noted:


"As of today we received preliminary surprising results on in vitro dermal penetration of
propachlor and glyphosate through rat skin, it is imperative that we work closely together and
communicate well on the conduct, the practical difficulties and the results associated with these
studies.
Glyphosate:
- The EU rapporteur for glyphosate used a dermal penetration factor of 3% based on several
published in vitro/in vivo dermal penetration studies
- We launched human and rat in vitro dermal penetration studies with MON 35012 with and
without surfactant
- Preliminary results with rat skin are not acceptable (see fax); due to very bad
reproducibility (sic) that TNO cannot explain, they proposed to repeat the study in parallel with
the human skin study. However, we can already conclude that:
a. For the concentrate MON 35012, the % in vitro dermal penetration of glyphosate through rat
   skin is between 5 and 10%
b. For the spray dilution of MON 35012, the % in vitro dermal penetration of glyphosate through
   rat skin will be around 2%
c. The dermal penetration of glyphosate itself in the absence of surfactant is lower than 1.5%.”




Rather than attempt to interpret this message, it is perhaps more instructive and revealing
to cite a follow-up communication from Mr. William Heydens (4-2-02, to Charles Healy):
Subject: "TNO dermal penetration studies: new issues and topics for the conf call of
Tuesday, 2 April (8 A.M STL time)."

“... My primary concern is with the glyphosate in terms of the potential for this work to blow
Roundup risk evaluations (getting a much higher dermal penetration than we've ever seen
before."


For undisclosed reasons, Monsanto did not share this study with the public or the
scientific community. Additionally, they also decided not to have it repeated. Some
incidental communications on this subject are available for consideration:
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   mi                 (4-4-02):

“Although we agreed to repeat the in vitro dermal penetration study with rat skins as proposed
by TNO, we came to the conclusion that the penetration of glyphosate would have been
[probably] greater than the 3% already imposed by the German authorities. We decided thus to
STOP the study (effective today morning).1’


With further explanation,                     I: (4-5-02):


    "...we initiated the studies from a regulatory angle to help meet the requirements for
   operator exposure, given that the Annex I endpoint for dermal absorption for glyphosate
   was set at 3%, ...the results of the rat skin studies show levels of absorption for
   glyphosate of a similar order to the Annex I endpoint, also confirm our expectation that
   surfactant concentration affects the dermal absorption... therefore, from the regulatory
   angle, there is no point in pursuing the studies further.”


Once again, the focus is strictly on the business aspects of introducing a commercial
product. This masterpiece of sophistry effectively proclaims that Monsanto fully
expected the results, and this was all part of the plan. Unfortunately, the potential
human health issues raised bv the product test results were also, once again, ignored

Humectants

In addition to surfactants, Roundup® formulations also contain humectants which
reduce the loss of moisture. As Monsanto notes,210

“Certain co-formulants like humectants that will make it highly likely we will get large amounts
penetrating the skin.”


Humectants include chemicals such as ethylene glycol (anti-freeze). Ethylene glycol is
included in most Roundup formulations. In addition to increasing dermal absorption,
ethylene glycol is a toxic chemical in and of itself.211 It is uncertain whether Monsanto
                                                                                      212
ever studied the effect of ethylene glycol on glyphosate dermal absorption.




210 Monsanto MONGLY06653096
211 MONGLY01832749 (Toxic to children at 70 cc of Roundup with 5% ethylene glycol.)

212 MONGLY01745304
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Adjuvants

Adjuvants may be added to glyphosate formulations prior to use to improve their efficacy
against weeds by enhancing penetration of glyphosate into the target plant. However,
many of these may also increase the toxicity of glyphosate to other species. For
example, organosilicone surfactants, described as the most potent of adjuvants and
commonly added to glyphosate formulations, are now linked to a decline in honeybees
in the U.S.213 The common adjuvant surfactant TN-20 used in glyphosate formulations
caused cell death and mitochondrial damage in rat cells which disrupts the integrity of
the cellular barrier to glyphosate and promotes its toxicity, 214 Martini, et al., (2016)
demonstrated that adjuvants other than POEA inhibited proliferation and differentiation
of mammalian 3T3-L1 fibroblasts to adipocytes.215

Enhanced Absorption Due to Skin Damage

Skin, by its nature, is often compromised due to cracking and fissures, by cuts, scrapes,
chemical damage, water-submersion, burns, sensitivity reactions, eczema and infections.
This is particularly true for outdoor workers. Breaks in the protective lipophilic barrier of
the stratum corneum significantly increase absorption of hydrophilic compounds. A
compromised protective lipid barrier will allow the hydrophilic glyphosate to pass through
into the hydrophilic dermis, thus avoiding slow diffusion through the lipid layer.
Percutaneous absorption studies have demonstrated that glyphosate deposition in
damaged skin is five times that of healthy skin and penetration through damaged skin is
increased 20-fold.216 The integrity of the skin also effects the distribution of chemicals
within the skin compartments which will have implications in the efficacy of hand-washing
after herbicide exposure.217

With respect to applicators, the acute quantity of glyphosate entering the skin is low.
However, with repeated doses, especially coupled with a failure to wash the skin before

213 Mullin CA, Fine JD, Reynolds RD, Frazier MT, 'Toxicological risks of agrochemical spray adjuvants:
    organosilicone surfactants may not be safe," 2016, Front Public Health, 4:92.
214 Kim YH, Hong JR, Gil HW, Song HY, Hong SY, “Mixtures of glyphosate and surfactant TN20
    accelerate cell death via mitochondrial damage-induced apoptosis and necrosis,” 2013, Toxicol In Vitro
    27(1), pg.191-197.
215 Martini, C. et al., “Glyphosate-based herbicides with different adjuvants are more potent inhibitors of
    3T3-L1 fibroblast proliferation and differentiation to adipocytes than glyphosate alone,” 2016,
    Comparative Clinical Pathology. Volume 25, Issue 3. pg. 607-613.
216 Nielsen, J. et al„ "Defense against dermal exposures is only skin deep: significantly increased
   penetration through slightly damaged skin," 2007, Arch Dermatol Res, Vol. 299, pg. 423-431.
™ Id.
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it can be absorbed, the cumulative dose increases. Studies have documented that
glyphosate penetration of skin increases linearly with time. Thus, if the worker is unaware
of the exposures, absorption continues. 218

Glyphosate’s Role in Skin Damage

Evidence of glyphosate interference with mitochondrial function is increasingly emerging
in the scientific literature. Mitochondria are the powerhouse bodies within cells which are
necessary in the programmed cell death needed to form skin. Impairment of mitochondrial
function reduces the transition of dermal to epidermal cells leading to a decrease in the
protective epidermis. 219

Additional studies by Heu, et al., have demonstrated glyphosate-induced structural
changes.220 In these studies, the control cells show Young’s modulus values respectively
increasing approximately 4-fold for 6 hours and 3-fold for 18 hours. These increases
reflect a significant rise in cell stiffness. Heu, et al,, reported that after a gentle cytotoxic
treatment (6 h, 15 mM-glyphosate), the topography profile changes. The cells exhibit a
flattened membrane and a different distribution of native protrusions. They also show a
complex subcellular filamentous network with numerous membrane junction points.221
Thus, glyphosate itself has an intrinsic propensity to damage skin.

Lack of Personal Protective Equipment (PPE)

The presence of systemic glyphosate in humans has been well documented and
previously reported.222 Acquavella, et al., performed biomonitoring of 48 farmers, their
spouses and 79 children (4-18 years) for glyphosate in urine the day before as well as
one and three days after glyphosate application (tractor and boom). They reported
detectable levels of glyphosate in urine on the day of application in sixty percent of the
farmers (geometric mean was 3 ppb, the maximum value was 233 ppb, and the highest
estimated systemic dose was 0.004 mg/kg). The maximum value of 233 ug/L was from

218 Kezic, S. & Nielsen, J.B, "Absorption of chemicals through compromised skin," 2009, International
   Archives of Occupational and Environmental Health, Vol. 82(6), pg. 677-88.
219 Heu, C., et al., "A step further toward glyphosate-induced epidermal cell death: Involvement of

    mitochondrial and oxidative mechanisms,” 2012, Environmental Toxicology and Pharmacology 34.
220 Heu C, Berquand A, Elie-Caille C, Nicod L, "Glyphosate induced stiffening of HaCat keratinocytes, a
    Peak Force Tapping study in living cells," 2012, J Struc Biol 178, pg. 1-7.
221 |d_
222 Acquavella JF, Alexander BH, Mandel JS, Gustin C,   Baker B, et al., "Glyphosate biomonitoring for
   farmers and their families: results from the Farm Family Exposure Study,” 2004, Environ Health
   Perspect112, pg. 321-326.
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a farmer whose teenage son also had the highest urinary concentration of 29 ug/L among
children. Farmers who did not use rubber gloves had five times more glyphosate
in their urine than those wearing protective gloves. Various glyphosate-based
formulas were used with various surfactants and/or salts. The proportions of participants
with detectable urinary glyphosate differed between the two states: 87% detection rate in
South Carolina; 36% in Minnesota. The urine concentrations were similarly different: 7.9
pg/L on day of application in South Carolina; 1.4 pg/L on day of application in Minnesota.
The proportion of applicators wearing rubber gloves in Minnesota (96%) was much
greater than that in South Carolina (43%) suggesting that the use of gloves is responsible
for the differences seen. It is interesting to note that a similar proportion of glove-wearing
applicators was reported by Alavanja, et al., 1999: 39% in North Carolina; 76% in Iowa.

Other Factors Increasing Dermal Absorption

Various skin cream compounds applied to the skin prior to handling pesticides have been
demonstrated to alter percutaneous absorption as reported in a study by Brand, et al.,
(2007).223 In these studies, four commercially available moisturizing creams were tested
with respect to their capacity as transdermal penetration enhancers using the herbicide
2,4-dichlorophenoxyacetic acid (2,4-D) as a model compound. Their data demonstrated
that pre-treatment with three of the four creams increased the absorption of 2,4-D as
evidenced by either an increased cumulative penetration or shorter lag-times. Korinth, et
al., (2003) reported that skin barrier creams have been demonstrated to enhance the
penetration rates of different industrial solvents. The creams significantly enhanced the
penetration rates of solvents from complex mixtures compared with the single solvents. 224

Ethanol is also well known as a topical penetration enhancer as it is frequently used in
transdermal drug delivery systems (patches). Bommannan, et al., (1991 )225 found during
in vivo studies with human skin that ethanol enters the skin and removes measurable
quantities of the lipid barrier material from the stratum corneum. This lipid extraction may
lower the skin barrier function and render the membrane more permeable which is the
most likely explanation for the effect of ethanol as a skin penetration enhancer. The

223 Brand, R. et al., 'Transdermal absorption of the herbicide 2,4-dichlorophenoxyacetic acid is enhanced
    by both ethanol consumption and sunscreen application," 2007, Food and Chemical Toxicology,
    Volume 45, Issue 1, pg. 93-97.
224 Korinth G, Geh S, Schaller KH, Drexler H., "In vitro evaluation of the efficacy of skin barrier creams
    and protective gloves on percutaneous absorption of industrial solvents," 2003, Int Arch Occup Environ
    Health, Vol. 76(5), pg. 382-6.
225 Bommannan D, Potts RO, Guy RH, “Examination of the effect of ethanol on human stratum-corneum
    in vivo using infrared-spectroscopy,” 1991, J Control Release, Vol. 16, pg. 299-304.
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mechanism by which ethanol facilitates permeation of a solute, such as glyphosate, is
referred to as the ‘"pull" (or "drag”) effect.226 Hand sanitizer use has become widespread
in the U.S. and typical hand sanitizers contain on average of 62% ethanol.

Thus, the use of creams and lotions to treat dry, cracking skin as well as the use of hand
sanitizers potentiate the dermal absorption of glyphosate among occupational
applicators.




226 Heard CM, Kung D, Thomas CP, "Skin penetration enhancement of mefenamic acid by ethanol and
    1,8-cineole can be explained by the "pull’’ effect,” 2006, Int J Pharm., Vol. 321, pg. 167-170.
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Part C: Toxicological Assessment of Mrs. Stevick’s Exposure to
Glyphosate (Mechanism of Mrs. Stevick’s NHL Induction)

Roundup and Glyphosate Genotoxicity

Genotoxicity is the ability of a chemical to cause damage to genetic information, i.e. the
DNA in cells, thereby causing genetic mutations that may lead to cancer. There is strong
scientific evidence that that glyphosate is genotoxic and glyphosate-based formulations
such as Roundup cause oxidative stress capable of damaging DNA.

A very recent study by Wozniak et al.,227 published in 2018, incubated human peripheral
blood mononuclear cells (PBMCs) for 24 hours in the formulation Roundup 360 PLUS,
glyphosate, and its metabolite aminomethylphosphonic acid (AMPA). The study
assessed the impact on DNA damage at concentrations of the tested chemicals ranging
from 1 to 1000 pM. The Roundup formulation caused DNA damage (single strand breaks,
double strand breaks, ALS formation, DNA lesions) even at concentrations as low as 5
pM, and glyphosate and AMPA caused DNA lesions at concentrations of 250 pM and 500
pM respectively. The amount of DNA damage caused by the chemicals increased from
AMPA to glyphosate to Roundup 360 PLUS, with Roundup causing DNA damage at
concentrations 50 times lower than glyphosate. The DNA strand breaks induced at 10
pM application of Roundup were not repaired after incubation with PBMCs (incubation
with PBMCs were shown to significantly repair DNA damage at 5 pM Roundup, 250 pM
glyphosate and 500 pM AMPA were repaired). This underlined the point that glyphosate
formulations are more toxic than glyphosate itself. The study also proposed that the
damage occurred through oxidative damage.

Another recent study of Suarez-Larios et al. (2017) reveals a genotoxic mode of action
for glyphosate pesticides. An investigation was undertaken by Suarez-Larios, et al.,228 to
determine whether or not exposure to pesticides would induce double strand breaks
(DSB) in cells (a lesion related to the formation of chromosomal rearrangements and
increased leukemia risk). Of the eight pesticides tested (endosulfan, glyphosate,
pentachlorophenol, permethrin, propoxur, AMPA, endosulfan lactone, and paraoxon),
four showed a significant effect on the number of cells with double strand breaks.


227 Wozniak, E., et al., "The mechanism of DNA damage induced by Roundup 360 PLUS, glyphosate and
    AMPA in human peripheral blood mononuclear cells - genotoxic risk assessment," 2018, Food and
    Chemical Toxicology, doi: 10.1016/j.fct.2018.07.035
228Suarez-Larios, «., et al., "Screening of pesticides with the potential of inducing DSB and successive
    recombinational repair," 2017, Journal of Toxicology. Volume 2017.
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However, glyphosate and paraoxon (both organo-phosphates) showed the greatest
increase in the number of cells with DSB. Further, it was determined that glyphosate and
paraoxon reduced the number of viable cells in a dose-dependent manner; specifically,
going from 100% cell viability to 70% with glyphosate.

Not only did these two pesticides induce greater breakage, they also induced the
phosphorylation229 of KU80, a protein that participates in the c NHEJ recombinational
repair pathway, which is responsible for repair of the cells when DSB occur.

It was further noted in the study that these effects occurred at low concentrations in an
acute treatment to cells in the laboratory setting. “Effects over longer exposure in actual
environmental settings are expected to produce cumulative damage if repeated events of
recombination take place overtime.” In other words, the more often a cell is damaged by
glyphosate-induced breakage, the less likely the c NHEJ recombinational repair pathway
will be able to repair it. Thus, the linear approach required by the U.S. ERA methodology
is appropriate as the mode of action proposed by Suarez-Larios et al. is not a threshold-
based genotoxic mechanism. Other studies indicate that glyphosate can act as an
endocrine disrupter230 and has tumor-promoting activity. 231

In vivo observations of human populations exposed to spraying of Roundup have
revealed statistically significant outcomes demonstrating genotoxicity at low exposure
levels232 as well as in vivo studies of laboratory animals fed Roundup.233 These studies
challenge both animal and human systems providing in vivo doses of Roundup® with
resulting genotoxicity.



229 Phosphorylation plays a critical role in the regulation of cellular processes.

230 Gasnier, C., et al., “Glyphosate-based herbicides are toxic and endocrine disrupters in human cell
    lines,” 2009, Toxicology, Vol. 262, pg. 184 -191.
      Thongprakaisang, S., et al., "Glyphosate induces human breast cancer cells growth via estrogen
      receptors,” 2013, Food and Chemical Toxicology, doi: http://dx.doi.Org/10.1016/j.fct.2013.05.057
231   George, J., et al., "Studies on glyphosate-induced carcinogenicity in mouse skin: A proteomic
      approach,” 2010, Journal of Proteomics, Vol. 73, pg. 951 - 964.
232 Paz-y-Miho, C., et al., "Evaluation of DNA damage in an Ecuadorian population

      exposed to glyphosate,”2007, Genetics and Molecular Biology, 30(2).
      Bolognesi, C., et al., "Biomonitoring of genotoxic risk in agricultural workers from five Colombian
      regions: Association to occupational exposure to glyphosate,” 2009, Journal of Toxicology and
      Environmental Health, Part A, Vol. 72, pg. 986 -997.
233 Peluso, M., et al, "32P-postlabeling detection of DNA adducts in mice treated with herbicide roundup,”
    1998, Environmental and Molecular Mutagenesis. Vol. 31(1), pp. 55 -59. DOI: 10.1002/(510)1098-
    2280(1998)31:1 <55::AID-EM8>3.0.CO;2-A
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Furthermore, Mrs. Stevick was exposed to Roundup, not just glyphosate and these
human cell studies present conditions with low dosing and concentrations.

Non-Hodgkin’s Lymphoma Latency Estimates (Mrs. Stevick’s NHL)

A chemical’s genotoxicity may lead to cancer causing mutations in cells, however a
distinct amount of time elapses during which mutations and DNA damage accumulate in
cells before malignant cancer is diagnosed. Latency refers to the time between initial
exposure to a cancer causing chemical and when a physician correctly diagnoses cancer.

There is no single peer-reviewed, generally-recognized latency range ' threshold" for the
more than 60 subtypes of lymphoma (Morton et al., 2014).234 Various sources cite latency
intervals ranging as high as 25 years or more. Most estimates are based upon absence
of information as opposed to hard evidence. For this reason, only studies which
adequately account for error rates via a 95% confidence interval (which accounts for most
confounding variables) can be considered in any comparative compilation.

From the compilation of peer-reviewed latency estimates in Table 16, a surmised latency
interval of 0.4 to 25 years falls within the general estimates of the studies cited therein.
Although no single study is conclusive and future studies will undoubtedly clarify this
issue, the weight of evidence suggests that this range offers an acceptable degree of
scientific credibility for purposes of an objective toxicological assessment.

Mrs. Stevick was exposed to Roundup first occurred approximately 25.5 years ago in
1989, with her getting consistent and repeated exposures every year since. Hence, her
exposure period falls well with the possible range of latency periods for developing non-
Hodgkin's lymphoma.




234 Morton, et. al., "Etiologic heterogeneity among non-Hodgkin lymphoma subtypes: the Inter-Lymph
   Non-Hodgkin Lymphoma Subtypes Project," August 2014, J Natl Cancer Inst Monogr. (48), pg. 130-
   44.
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                                                Table 16
                  Compilation of Peer-Reviewed NHL Latency Estimates

 Study/Source           Summary of Findings                                                    Latency
 USEPA Glyphosate       "Some have argued that the follow-up period (median=7 years)          1 to 25 yrs
  Issue Paper;            in De Roos, et al. (2005) is not sufficiently long to account for
  September,              the latency of NHL (Fortier, et al., 2016); however, the latency
  2016235                 period for NHL following environmental exposures is relatively
                          unknown and estimates have ranged from 1-25 years
                          (Fontana et al., 1998; Kato et al., 2005; Weisenburger, 1992).”

 USEPA Glyphosate       "Eriksson, et al., (2008) evaluated the impact of time since first      10 yrs
  Issue Paper:            exposure. This study found an increased effect estimate for
  September, 2016         subjects with more than 10 years of glyphosate exposure prior
                          to diagnosis of NHL. This finding suggests a potential for a
                          longer latency for NHL than the follow-up period in De Roos,
                          et al. (2005).”

 USEPA Glyphosate       "Two case-control studies evaluating the risk of NHL (Eriksson,         10 yrs
  Issue Paper:            et al., 2008 and McDuffie, et al., 2001) observed increased
  September,              effect estimates in the highest exposure categories analyzed.
  2016Errorl B°okmark     Eriksson, et al. (2008) found a greater effect estimate for
   not defined.           subjects with >10 days (based on the median days of
                          exposure among controls) and >10 years of exposure (for
                          latency analysis) when compared to subjects with =10 days
                          and 1-10 years of exposure, respectively; ... however, given
                          the latency analysis of NHL was limited to Eriksson, et al.
                          (2008) and lack of NHL latency understanding in general,
                          further studies are needed to determine the true latency of
                          NHL. McDuffie, et al. (2001), stratifying based on the average
                          number of days per year of exposure, observed similar effect
                          estimates in the lower exposure category (>0 and =2
                          days/year) while a greater effect estimate was observed in the
                          highest exposure category (>2 days/year)."

 9-11 Monitoring and    "A minimum latency period of 2 years has been reported for non-       0.4 to 2 yrs
   Treatment, World       Hodgkin lymphoma (Bennett, et al. 1991) following treatment          (minimum)
   Trade Center           of Hodgkin disease with chemotherapy and radiotherapy
   Health Program236      which is similar to the latency for secondary acute leukemia
                          (Nadler and Zurbenko 2013; Tucker et al. 1988).”




235 USEPA, "Glyphosate Issue Paper: Evaluation of Carcinogenic Potential," USEPA’s Office of Pesticide
    Programs, September 12, 2016, https://www.epa.gov/sites/production/files/2016-
    09/documents/glyphosatejssue_paper_evaluation_of_carcincogenic_potential.pdf
236 "Minimum Latency & Types or Categories of Cancer," World Trade Center Health Program, Revised:
    January 6, 2015, https://www.cdc.gov/wtc/pdfs/WTCHP-Minimum-Cancer-Latency-PP-01062015.pdf
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On July 7, 2017, the State of California listed glyphosate as a carcinogen, a chemical
“known to cause cancer’’ under the state’s Proposition 65 law. The ruling followed a move
by the World Health Organization's International Agency for Research on Cancer (IARC)
classifying glyphosate as a “probable human carcinogen.” Monsanto is fighting the state’s
action but the California Supreme Court denied the company’s request to stop the listing
from taking effect while litigation is underway. Monsanto's vice president of global strategy
announced that “We will continue to aggressively challenge this improper decision.”
Monsanto further alleged that IARC "ignored crucial scientific data that undermines its
conclusion.” To date, Monsanto has produced no objective evidence to directly support
its contention.



Part D: Summary of Objective Mrs. Stevick’s Toxicological Factors

Evidential Considerations

The following represent significant considerations in formulating an objective toxicological
assessment of Mrs. Stevick with respect to her Roundup exposure and subsequent non-
Hodgkin’s Lymphoma diagnosis:

•    Chronic Glyphosate Exposure: Mrs. Stevick applied Roundup® form June 1989
     until December 2014 (-25.5 years) once a month (more often the 1st 3 months), during
     which she applied Roundup® for approximately 1 hour. She wore permeable fabrics
     consisting of only pants, permeable sneakers with low cut ankle socks and a shirt.
     She did not wear protective equipment such as impermeable pants, boots, gloves and
     impermeable jacket when spraying. Mrs. Stevick accumulated more than 255 days of
     exposure while tending to her property between 1989 and 2014. As periodic acute
     exposure doses left on the skin for prolonged periods of time (as she did not shower
     immediately after application) contributed to her doseage. Mrs. Stevick's exposure
     was both episodically continuous for a period of years. Additionally, Mrs. Stevick’s
     exposure history falls within the parameters of "The Agricultural Health Study" Cohort
     which places her in the highest grouping (above the median) lifetime days of
     exposures.

•    Dermal Absorption Rates Higher than Calculated by Monsanto: As previously
     discussed in great detail, the correct dermal absorption rate for glyphosate ranges
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     between 3% and 10% (as opposed to the «1% values morerecently issued by DTL).
     Mrs. Stevick’s dose was calculated using the low absorption dose of 1% and more
     credible representative doses of 3% and 10% and found to be 0.065 mg/kg/day, 0.19
     mg/kg/day and 0.62 mg/kg/day for just spraying (this exposure dose is very
     conservative as it is at the lower absorption and excludes mixing and loading which
     she performed less than 10% of the time). Mrs. Stevick’s dose at 3% and 10%
     absorption exceed the accepted operator exposure level (AOEL) of 0.1 mg/kg/day.
     There are also numerous other factors that could increase skin absorption of
     glyphosate for instance, when temperatures are elevated, sweating may contribute to
     increased skin absorption. Mrs. Stevick did not use gloves and used moisturizing slin
     lotions before the applications of applying Roundup; Acquavella, et al237 discovered
     that Farmers who did not use rubber gloves had five times more glyphosate in their
     urine than those wearing protective gloves.

•    Comparison to six (6) Epidemiological Studies: Mrs. Stevick's exposures were
     compared to 4 epidemiological studies. Four studies - Eriksson et al. study238,
     McDuffue et al. 2001239 De Roos et al. 2003240 and Hardell, et al., 2002241 associated
     Mrs. Stevick’s exposure level was consistent with reported increased odd ratios of
     NHL that ranged from 2.1 - 3.04. While the other studies showed elevated cancer
     levels for leukemia242 and multiple myleoma243 but not for NHL.

•    Mechanism of Carcinogenicity: Mrs. Stevick was exposed to Roundup not just
     glyphosate. Roundup and glyphosate have been demonstrated in numerous scientific


237 Acquavella JF, Alexander BH, Mandel JS, Gustin C, Baker B, et al., "Glyphosate biomonitoring for
    farmers and their families: results from the Farm Family Exposure Study,” 2004, Environ Flealth
    Perspect 112, pg. 321-326.
238 Eriksson, M., et al., "Pesticide exposure as risk factor for non-Hodgkin lymphoma including

    histopathological subgroup analysis,” 2008, International Journal Cancer, Vol.123, pp. 1657 - 1663.
239 McDuffie H., et al., "Non-Hodgkin's Lymphoma and Specific Pesticide Exposures in Men: Cross-
    Canada Study of Pesticides and Health," 2001, Cancer Epidemiology, Biomarkers & Prevention,
    Vol.10,1155-1163.
240 De Roos, A., et al., "Integrative assessment of multiple pesticides as risk factors for non-Hodgkin's

    lymphoma among men,” 2003, Occup Environ Med, Vol.60
241 Hardell, L., et al., "Exposure to Pesticides as Risk Factor for Non-Hodgkin’s Lymphoma and Hairy Cell

    Leukemia: Pooled Analysis of Two Swedish Case-control Studies,” 2002, Leukemia and Lymphoma,
    Vol.43(5), pp. 1043-1049.
242 Andreotti, G., et al., "Glyphosate Use and Cancer Incidence in the Agricultural Health Study," 2018,

    JNCI J Natl Cancer Inst., Vol.110(5), doi: 10.1093/jnci/djx233.
243 De Roos, A., et al., “Cancer Incidence among Glyphosate-Exposed Pesticide Applicators in the
    Agricultural Health Study,” 2005. Environmental Health Perspectives, Vol.113(1), pp. 49- 54.
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     studies to repeatedly cause DNA damage. With Roundup being more damaging than
     glyphosate alone. This genotoxicity is the first stage in cancer formation. One of these
     studies, Wozniak et al.,244 further demonstrated that Roundup at a higher dose was
     even able to prevent the natural repair of damaged DNA.

•    Latency of Non-Hodgkin’s Lymphoma: The compilation of peer-reviewed latency
     estimates presented herein offers a surmised latency interval of 0.4 to 25 years. This
     range falls within the estimates in the cited studies (see Table 16). Based upon the
     study findings, the weight of available evidence indicates that a latency interval of 0.4
     to 25 years is scientifically reliable. Thus, Mrs. Stevick’s emergence of NHL after an
     application of over 25.5 years falls within latency parameters.



Summary and Conclusions

It is my opinion, to reasonable toxicological certainty, that Mrs. Stevick’s exposure to
Roundup was a substantial factor that contributed to her development of NHL.




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Chief Toxicologist




244 Wozniak, E., et al., "The mechanism of DNA damage induced by Roundup 360 PLUS, glyphosate and

    AMPA in human peripheral blood mononuclear cells - genotoxic risk assessment," 2018, Food and
    Chemical Toxicology, doi: 10.1016/j.fct.2018.07.035
